22-10964-mg        Doc 4188        Filed 01/04/24 Entered 01/04/24 15:49:54            Main Document
                                              Pg 1 of 211



TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Kyle J. Ortiz
Bryan M. Kotliar

Counsel to the Ad Hoc Group of Custodial Account Holders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
CELSIUS NETWORK LLC, et al.,                1
                                                               :   Case No. 22-10964 (MG)
                                                               :
                                                               :   (Jointly Administered)
                                       Debtors.                :
                                                               :   Related Docket Nos.: 3660 & 4018
---------------------------------------------------------------x

            REPLY AND STATEMENT IN FURTHER SUPPORT OF THE
        APPLICATION OF THE CUSTODY AD HOC GROUP, PURSUANT TO
        SECTIONS 503(b)(3)(D) AND 503(b)(4) OF THE BANKRUPTCY CODE,
    FOR ALLOWANCE AND PAYMENT OF PROFESSIONAL FEES AND EXPENSES

                 The Ad Hoc Group of Custodial Account Holders (the “Custody Ad Hoc

Group”),2 by and through its undersigned counsel, Togut, Segal & Segal LLP

(the “Togut Firm”), hereby submits this statement in further support of the Application

of the Custody Ad Hoc Group, Pursuant to Sections 503(b)(3)(D) and 503(b)(4) of the

Bankruptcy Code, for Allowance and Payment of Payment of Professional Fees and Expenses,




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending
     LLC (8417); Celsius Mining LLC (1387); Celsius Network, Inc. (1219); Celsius Network Limited (8554);
     Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK
     Limited (0893) and GK8 USA LLC (9450). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 50 Harrison Street,
     Suite 209F, Hoboken, New Jersey 07030.
2
     The members of the Custody Ad Hoc Group are identified in the Second Verified Statement Pursuant to
     Bankruptcy Rule 2019, filed on November 4, 2022 [Docket No. 1284] (the “Rule 2019 Statement”).
22-10964-mg      Doc 4188       Filed 01/04/24 Entered 01/04/24 15:49:54              Main Document
                                           Pg 2 of 211



filed on October 2, 2023 [Docket No. 3660] (the “Application”)3 and reply to the Omnibus

Objection of the United States Trustee to Substantial Contribution Applications

[Docket No. 4018] (the “UST Objection”) and respectfully states as follows:

                            STATEMENT IN FURTHER SUPPORT

                1.      These Chapter 11 Cases have been highly litigious to say the least.

With more than 4,100 pleadings filed on the docket and hundreds of customers

participating in nearly every hearing, these Chapter 11 Cases have received a level of

scrutiny not seen in most cases.

                2.      Against that backdrop, the fact that the Application has received

only a single objection—and no objections from any economic stakeholders—is a

testament to the substantial contribution that the Custody Ad Hoc Group has made in

these Chapter 11 Cases. As further recognition of that contribution, both the Debtors

and the Creditors’ Committee have filed pleadings supporting the Application.

See Docket No. 4025 (the “Debtors’ First Statement”); 4027 (the “UCC Supporting

Statement”); and 4179 (the “Debtors’ Second Statement” and, together with the Debtors’

First Statement and the UCC Supporting Statement, the “Estates’ Supporting

Statements”).4 The Estates’ Supporting Statements describe at length the critical role the

Custody Ad Hoc Group played and the benefits to the Debtors’ estates.

                3.      The sole objection to the Application was filed by the U.S. Trustee.

Subsequent to the filing of the Application, the Togut Firm has worked with the U.S.




3
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the
    Application.

4
    While the Custody Settlement required that neither the Debtors nor the Creditors’ Committee oppose
    the Application, both the Debtors and the Creditors’ Committee have gone further and affirmatively
    supported the Application.


                                                   2
22-10964-mg      Doc 4188       Filed 01/04/24 Entered 01/04/24 15:49:54               Main Document
                                           Pg 3 of 211



Trustee to address its questions and comments with respect to the Application and

resolve the UST Objection. In that regard, and following further review of its invoices,

the Togut Firm has voluntarily agreed to (a) not seek reimbursement from the Debtors’

estates for any expenses and (b) remove time entries relating to several categories of

work that did not relate to the primary work that the Togut Firm did representing the

Custody Ad Hoc Group with respect to custody-specific issues, such as (i) preparing

and filing the Custody Ad Hoc Group’s Rule 2019 Statements, (ii) preparing and filing a

joinder to the Debtors’ motion to seal customer information, and (iii) other areas of

administration such as docket review and case monitoring for non-custody matters.

                4.      As a result of these revisions, the Togut Firm has made the

following reductions to the amounts requested in the Application:

                                      Fees                    Expenses                    Total

    Original Request              $788,953.00                  $7,696.66              $796,649.66

       Reduction                  ($48,505.50)                ($7,696.66)             ($56,202.16)

    Revised Request               $740,447.50                    $0.00                $740,447.50


                5.      A revised proposed form of order approving the Application is

attached hereto as Exhibit A (the “Revised Proposed Order”) and a redline showing the

changes from the proposed order attached to the Application is attached hereto as

Exhibit B. In addition, revised time entries reflecting the changes noted above are

attached hereto as Exhibit C.5




5
    Because of a processing issue with the Togut Firm’s accounting, time entries for August 2022 could
    not be removed from the document and are instead noted with yellow highlighting.


                                                   3
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
                                       Pg 4 of 211



                                         REPLY

              6.     Despite the revisions described above, the Custody Ad Hoc Group

has been unable to resolve the UST Objection. For the reasons set forth below, in the

Application and in the Estates’ Supporting Statements, the Court should overrule the

UST Objection.

              7.     As described in greater detail in the Application, the Custody Ad

Hoc Group has satisfied the three factors that courts in this district consider when

determining whether an applicant has made a substantial contribution pursuant to

section 503(b) of the Bankruptcy Code. The UST Objection does not attempt to argue

that the Custody Ad Hoc Group has not satisfied the legal standard in this district;

rather, the UST Objection cherry picks certain aspects from the case law that courts have

considered in the past in arguing that the Court should deny the Application. The

Court should overrule the UST Objection because it is wrong on the facts.

              8.     For example, the UST Objection asserts that the Custody Ad Hoc

Group did not increase the size of the Debtors’ estates. UST Obj. at 38. However, as set

forth in the Application, the Custody Settlement did in fact increase the size of the

Debtors’ estates through the 27.5% forfeiture of custody accounts by holders that opted

into the Custody Settlement or elected the similar treatment under the Plan. As

explained in the Application, this resulted in approximately $37.7 million of value

(based on USD values as of the Petition Date) for the Debtors’ estates based on the

Debtors’ Voting Declaration.

              9.     Similarly, the UST Objection asserts that the Custody Ad Hoc

Group’s efforts were duplicative of the Debtors and the Creditors’ Committee (see UST

Obj. at 3, 29-30). This is factually incorrect. The Custody Ad Hoc Group was the only

representative for custody users that negotiated the Custody Settlement, which was an

                                             4
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
                                       Pg 5 of 211



integral part of the Debtors’ soon-to-be-filed first version of their Plan and provided the

basis for an impaired accepting class (as well as the millions of dollars in value for the

estates as noted above). This argument is further belied by the Estates’ Supporting

Statements in which both the Debtors and the Creditors’ Committee note the unique

and non-duplicative role played by the Custody Ad Hoc Group. See Debtors’ First

Statement ¶ 2 (“Each of the applicants who brought the Supported Applications . . .

were key participants in the Settlements, all of which resolved critical legal issues

regarding the treatment of certain classes contained within the Plan and further

propelled the Chapter 11 Cases forward to a successful resolution. Such applicants

brought creative solutions and unique perspectives to complex issues requiring bespoke

solutions. Their support for the Settlements and the Plan likely built additional

consensus and votes for the Plan, and thereby helped the Debtors exit chapter 11

quicker than without such support.”) (emphasis added); Debtors’ Second Statement ¶ 1

(referring to the Custody Ad Hoc Group, among others, as “instrumental in key plan

negotiations” and “move[d] these cases forward not only for their own benefit, but for

creditors generally . . . .”); UCC Supporting Statement ¶ 1 (recognizing that “[t]he

efforts of those creditors and their representatives significantly benefited large group of

similarly situated creditors” and “also benefited the Debtors’ estates as a whole by

moving these cases forward and aiding confirmation.”).

              10.    The UST Objection asserts that the Custody Ad Hoc Group

resolved issues that the Debtors would have eventually dealt with. See UST Obj. at 37-

38. Not only is there no case law supporting this proposition, but it is factually

incorrect. The UST Objection misconstrues the timing of the filing of the Debtors’

custody motion [Docket No. 670]. The Debtors’ motion proposed to allow some (but

not the vast majority by value) of custody withdrawals but did not address the central

                                             5
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
                                       Pg 6 of 211



legal issue related to custody regarding whether or not Custody coins were property of

the estates. That is the very question that affected all custody account holders and was

presented to the Court pursuant to the Custody Ad Hoc Group’s complaint that was

filed the day before the Debtors’ custody motion, and not by the Debtors. In this

respect, as noted in the Application (see App. ¶¶ 2, 39, 43) and contrary to the UST

Objection (see Obj. at 36), the Debtors and the Creditors’ Committee did not represent

the interests of custody holders.

              11.    In another instance where the Debtors filed a motion [Docket Nos.

832, 1325]––there, to sell some cryptocurrency––the Debtors similarly did not address

the title ownership question and that motion was delayed for months pending further

briefing and dozens of objections by various pro se parties. The Custody Ad Hoc

Group’s complaint isolated and focused determination of this gating question and was

ultimately part of the global negotiated resolution of Custody issues for which the

Custody Ad Hoc Group was the only party present to negotiate on behalf of all custody

holders.

              12.    Finally, the UST Objection notes that the preferred shareholder

group did not file a substantial contribution application, which should somehow be

understood to require a denial of the Application. See UST Obj. at 6. That comparison,

however, is inapposite. In the shareholder settlement, the fees and expenses of the

preferred shareholder group were paid by carving out a portion of the settlement’s

distribution. See Docket No. 2899 ¶ 30. In addition, the preferred shareholder

settlement simply adjusted the distribution according to the Bankruptcy Code’s priority

scheme rather than as a recovery of individual’s assets that were held by the Debtors in

custody while title still belong to the user. See Docket No. 2899 ¶ 9 (“From the early

days of these cases, the [Debtors] have been engaged in litigation regarding the recovery

                                            6
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
                                       Pg 7 of 211



waterfall for CNLs assets.”). By carving out a portion of the purchase price, the

payment of fees and expenses under the Series B Settlement removed value from the

Debtors’ estates in the amount of the fee carve out. On the other hand, because the

custody coins were not property of the Debtors’ estates, returning them to the custody

users did not reduce the size of the estates.

                                     CONCLUSION

              WHEREFORE, the Togut Firm respectfully requests that the Court enter

the Revised Proposed Order, substantially in the form attached hereto as Exhibit A, and

grant such other and further relief as is just and proper.

DATED:        January 4, 2024
              New York, New York

                                          AD HOC GROUP OF CUSTODIAL
                                          ACCOUNT HOLDERS
                                          By its Counsel,
                                          TOGUT, SEGAL & SEGAL LLP
                                          By:

                                          /s/ Bryan M. Kotliar
                                          KYLE J. ORTIZ
                                          BRYAN M. KOTLIAR
                                          One Penn Plaza, Suite 3335
                                          New York, New York 10119
                                          (212) 594-5000
                                          kortiz@teamtogut.com
                                          bkotliar@teamtogut.com




                                                7
22-10964-mg   Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                    Pg 8 of 211



                                  EXHIBIT A
                            Revised Proposed Order
22-10964-mg        Doc 4188        Filed 01/04/24 Entered 01/04/24 15:49:54            Main Document
                                              Pg 9 of 211



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
CELSIUS NETWORK LLC, et al.,1                                  :   Case No. 22-10964 (MG)
                                                               :
                                                               :   (Jointly Administered)
                                       Debtors.                :
                                                               :   Related Docket No.: 3660 & 4018
---------------------------------------------------------------x

                     ORDER GRANTING APPLICATION
             OF THE CUSTODY AD HOC GROUP, PURSUANT TO
       SECTIONS 503(b)(3)(D) AND 503(b)(4) OF THE BANKRUPTCY CODE,
    FOR ALLOWANCE AND PAYMENT OF PROFESIONAL FEES AND EXPENSES

                 Upon consideration of the application and the statement in further

support thereof [Docket Nos. 3660 & [__]] (together, the “Application”)2 seeking

allowance of an administrative expense claim, pursuant to sections 503(b)(3)(D) and

503(b)(4) of the Bankruptcy Code, for payment of reasonable professional fees and

actual and necessary out of pocket expenses of the Custody Ad Hoc Group, all as more

fully described in the Application and the Kotliar Declaration in support thereof; and

the Court having jurisdiction to consider the Application and the relief requested

therein pursuant to 28 U.S.C. §§ 1334 and the Amended Standing Order; and

consideration of the Application and relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending
     LLC (8417); Celsius Mining LLC (1387); Celsius Network, Inc. (1219); Celsius Network Limited (8554);
     Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK
     Limited (0893) and GK8 USA LLC (9450). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 50 Harrison Street,
     Suite 209F, Hoboken, New Jersey 07030.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
     terms in the Application.
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
                                      Pg 10 of 211



28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the Application and the

hearing with respect thereto having been provided; and it appearing that no other or

further notice need be provided; and it appearing that the relief requested in the

Application is in the best interests of the Debtors, their estates, and stakeholders; and it

appearing that the efforts of the Custody Ad Hoc Group and the services rendered by

the Togut Firm on behalf of the Custody Ad Hoc Group constitute a substantial

contribution in these Chapter 11 Cases; and it appearing that the Custody Ad Hoc

Group’s efforts were not duplicated by other parties in these Chapter 11 Cases; and the

Court having reviewed the Application, the Kotliar Declaration, the Estates’ Supporting

Statements [Docket Nos. 4025, 4027 & 4179], and the UST Objection [Docket No. 4018]

and heard the statements of counsel at the hearing on the Application on January 11,

2024 (the “Hearing”) and determined that the legal and factual bases set forth in the

Application and the Kotliar Declaration and on the record during the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

              1.     The Application is granted as set forth herein and the UST

Objection is overruled.

              2.     The Custody Ad Hoc Group shall have an allowed administrative

expense claim under sections 503(b)(3)(D) and 503(b)(4) in the amount of $740,447.50.

              3.     The Debtors are authorized and empowered to take all actions

necessary to effectuate the relief granted in this order.




                                              2
22-10964-mg    Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
                                     Pg 11 of 211



              4.    The Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, or enforcement of this order.

Dated: _________, 2024

                                           MARTIN GLENN
                                           CHIEF UNITED STATES BANKRUPTCY
                                           JUDGE




                                            3
22-10964-mg   Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                   Pg 12 of 211



                                  EXHIBIT B
                           Proposed Order - Redline
22-10964-mg        Doc 4188        Filed 01/04/24 Entered 01/04/24 15:49:54            Main Document
                                             Pg 13 of 211


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
CELSIUS NETWORK LLC, et al.,                1
                                                               :   Case No. 22-10964 (MG)
                                                               :
                                                               :   (Jointly Administered)
                                       Debtors.                :
                                                               :
                                                               :   Related Docket No.: 3660 & 4018
---------------------------------------------------------------x

                     ORDER GRANTING APPLICATION
          OF THE AD HOC CUSTODY AD HOC GROUP, PURSUANT TO
       SECTIONS 503(b)(3)(D) AND 503(b)(4) OF THE BANKRUPTCY CODE,
    FOR ALLOWANCE AND PAYMENT OF PROFESIONAL FEES AND EXPENSES

                 Upon consideration of the application (and the statement in further

support thereof [Docket Nos. 3660 & [__]] (together, the “Application”)2 seeking

allowance of an administrative expense claim, pursuant to sections 503(b)(3)(D) and

503(b)(4) of the Bankruptcy Code, for payment of reasonable professional fees and

actual and necessary out of pocket expenses of the Custody Ad Hoc Group, all as more

fully described in the Application and the Kotliar Declaration in support thereof; and

the Court having jurisdiction to consider the Application and the relief requested

therein pursuant to 28 U.S.C. §§ 1334 and the Amended Standing Order; and

consideration of the Application and relief requested therein being a core proceeding




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending
     LLC (8417); Celsius Mining LLC (1387); Celsius Network, Inc. (1219); Celsius Network Limited (8554);
     Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK
     Limited (0893) and GK8 USA LLC (9450). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 50 Harrison Street,
     Suite 209F, Hoboken, New Jersey 07030.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
     terms in the Application.
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
                                      Pg 14 of 211


pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the Application and the

hearing with respect thereto having been provided; and it appearing that no other or

further notice need be provided; and it appearing that the relief requested in the

Application is in the best interests of the Debtors, their estates, and stakeholders; and it

appearing that the efforts of the Ad Hoc Custody Ad Hoc Group and the services

rendered by the Togut Firm on behalf of the Ad Hoc Custody Ad Hoc Group constitute

a substantial contribution in these Chapter 11 Cases; and it appearing that the Ad Hoc

Custody Ad Hoc Group’s efforts were not duplicated by other parties in these Chapter

11 Cases; and the Court having reviewed the Application and, the Kotliar Declaration,

the Estates’ Supporting Statements [Docket Nos. 4025, 4027 & 4179], and the UST

Objection [Docket No. 4018] and heard the statements of counsel at the hearing on the

Application, if any on January 11, 2024 (the “Hearing”) and determined that the legal

and factual bases set forth in the Application and the Kotliar Declaration and aton the

record ofduring the Hearing establish just cause for the relief granted herein; and upon

all of the proceedings had before the Court and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

              1.     The Application is granted as set forth herein and the UST

Objection is overruled.

              2.     The Ad Hoc Custody Ad Hoc Group shall have an allowed

administrative expense claim under sections 503(b)(3)(D) and 503(b)(4) in the amount of

$786,649.66740,447.50.

              3.     The Debtors are authorized and empowered to take all actions

necessary to effectuate the relief granted in this order.




                                              2
22-10964-mg    Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
                                     Pg 15 of 211


              4.    The Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, or enforcement of this order.

Dated: _________, 20232024

                                           MARTIN GLENN
                                           CHIEF UNITED STATES BANKRUPTCY
                                           JUDGE




                                            3
22-10964-mg   Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                   Pg 16 of 211



                                  EXHIBIT C
                           Revised TSS Time Entries
22-10964-mg    Doc 4188     Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                      Pg 17 of 211


                            TOGUT, SEGAL & SEGAL LLP

                             Counsel to the Ad Hoc Group

              Fee Summary for August 1, 2022 through August 31, 2023

                                         2022
   Timekeeper                         Rate           Hours             Fee
   Kyle J. Ortiz1                     $915            131.6            $120,414.00
   Bryan M. Kotliar2                  $810            309.9             251,019.00
   Brian F. Shaughnessy2              $855              0.7                 598.50
   Jared C. Borriello3                $810            157.2             127,332.00
   Ronald D. Howard3                  $765             10.0               7,650.00
   Amy M. Oden3                       $710             16.6              11,786.00
   Eitan E. Blander3                  $590              9.0               5,310.00
   Amanda Glaubach3                   $670             17.7              11,859.00
   John Gallego3                      $350             23.5               8,225.00
   Joseph Murphy*                     $350             11.0               3,850.00
   Leila Ebrahimi*                    $320             95.6              30,592.00
   Dawn Person4                       $410              2.1                 861.00
   Jonathan Cohen4                    $355              3.7               1,313.50
   Alexandra Stolp4                   $260             29.5               7,670.00
   Jeffrey Lefkowitz4                 $195              3.8                 741.00
                       TOTAL:                          821.9           $589,221.00
                                              2023
   Kyle J. Ortiz1
                                     $1,025            21.5             $22,037.50
   Bryan M. Kotliar1                  $920            125.0             115,000.00
   Jared C. Borriello3                $885              1.4               1,239.00
   Alexandra Stolp4                   $295             10.0               2,950.00
                    TOTAL:                            157.9            $141,226.50
              GRAND TOTAL:                            979.8            $730,447.50



    1
      Partner
    2
      Counsel
    3
      Associate
    4
      Paralegal/Law Clerk
    * Awaiting Admission
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 18 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                             3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/1/22        kortiz / Review Docs.                                      T        0.1            91.50
 #988868       Asset Analysis and Recovery                                      915.00           Billable
               Review and comment on revised notice of appearance

 8/1/22        jborriello / Revise Docs.                                  T        0.4           324.00
 #992805       Asset Analysis and Recovery                                      810.00           Billable
               Review and revise letter to ad hoc group for privilege
               issues.

 8/2/22        kortiz / Review Docs.                                      T        0.3           274.50
 #988930       Asset Analysis and Recovery                                      915.00           Billable
               Review draft e-mail to clients on privilege

 8/2/22        kortiz / Comm. Client                                      T        0.4           366.00
 #989165       Asset Analysis and Recovery                                      915.00           Billable
               Call with Steering Committee and BK on offical formation
               of Ad Hoc group, notice of appearance and next steps

 8/2/22        kortiz / Review Docs.                                      T        0.1            91.50
 #989167       Asset Analysis and Recovery                                      915.00           Billable
               Review Judge Glenn order requiring Debtors to file terms
               of service

 8/2/22        kortiz / Comm. Others                                      T        0.1            91.50
 #989182       Asset Analysis and Recovery                                      915.00           Billable
               E-mail with K&E concerning meeting

 8/2/22        kortiz / Comm. Others                                      T        0.1            91.50
 #989183       Asset Analysis and Recovery                                      915.00           Billable
               E-mail with UST concerning meeting

 8/2/22        kortiz / Comm. Others                                      T        0.7           640.50
 #989328       Asset Analysis and Recovery                                      915.00           Billable
               Initial call with K&E team and BK to discuss custodial
               accounts and Debtors views concerning same




                                                      Page: 1
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54           Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 19 &  Segal LLP
                                                    of 211
                                                                                                 12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                     Client Billing Report                                  3:41:48 PM

 Date                                                                                  Hours      Slip Amount
 Slip Number                                                                    T/E     Rate     Billing Status


 8/2/22        kortiz / Comm. Others                                            T        0.2           183.00
 #989329       Asset Analysis and Recovery                                            915.00           Billable
               Follow up call with BK after K&E call on next steps

 8/2/22        kortiz / Comm. Others                                   T                 0.6           549.00
 #989461       Asset Analysis and Recovery                                            915.00           Billable
               Call with US Trustee team and BK to discuss case and ad
               hoc group concerns

 8/2/22        bkotliar / Comm. Client                                          T        0.5           405.00
 #989488       Asset Analysis and Recovery                                            810.00           Billable
               Call with steering committee members regarding status
               update and client outreach

 8/2/22        bkotliar / Comm. Client                                          T        1.8       1,458.00
 #989489       Asset Analysis and Recovery                                            810.00        Billable
               Draft and revise client initial email and related distribution
               package.

 8/2/22        bkotliar / Revise Docs.                                          T        0.2           162.00
 #989491       Asset Analysis and Recovery                                            810.00           Billable
               Review and comment on notice of appearance for filing
               and coordinate filing of same.


 8/2/22        bkotliar / Revise Docs.                                          T        2.0       1,620.00
 #989493       Asset Analysis and Recovery                                            810.00        Billable
               Begin drafting and revising factual summary.

 8/2/22        bkotliar / Comm. Others                                          T        0.2           162.00
 #989495       Asset Analysis and Recovery                                            810.00           Billable
               Communicate with K&E and KO regarding call to discuss
               Custodial accounts.

 8/2/22        bkotliar / Comm. US Tee                                   T               0.6           486.00
 #989496       Asset Analysis and Recovery                                            810.00           Billable
               Call with US Trustee and KO regarding custodial accounts.




                                                        Page: 2
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 20 &  Segal LLP
                                                    of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                              3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/2/22        jborriello / Inter Off Memo                                 T        0.1            81.00
 #992806       Asset Analysis and Recovery                                       810.00           Billable
               Email communications with BK, KO, and BS re privilege
               issues.

 8/2/22        jborriello / Revise Docs.                                   T        0.1            81.00
 #992807       Asset Analysis and Recovery                                       810.00           Billable
               Further review and revise letter to clients re privilege
               issues.

 8/3/22        kortiz / Comm. Client                                       T        0.8           732.00
 #989464       Asset Analysis and Recovery                                       915.00           Billable
               Call with Steering committee to provide case update and
               next steps (on for part of call)

 8/3/22        bkotliar / Comm. Client                                     T        1.1           891.00
 #989862       Asset Analysis and Recovery                                       810.00           Billable
               Call with Steering Committee group regarding update and
               next steps.

 8/3/22        bkotliar / Revise Docs.                                     T        4.2       3,402.00
 #989864       Asset Analysis and Recovery                                       810.00        Billable
               Continue to draft and revise factual overview and related
               diligence concerning Celsius Custody Wallet, bankruptcy
               cases and regulatory issues.

 8/3/22        bkotliar / Comm. Client                                     T        0.5           405.00
 #989865       Asset Analysis and Recovery                                       810.00           Billable
               Call with D. Little regarding Custody background and
               crypto mechanics.

 8/3/22        bkotliar / Revise Docs.                                     T        0.3           243.00
 #989867       Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise talking points for Steering Committee
               updates and circulate same.




                                                       Page: 3
        22-10964-mg      Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54            Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 21 &  Segal LLP
                                                    of 211
                                                                                                  12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                     Client Billing Report                                   3:41:48 PM

 Date                                                                                   Hours      Slip Amount
 Slip Number                                                                     T/E     Rate     Billing Status


 8/4/22        kortiz / Comm. Client                                             T        0.2           183.00
 #989902       Asset Analysis and Recovery                                             915.00           Billable
               Call with full client group and BK to provide kick off
               information (on for part of call)

 8/4/22        bkotliar / Comm. Client                                           T        1.5       1,215.00
 #989951       Asset Analysis and Recovery                                             810.00        Billable
               Prepare for and participate in first group kickoff client call.

 8/4/22        bkotliar / Comm. Client                                 T                  0.2           162.00
 #989952       Asset Analysis and Recovery                                             810.00           Billable
               Emails with Steering Committee regarding open items and
               communicating with client group.

 8/4/22        bkotliar / Comm. Client                                           T        0.2           162.00
 #989955       Asset Analysis and Recovery                                             810.00           Billable
               Email client group case update including notice of
               adjournment of second day hearing.

 8/4/22        bkotliar / Revise Docs.                                           T        1.0           810.00
 #989956       Asset Analysis and Recovery                                             810.00           Billable
               Review and revise factual overview summary per D. Little
               markup and additional research.

 8/4/22        jgallego / Comm. Others                                           T        0.5           175.00
 #995577       Asset Analysis and Recovery                                             350.00           Billable
               Communications w/ BK re case background and
               onboarding matters

 8/5/22        kortiz / Comm. Others                                             T        0.1            91.50
 #990079       Asset Analysis and Recovery                                             915.00           Billable
               E-mail Kirkland team re: catch up call

 8/5/22        kortiz / Comm. Others                                             T        0.4           366.00
 #996109       Asset Analysis and Recovery                                             915.00           Billable
               Call with counsel to the Debtors to introduce and discuss
               issues




                                                        Page: 4
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 22 &  Segal LLP
                                                   of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                            3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 8/6/22        kortiz / Comm. Client                                    T        0.1            91.50
 #992611       Asset Analysis and Recovery                                    915.00           Billable
               E-mail with Steering Committee concerning Voyager
               custodial account decision

 8/8/22        bkotliar / Comm. Client                                  T        0.6           486.00
 #991679       Asset Analysis and Recovery                                    810.00           Billable
               Call with Steering Committee regarding update and next
               steps.

 8/8/22        bkotliar / Comm. Client                                  T        0.4           324.00
 #991680       Asset Analysis and Recovery                                    810.00           Billable
               Emails with Steering Committee and KO regarding UCC
               filing.

 8/8/22        bkotliar / Revise Docs.                                  T        0.8           648.00
 #991681       Asset Analysis and Recovery                                    810.00           Billable
               Review Voyager transcript and UCC filing for potential
               impact on custody arguments.

 8/8/22        bkotliar / Comm. Client                                  T        0.8           648.00
 #991682       Asset Analysis and Recovery                                    810.00           Billable
               Email client group regarding case update, upcoming
               hearings, and status.

 8/8/22        bkotliar / OC/TC strategy                                T        0.3           243.00
 #991683       Asset Analysis and Recovery                                    810.00           Billable
               Communicate with AO regarding custody and setoff
               research issues.

 8/8/22        bkotliar / Revise Docs.                                  T        1.6       1,296.00
 #991684       Asset Analysis and Recovery                                    810.00        Billable
               Begin drafting and revising legal memoranda regarding
               custody and setoff issues.

 8/8/22        aoden / Research                                         T        1.8       1,278.00
 #991811       Asset Analysis and Recovery                                    710.00        Billable
               Research re: in-kind setoff.



                                                     Page: 5
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 23 &  Segal LLP
                                                    of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                            3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                            T/E      Rate     Billing Status


 8/8/22        aoden / OC/TC strategy                                   T         0.3           213.00
 #991813       Asset Analysis and Recovery                                     710.00           Billable
               TC w/ BK re: in-kind setoff research project.

 8/8/22        kortiz / Review Docs.                                    T         0.2           183.00
 #992612       Asset Analysis and Recovery                                     915.00           Billable
               Review and sign off on Client group update e-mail

 8/8/22        kortiz / Review Docs.                                    T         0.6           549.00
 #992613       Asset Analysis and Recovery                                     915.00           Billable
               Call with the Steering Committee to provide update on
               case and next steps

 8/9/22        kortiz / Review Docs.                                    T         0.2           183.00
 #991799       Asset Analysis and Recovery                                     915.00           Billable
               Review Judge Wiles decision on custody accounts in
               Voyager for any import to Celsius

 8/9/22        aoden / Research                                         T         2.1       1,491.00
 #991812       Asset Analysis and Recovery                                     710.00        Billable
               Research re: in-kind setoff.

 8/9/22        bkotliar / Comm. Client                                  T         1.0           810.00
 #991876       Asset Analysis and Recovery                                     810.00           Billable
               Emails with Steering Committee regarding update on
               pending motions and UCC issues.

 8/9/22        bkotliar / Revise Docs.                                  T         3.2       2,592.00
 #991878       Asset Analysis and Recovery                                     810.00        Billable
               Draft and revise factual summary for legal analysis
               memorandum.

 8/9/22        bkotliar / Revise Docs.                                  T         1.4       1,134.00
 #991879       Asset Analysis and Recovery                                     810.00        Billable
               Draft and revise initial legal analysis of overview of
               property of the estate issues for memorandum.




                                                       Page: 6
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 24 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/9/22        aglaubach / OC/TC strategy                                 T         0.1            67.00
 #991947       Asset Analysis and Recovery                                       670.00           Billable
               Call with BK re joinder and rule 2019 statement re Celsius

 8/9/22        aglaubach / Review Docs.                                    T        1.8       1,206.00
 #991948       Asset Analysis and Recovery                                       670.00        Billable
               Review of diligence and motion to seal and draft joinder re
               same.

 8/9/22        aglaubach / Review Docs.                                    T        0.2           134.00
 #991950       Asset Analysis and Recovery                                       670.00           Billable
               Review of precedent re 2019 reports in connection with
               drafting same.

 8/9/22        aglaubach / Draft Documents                                 T        0.7           469.00
 #991952       Asset Analysis and Recovery                                       670.00           Billable
               Draft rule 2019 statement and review of documents in
               connection with same.

 8/9/22        aglaubach / OC/TC strategy                                  T        0.1            67.00
 #991953       Asset Analysis and Recovery                                       670.00           Billable
               Call with KO re Rule 2019 statement.

 8/9/22        aglaubach / Draft Documents                                 T        1.4           938.00
 #991957       Asset Analysis and Recovery                                       670.00           Billable
               Draft exhibit A to rule 2019 statement and emails with BK
               re same.

 8/9/22        kortiz / Review Docs.                                       T        0.6           549.00
 #996177       Asset Analysis and Recovery                                       915.00           Billable
               Review cases on custody and bailments

 8/10/22       bkotliar / Comm. Others                                    T         0.5           405.00
 #992006       Asset Analysis and Recovery                                       810.00           Billable
               Call with H. Hockberger of Kirkland regarding case update,
               status, and pending pleadings.




                                                      Page: 7
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 25 &  Segal LLP
                                                  of 211
                                                                                        12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                            3:41:48 PM

 Date                                                                         Hours      Slip Amount
 Slip Number                                                           T/E     Rate     Billing Status


 8/10/22       bkotliar / Revise Docs.                                 T        2.2       1,782.00
 #992008       Asset Analysis and Recovery                                   810.00        Billable
               Review and revise draft memorandum analysis regarding
               Voyager case summary and decision.

 8/10/22       bkotliar / Revise Docs.                                 T        1.8       1,458.00
 #992009       Asset Analysis and Recovery                                   810.00        Billable
               Review and revise draft memorandum analysis for trust
               arguments and property of the estate.

 8/10/22       bkotliar / Inter Off Memo                             T          0.6           486.00
 #992010       Asset Analysis and Recovery                                   810.00           Billable
               Communicate with AO and AG regarding pending research
               projects on setoff and related issues.




 8/10/22       aglaubach / Review Docs.                                T        0.2           134.00
 #992028       Asset Analysis and Recovery                                   670.00           Billable
               Review BK edits to 2019 statement and exhibit A.

 8/10/22       aglaubach / Draft Documents                             T        0.4           268.00
 #992047       Asset Analysis and Recovery                                   670.00           Billable
               Review and revise rule 2019 statement.

 8/10/22       aglaubach / OC/TC strategy                              T        0.2           134.00
 #992048       Asset Analysis and Recovery                                   670.00           Billable
               Call with BK re Rule 2019 statement.

 8/10/22       aglaubach / Revise Docs.                                T        3.0       2,010.00
 #992050       Asset Analysis and Recovery                                   670.00        Billable
               Update exhibit A to Rule 2019 statement, research re
               same, emails with BK re same.




                                                      Page: 8
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 26 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/10/22       aglaubach / Research                                        T        0.6           402.00
 #992084       Asset Analysis and Recovery                                       670.00           Billable
               Research re Celsius and property of the estate.

 8/10/22       aoden / OC/TC strategy                                      T        0.2           142.00
 #992672       Asset Analysis and Recovery                                       710.00           Billable
               Call w/ BK re: setoff research for Custody Wallet memo.

 8/10/22       aoden / Research                                            T        1.1           781.00
 #992673       Asset Analysis and Recovery                                       710.00           Billable
               Setoff research for Custody Wallet memo.

 8/10/22       aoden / Review Docs.                                        T        0.6           426.00
 #992696       Asset Analysis and Recovery                                       710.00           Billable
               Review terms of use and first day declaration in connection
               w/ research re: setoff for Custody Wallet Memo.

 8/10/22       jgallego / Comm. Others                                   T          0.2            70.00
 #995579       Asset Analysis and Recovery                                       350.00           Billable
               Communicate w/ BK re research re Judge Glenn
               precedent decisions on custodial accounts and section 541
               property of the estate matters and set off issues

 8/10/22       jgallego / Research                                         T        0.8           280.00
 #995582       Asset Analysis and Recovery                                       350.00           Billable
               Research re Judge Glenn precedent decisions on
               custodial accounts and section 541 property of the estate
               matters and set off issues

 8/10/22       jgallego / Research                                         T        0.3           105.00
 #995583       Asset Analysis and Recovery                                       350.00           Billable
               Review Voyager motion in connection w/ research re
               Judge Glenn precedent decisions on custodial accounts
               and section 541 and set off issues

 8/11/22       astolp / Prep. Hearing                                      T        0.2            52.00
 #992093       Asset Analysis and Recovery                                       260.00           Billable
               Registered BK and KO for Celsius hearing on 8/16.



                                                    Page: 9
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 27 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/11/22       bkotliar / Inter Off Memo                                   T        0.3           243.00
 #992223       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with AO and AG regarding outstanding
               research.


 8/11/22       bkotliar / Revise Docs.                                     T        0.7           567.00
 #992224       Asset Analysis and Recovery                                       810.00           Billable
               Review creditors’ committee’s objections to various
               motions filed throughout the day for potential impact on
               Custody Wallets.

 8/11/22       bkotliar / Revise Docs.                                 T            1.1           891.00
 #992225       Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise legal memorandum regarding conclusions
               with respect to Custody Wallet.

 8/11/22       bkotliar / Revise Docs.                                     T        4.3       3,483.00
 #992226       Asset Analysis and Recovery                                       810.00        Billable
               Continue to review and revise memorandum regarding
               Custody Wallets including review and analysis of relevant
               case law.

 8/11/22       bkotliar / OC/TC strategy                                   T        0.4           324.00
 #992227       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with JB regarding Miami Metals decision
               and bailment arguments.

 8/11/22       bkotliar / Comm. Client                                     T        0.2           162.00
 #992228       Asset Analysis and Recovery                                       810.00           Billable
               Emails with client group regarding upcoming zoom call.


 8/11/22       bkotliar / Comm. Client                                     T        0.3           243.00
 #992229       Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding withhold group
               notice of appearance and related issues.




                                                     Page: 10
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 28 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/11/22       bkotliar / Comm. Others                                 T            0.2           162.00
 #992230       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with H. Hockberger regarding status update.


 8/11/22       bkotliar / Inter Off Memo                                   T        0.3           243.00
 #992234       Asset Analysis and Recovery                                       810.00           Billable
               Emails with TSS team regarding updated memo and next
               research steps.

 8/11/22       bkotliar / Revise Docs.                                     T        2.7       2,187.00
 #992235       Asset Analysis and Recovery                                       810.00        Billable
               Review and revise memorandum regarding bailment and
               special deposits including related research.

 8/11/22       bkotliar / Inter Off Memo                                   T        0.4           324.00
 #992236       Asset Analysis and Recovery                                       810.00           Billable
               Emails with JB regarding special deposit and bailment
               research.

 8/11/22       bkotliar / Comm. Client                                 T            0.2           162.00
 #992237       Asset Analysis and Recovery                                       810.00           Billable
               Email Steering Committee update on Creditors’ Committee
               discussions.

 8/11/22       bkotliar / Comm. Client                                     T        0.4           324.00
 #992238       Asset Analysis and Recovery                                       810.00           Billable
               Call with G. Haddad regarding status and next steps.

 8/11/22       aglaubach / Inter Off Memo                                   T       0.1            67.00
 #992318       Asset Analysis and Recovery                                       670.00           Billable
               Emails with BK re edits to exhibit A re rule 2019 statement.

 8/11/22       aglaubach / OC/TC strategy                                T          0.1            67.00
 #992331       Asset Analysis and Recovery                                       670.00           Billable
               Call with BK re Celsius research and rule 2019 statement.




                                                    Page: 11
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 29 &  Segal LLP
                                                   of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                             3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/11/22       aglaubach / Revise Docs.                                  T        0.3           201.00
 #992332       Asset Analysis and Recovery                                     670.00           Billable
               Review and revise exhibit A and rule 2019 statement and
               emails with KO re same.

 8/11/22       aglaubach / Research                                      T        2.1       1,407.00
 #992335       Asset Analysis and Recovery                                     670.00        Billable
               Celsius research re estate property

 8/11/22       aglaubach / Review Docs.                                  T        0.9           603.00
 #992345       Asset Analysis and Recovery                                     670.00           Billable
               Review of Celsius custody memo for section 541
               arguments.

 8/11/22       aoden / Research                                          T        2.8       1,988.00
 #992674       Asset Analysis and Recovery                                     710.00        Billable
               Setoff research for Custody Wallet memo.

 8/11/22       jborriello / Inter Off Memo                             T          0.1            81.00
 #992808       Asset Analysis and Recovery                                     810.00           Billable
               Email communications with KO, BK, EB re research issues
               related to custody, commingling, and tracing.

 8/11/22       jborriello / Research                                     T        1.2           972.00
 #992809       Asset Analysis and Recovery                                     810.00           Billable
               Research issues re custodial v. debtor creditor
               relationship, commingling, and tracing.

 8/11/22       jborriello / Research                                     T        0.7           567.00
 #992810       Asset Analysis and Recovery                                     810.00           Billable
               Research case law re bailment and special deposit v.
               general deposits under new York law.

 8/11/22       jborriello / Revise Docs.                                 T        0.9           729.00
 #992811       Asset Analysis and Recovery                                     810.00           Billable
               Review and revise draft memo re analysis of Custodial
               Wallets.




                                                     Page: 12
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 30 &  Segal LLP
                                                   of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                             3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/11/22       kortiz / Comm. Others                                     T        0.2           183.00
 #996181       Asset Analysis and Recovery                                     915.00           Billable
               E-mail BK re: follow up with Kirkland on status of
               communication with committee

 8/12/22       bkotliar / Comm. Client                                 T          0.4           324.00
 #992472       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with G. Haddad and C. Saunders regarding
               status of K&E negotiations and next steps for potential
               litigation.

 8/12/22       bkotliar / Comm. Client                                   T        0.2           162.00
 #992473       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with Steering Committee group regarding
               update on K&E discussions.

 8/12/22       bkotliar / Comm. Others                                   T        0.2           162.00
 #992475       Asset Analysis and Recovery                                     810.00           Billable
               Call with H. Hockberger of K&E regarding update on
               Celsius discussions with Creditors’ Committee.

 8/12/22       bkotliar / Revise Docs.                                    T       0.8           648.00
 #992477       Asset Analysis and Recovery                                     810.00           Billable
               Review pending motions and related briefing for August 16
               hearing for potential issues impacting Custody Wallets and
               hearing presentation issues.

 8/12/22       bkotliar / Revise Docs.                                   T        4.4       3,564.00
 #992478       Asset Analysis and Recovery                                     810.00        Billable
               Continue to review and revise memorandum for special
               deposits, bailments, and commodities custodial
               arrangements for property of the estate arguments.

 8/12/22       bkotliar / Inter Off Memo                                 T        0.6           486.00
 #992479       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with TSS team regarding open tasks and
               next steps for memo.




                                                     Page: 13
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 31 &  Segal LLP
                                                   of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                            3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 8/12/22       bkotliar / Inter Off Memo                                T        1.0           810.00
 #992481       Asset Analysis and Recovery                                    810.00           Billable
               Communicate with JB and AG regarding bailments and
               fungible commodities research.


 8/12/22       aglaubach / OC/TC strategy                               T        0.3           201.00
 #992500       Asset Analysis and Recovery                                    670.00           Billable
               Call with BK re Celsius research re bailments.

 8/12/22       aglaubach / Research                                     T        1.4           938.00
 #992536       Asset Analysis and Recovery                                    670.00           Billable
               Celsius bailment research in connection with custody
               memo.

 8/12/22       aglaubach / Research                                     T        1.9       1,273.00
 #992540       Asset Analysis and Recovery                                    670.00        Billable
               Additional research re bailments and use of property.

 8/12/22       aoden / Review Docs.                                      T       1.7       1,207.00
 #992676       Asset Analysis and Recovery                                    710.00        Billable
               Review terms of use and 1007 declaration in connection w/
               researching for Custody Wallet memo.

 8/12/22       aoden / Revise Docs.                                     T        0.6           426.00
 #992677       Asset Analysis and Recovery                                    710.00           Billable
               Review and comment on Custody Wallet Memo.

 8/12/22       aoden / Inter Off Memo                                   T        0.4           284.00
 #992678       Asset Analysis and Recovery                                    710.00           Billable
               IOMs w/ BK and JB re: Custody Wallet Memo.

 8/12/22       jborriello / Research                                    T        2.4       1,944.00
 #992812       Asset Analysis and Recovery                                    810.00        Billable
               Research and analysis re fungible commodity cases.




                                                    Page: 14
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 32 &  Segal LLP
                                                   of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                             3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/12/22       jborriello / Review Docs.                                 T        1.1           891.00
 #992813       Asset Analysis and Recovery                                     810.00           Billable
               Review and revise draft memorandum to client re custody
               accounts.

 8/13/22       kortiz / Review Docs.                                     T        1.2       1,098.00
 #992399       Asset Analysis and Recovery                                     915.00        Billable
               Review and comment on memo on applicable case law
               and e-mail team re: same

 8/13/22       aglaubach / Review Docs.                                  T        0.2           134.00
 #992547       Asset Analysis and Recovery                                     670.00           Billable
               Review revised draft of custody memo in connection with
               bailment research re same

 8/13/22       aglaubach / Research                                      T        1.4           938.00
 #992548       Asset Analysis and Recovery                                     670.00           Billable
               Bailment research in connection with use of property re
               memo re same.

 8/13/22       aoden / Inter Off Memo                                    T        0.1            71.00
 #992679       Asset Analysis and Recovery                                     710.00           Billable
               IOMs w/ TSS team re: Custody Wallet Memo.

 8/14/22       bkotliar / Revise Docs.                                   T        1.4       1,134.00
 #992486       Asset Analysis and Recovery                                     810.00        Billable
               Begin to review and revise Celsius memorandum per KO
               comments.

 8/14/22       kortiz / Prep. Hearing                                    T        0.9           823.50
 #999184       Asset Analysis and Recovery                                     915.00           Billable
               Prepare for upcoming hearing by mooting argument and
               remarks for Court

 8/15/22       bkotliar / Revise Docs.                                 T          2.2       1,782.00
 #992621       Asset Analysis and Recovery                                     810.00        Billable
               Continue to review and revise legal analysis memorandum
               per KO comments and additional research.



                                                    Page: 15
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 33 &  Segal LLP
                                                  of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                             3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 8/15/22       bkotliar / OC/TC strategy                                T        0.3           243.00
 #992622       Asset Analysis and Recovery                                    810.00           Billable
               Discuss KO comments to memorandum and agenda for
               client call.


 8/15/22       bkotliar / Comm. Others                                  T        0.3           243.00
 #992623       Asset Analysis and Recovery                                    810.00           Billable
               Emails with K&E regarding second day hearing and
               custody wallet memorandum analysis.

 8/15/22       bkotliar / Comm. Client                                  T        0.2           162.00
 #992624       Asset Analysis and Recovery                                    810.00           Billable
               Emails with steering committee regarding legal
               memorandum and case update.

 8/15/22       bkotliar / Comm. Client                                  T        0.7           567.00
 #992626       Asset Analysis and Recovery                                    810.00           Billable
               Emails with steering committee regarding responding to
               strategy inquiries.

 8/15/22       bkotliar / Revise Docs.                                  T        0.5           405.00
 #992627       Asset Analysis and Recovery                                    810.00           Billable
               Review and revise memorandum for distribution to K&E.


 8/15/22       bkotliar / Inter Off Memo                                T        0.2           162.00
 #992628       Asset Analysis and Recovery                                    810.00           Billable
               Emails with JB regarding distribution of memorandum to
               clients and K&E.

 8/15/22       bkotliar / Inter Off Memo                                T        0.5           405.00
 #992629       Asset Analysis and Recovery                                    810.00           Billable
               Communicate with AO regarding comments to
               memorandum and open research.




                                                   Page: 16
        22-10964-mg      Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 34 &  Segal LLP
                                                    of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                     Client Billing Report                             3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/15/22       bkotliar / Revise Docs.                                     T        0.8           648.00
 #992630       Asset Analysis and Recovery                                       810.00           Billable
               Review and summarize additional research per KO
               comments.


 8/15/22       bkotliar / Revise Docs.                                     T        0.6           486.00
 #992631       Asset Analysis and Recovery                                       810.00           Billable
               Review first day transcript and pending motions for
               upcoming second day hearing.

 8/15/22       bkotliar / Comm. Client                                     T        1.0           810.00
 #992632       Asset Analysis and Recovery                                       810.00           Billable
               Participate in client update call.

 8/15/22       bkotliar / Revise Docs.                                     T        0.4           324.00
 #992633       Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise notes and agenda for client update call.

 8/15/22       bkotliar / Inter Off Memo                                   T        0.2           162.00
 #992634       Asset Analysis and Recovery                                       810.00           Billable
               Emails with AG regarding 2019 statement and joinder.

 8/15/22       aoden / Inter Off Memo                                      T        3.0       2,130.00
 #992680       Asset Analysis and Recovery                                       710.00        Billable
               Fiduciary duty research in connection w/ revising Custody
               Wallet Memo.

 8/15/22       aoden / Revise Docs.                                        T        0.4           284.00
 #992681       Asset Analysis and Recovery                                       710.00           Billable
               Revise Custody Wallet Memo.

 8/15/22       aoden / OC/TC strategy                                      T        0.1            71.00
 #992682       Asset Analysis and Recovery                                       710.00           Billable
               TC w/ BK re: fiduciary duty research in connection w/
               revising Custody Wallet Memo.




                                                     Page: 17
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 35 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                              3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/15/22       aoden / Inter Off Memo                                     T        0.1            71.00
 #992683       Asset Analysis and Recovery                                      710.00           Billable
               IOM w/ BK re: revised Custody Wallet Memo.

 8/15/22       aglaubach / Research                                        T       4.3       2,881.00
 #992780       Asset Analysis and Recovery                                      670.00        Billable
               Research re Celsius memo specifically review of case law
               in connection with permissible use bailment focusing on all
               second circuit precedent.

 8/15/22       aglaubach / Inter Off Memo                                 T        0.1            67.00
 #992781       Asset Analysis and Recovery                                      670.00           Billable
               Emails with BK and KO re Celsius joinder.

 8/15/22       aglaubach / Revise Docs.                                   T        0.5           335.00
 #992791       Asset Analysis and Recovery                                      670.00           Billable
               Review and revise joinder in connection with debtors' ex
               parte motion.

 8/15/22       aglaubach / Inter Off Memo                                 T        0.3           201.00
 #992792       Asset Analysis and Recovery                                      670.00           Billable
               Emails with KO and BK re celsius joinder and rule 2019
               report and review re same.

 8/15/22       jborriello / Comm. Client                                  T        0.2           162.00
 #992816       Asset Analysis and Recovery                                      810.00           Billable
               Email communications with Steering Committee re TSS
               Memorandum re Custody Wallets.

 8/15/22       jborriello / Review Docs.                                  T        0.6           486.00
 #992819       Asset Analysis and Recovery                                      810.00           Billable
               Review and revise of excerpts from memo for distribution
               to K&E and prepare K&E distribution version of same

 8/15/22       jborriello / Revise Docs.                                  T        0.8           648.00
 #992821       Asset Analysis and Recovery                                      810.00           Billable
               Review and revise TSS Memo to Steering Committee re
               Custody Wallets and prepare distribution version of same



                                                    Page: 18
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 36 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                             3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/15/22       kortiz / Comm. Others                                    T          0.8           732.00
 #996187       Asset Analysis and Recovery                                      915.00           Billable
               E-mails with BK on next steps depending on K&E
               communications this week and preparation for hearing and
               regarding communication with steering committee

 8/15/22       kortiz / Prep. Hearing                                     T        0.8           732.00
 #996190       Asset Analysis and Recovery                                      915.00           Billable
               Call with full client group to discuss progress and
               expectations for second day

 8/16/22       kortiz / Prep. Hearing                                     T        1.4       1,281.00
 #992770       Asset Analysis and Recovery                                      915.00        Billable
               Prepare for second day hearing

 8/16/22       kortiz / Attend Hearing                                    T        2.2       2,013.00
 #992771       Asset Analysis and Recovery                                      915.00        Billable
               Attend second day hearing

 8/16/22       jborriello / Comm. Client                                  T        0.1            81.00
 #992822       Asset Analysis and Recovery                                      810.00           Billable
               Email communications with Steering Committee member
               re Togut Memorandum re Custody Wallet.

 8/16/22       bkotliar / Comm. Others                                    T        2.2       1,782.00
 #993048       Asset Analysis and Recovery                                      810.00        Billable
               Participate in Celsius Second Day Hearing for impact and
               update on Custody Wallets.

 8/16/22       bkotliar / Comm. Client                                    T        1.0           810.00
 #993049       Asset Analysis and Recovery                                      810.00           Billable
               Email client group with update on Second Day Hearing
               and Rule 2019 review.

 8/16/22       bkotliar / Revise Docs.                                T            0.2           162.00
 #993050       Asset Analysis and Recovery                                      810.00           Billable
               Review and comment on Rule 2019 statement and exhibit.




                                                      Page: 19
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 37 &  Segal LLP
                                                  of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                               3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/16/22       bkotliar / Revise Docs.                                    T        0.3           243.00
 #993051       Asset Analysis and Recovery                                      810.00           Billable
               Review and comment on draft joinder to sealing motion.

 8/16/22       bkotliar / Comm. Client                                    T        0.2           162.00
 #993052       Asset Analysis and Recovery                                      810.00           Billable
               Emails with clients regarding updates on Rule 2019
               statement information on holdings.

 8/16/22       bkotliar / Comm. Client                                    T        0.2           162.00
 #993053       Asset Analysis and Recovery                                      810.00           Billable
               Communicate with Steering Committee regarding case
               update in advance of hearing and related matters.

 8/16/22       aglaubach / Review Docs.                                   T        0.2           134.00
 #993222       Asset Analysis and Recovery                                      670.00           Billable
               Review BK comments to joinder re debtors ex parte
               motion.

 8/16/22       aglaubach / OC/TC strategy                                 T        0.3           201.00
 #993241       Asset Analysis and Recovery                                      670.00           Billable
               OC with BK re edits to Celsius 2019 statement and joinder.

 8/16/22       aglaubach / Revise Docs.                                   T        0.3           201.00
 #993258       Asset Analysis and Recovery                                      670.00           Billable
               Revise Rule 2019 statement to include comments from
               BK.

 8/16/22       aglaubach / Revise Docs.                                   T        0.4           268.00
 #993263       Asset Analysis and Recovery                                      670.00           Billable
               Revise exhibit A to Rule 2019 statement to include BK
               comments.

 8/16/22       aglaubach / Revise Docs.                                   T        0.9           603.00
 #993269       Asset Analysis and Recovery                                      670.00           Billable
               Revise joinder and review of BK email in connection with
               hearing update and rule 2019 statement.




                                                    Page: 20
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 38 &  Segal LLP
                                                  of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                             3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 8/16/22       aglaubach / Revise Docs.                                  T       0.4           268.00
 #993293       Asset Analysis and Recovery                                    670.00           Billable
               Update Celsius tracker and rule 2019 statement to include
               new information.

 8/16/22       aoden / Inter Off Memo                                   T        0.1            71.00
 #994329       Asset Analysis and Recovery                                    710.00           Billable
               IOM w/ KO and BK re: custody wallet research and next
               steps.

 8/17/22       kortiz / Comm. Others                                    T        0.2           183.00
 #993405       Asset Analysis and Recovery                                    915.00           Billable
               E-mail with Committee re: meeting on Custody

 8/17/22       bkotliar / Revise Docs.                                  T        0.2           162.00
 #993412       Asset Analysis and Recovery                                    810.00           Billable
               Review and comment on client updates for 2019
               statement.


 8/17/22       bkotliar / Comm. Others                                  T        0.2           162.00
 #993414       Asset Analysis and Recovery                                    810.00           Billable
               Communicate with K&E and W&C regarding scheduling
               calls to discuss custody wallets.

 8/17/22       bkotliar / Comm. Client                                T          0.2           162.00
 #993416       Asset Analysis and Recovery                                    810.00           Billable
               Communicate with steering committee regarding upcoming
               calls to discuss custody wallets.

 8/17/22       bkotliar / Revise Docs.                                  T        0.3           243.00
 #993418       Asset Analysis and Recovery                                    810.00           Billable
               Review and comment on AG agency research.

 8/17/22       aglaubach / OC/TC strategy                               T        0.3           201.00
 #993616       Asset Analysis and Recovery                                    670.00           Billable
               OC with AS re Celsius tracker.




                                                   Page: 21
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 39 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                              3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/17/22       aglaubach / Research                                       T        2.1       1,407.00
 #993617       Asset Analysis and Recovery                                      670.00        Billable
               Research re Celsius diligence re agency and draft
               summary re same.

 8/17/22       astolp / OC/TC strategy                                    T        0.3            78.00
 #993946       Asset Analysis and Recovery                                      260.00           Billable
               OC w AG re: Celsius 2019 procedure and cooperation

 8/17/22       astolp / Gen. Office                                       T        0.3            78.00
 #993982       Asset Analysis and Recovery                                      260.00           Billable
               Correspond with Celsius account holders before filing of
               2019 - updating and confirming information

 8/18/22       bkotliar / Comm. Client                                    T        0.6           486.00
 #993569       Asset Analysis and Recovery                                      810.00           Billable
               Emails with client group regarding update on K&E and
               W&C discussions and examiner motion.

 8/18/22       bkotliar / Comm. Others                                    T        0.2           162.00
 #993570       Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E and W&C regarding scheduling calls.


 8/18/22       bkotliar / Comm. Client                                  T          0.4           324.00
 #993573       Asset Analysis and Recovery                                      810.00           Billable
               Emails with steering committee regarding examiner motion
               and process.

 8/18/22       aglaubach / Inter Off Memo                                 T        0.1            67.00
 #993683       Asset Analysis and Recovery                                      670.00           Billable
               Emails with BK and AS re 2019 statement and tracker re
               same.

 8/18/22       aglaubach / Research                                      T         0.5           335.00
 #993686       Asset Analysis and Recovery                                      670.00           Billable
               Additional Celsius research in connection with agency and
               emails with AO, KO, and BK re same.



                                                    Page: 22
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 40 &  Segal LLP
                                                   of 211
                                                                                             12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                                3:41:48 PM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 8/18/22       kortiz / Comm. Others                                        T        0.5           457.50
 #993713       Asset Analysis and Recovery                                        915.00           Billable
               Call with Counsel to Committee to discuss custody issues
               and diligence requests

 8/18/22       aoden / Inter Off Memo                                       T        0.1            71.00
 #994331       Asset Analysis and Recovery                                        710.00           Billable
               IOM w/ KO and BK re: custody wallet research and next
               steps.

 8/18/22       jborriello / Inter Off Memo                                  T        0.2           162.00
 #995512       Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re SDNY
               precedent for motions to appoint examiner.

 8/19/22       kortiz / Research                                            T        0.7           640.50
 #993714       Asset Analysis and Recovery                                        915.00           Billable
               Research interplay of settoff and preference analysis
               communications with BK re: same

 8/19/22       kortiz / Comm. Others                                        T        0.2           183.00
 #993720       Asset Analysis and Recovery                                        915.00           Billable
               Review and approve for filing Rule 2019 statement

 8/19/22       kortiz / Comm. Others                                     T           0.5           457.50
 #993721       Asset Analysis and Recovery                                        915.00           Billable
               Call with Kirkland team to discuss progress and Committee
               document requests and preference related questions

 8/19/22       kortiz / Comm. Others                                        T        0.5           457.50
 #993723       Asset Analysis and Recovery                                        915.00           Billable
               Review examiner motion filed by UST

 8/19/22       bkotliar / Comm. Others                                      T        3.5       2,835.00
 #993886       Asset Analysis and Recovery                                        810.00        Billable
               Participate in section 341 meeting with focus on potential
               custody return and related issues.




                                                     Page: 23
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 41 &  Segal LLP
                                                  of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                              3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/19/22       bkotliar / Comm. Others                                   T        0.4           324.00
 #993890       Asset Analysis and Recovery                                     810.00           Billable
               Call with K&E and KO regarding update on Custody
               discussions with UCC and next steps.

 8/19/22       bkotliar / Comm. Client                                   T        0.8           648.00
 #993893       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with steering committee group regarding
               status of discussions and pending legal issues.

 8/19/22       bkotliar / Revise Docs.                                   T        1.0           810.00
 #993896       Asset Analysis and Recovery                                     810.00           Billable
               Begin drafting and revising legal analysis of potential
               preference arguments regarding Earn to Custody transfer
               issues.

 8/19/22       bkotliar / OC/TC strategy                                 T        0.3           243.00
 #993900       Asset Analysis and Recovery                                     810.00           Billable
               Discuss research and strategy issues with KO.

 8/19/22       bkotliar / Comm. Client                                  T         0.6           486.00
 #993903       Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding filing of Rule 2019
               statement and case update, including section 341 meeting
               and examiner motion.

 8/19/22       aglaubach / Inter Off Memo                                T        0.3           201.00
 #993958       Asset Analysis and Recovery                                     670.00           Billable
               Emails with BK, AS, and KO re updates to Rule 2019
               statement and revise exhibit to same.

 8/19/22       aglaubach / Review Docs.                                  T        0.4           268.00
 #993960       Asset Analysis and Recovery                                     670.00           Billable
               Review rule 2019 statement and exhibit in advance of
               sending same to KO

 8/19/22       aglaubach / Inter Off Memo                                T        0.2           134.00
 #993965       Asset Analysis and Recovery                                     670.00           Billable
               Emails with BK and KO re 2019 statement.


                                                   Page: 24
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 42 &  Segal LLP
                                                    of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                            3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/19/22       aglaubach / Review Docs.                                  T        0.3           201.00
 #993966       Asset Analysis and Recovery                                     670.00           Billable
               Review and finalize rule 2019 for filing.

 8/19/22       aglaubach / Inter Off Memo                                T        0.1            67.00
 #993970       Asset Analysis and Recovery                                     670.00           Billable
               TC with AS re filing rule 2019 statement.

 8/19/22       astolp / OC/TC strategy                                   T        0.2            52.00
 #994148       Asset Analysis and Recovery                                     260.00           Billable
               OC w DP re filing 2019 statement

 8/19/22       astolp / Prep Filing/Svc                                  T        0.2            52.00
 #994166       Asset Analysis and Recovery                                     260.00           Billable
               Filed 2019 statement and served

 8/19/22       astolp / OC/TC strategy                                   T        0.1            26.00
 #994167       Asset Analysis and Recovery                                     260.00           Billable
               OC w AG re 2019 draft procedure and strategy

 8/20/22       kortiz / Comm. Others                                     T        0.5           457.50
 #993707       Asset Analysis and Recovery                                     915.00           Billable
               Call with BK on preference issue and research on same
               and review RH research on preference issues relating to
               custody

 8/20/22       bkotliar / OC/TC strategy                              T           0.5           405.00
 #994021       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with RH and AO regarding Celsius potential
               preference issue research.

 8/20/22       bkotliar / Revise Docs.                                   T        0.3           243.00
 #994023       Asset Analysis and Recovery                                     810.00           Billable
               Review and comment on research regarding potential
               preference issues.




                                                      Page: 25
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 43 &  Segal LLP
                                                   of 211
                                                                                              12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                                 3:41:48 PM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 8/20/22       aoden / Inter Off Memo                                        T        0.2           142.00
 #994323       Asset Analysis and Recovery                                         710.00           Billable
               IOM w/ TSS team re: new research issues re: property of
               the estate.

 8/20/22       aoden / OC/TC strategy                                        T        0.1            71.00
 #994324       Asset Analysis and Recovery                                         710.00           Billable
               TC w/ BK re: new research issues re: property of the
               estate.

 8/20/22       jgallego / Comm. Others                                       T        0.2            70.00
 #995584       Asset Analysis and Recovery                                         350.00           Billable
               Emails BK re preference and recovery related research
               issues

 8/21/22       kortiz / Comm. Others                                         T        0.4           366.00
 #993741       Asset Analysis and Recovery                                         915.00           Billable
               Cal with Comittee counsel re: status of their diligence and
               position on custody

 8/21/22       bkotliar / OC/TC strategy                                     T        0.3           243.00
 #994026       Asset Analysis and Recovery                                         810.00           Billable
               Call with KO regarding preference issue.

 8/21/22       aoden / Research                                              T        0.4           284.00
 #994326       Asset Analysis and Recovery                                         710.00           Billable
               Research issues re: property of the estate.

 8/21/22       aoden / Inter Off Memo                                        T        0.2           142.00
 #994327       Asset Analysis and Recovery                                         710.00           Billable
               IOM w/ BK re: new research issues re: property of the
               estate.

 8/22/22       kortiz / Comm. Others                                         T        0.1            91.50
 #993941       Asset Analysis and Recovery                                         915.00           Billable
               Call with BK ahead of group meeting and review agenda




                                                     Page: 26
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 44 &  Segal LLP
                                                    of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                              3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/22/22       kortiz / Comm. Client                                       T        0.4           366.00
 #993949       Asset Analysis and Recovery                                       915.00           Billable
               Steering committee call (on for part of call)

 8/22/22       bkotliar / Comm. Client                                     T        1.0           810.00
 #994417       Asset Analysis and Recovery                                       810.00           Billable
               Call with Steering Committee regarding update and next
               steps.


 8/22/22       bkotliar / Comm. Others                                     T        0.3           243.00
 #994419       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with K&E regarding update on discussions
               with UCC.


 8/22/22       bkotliar / Comm. Others                                     T        0.5           405.00
 #994422       Asset Analysis and Recovery                                       810.00           Billable
               Call with Withhold Group counsel regarding process and
               status.

 8/22/22       bkotliar / Comm. Client                                  T           0.3           243.00
 #994423       Asset Analysis and Recovery                                       810.00           Billable
               Follow up email with Steering Committee regarding status
               and next steps and follow up call.

 8/22/22       bkotliar / Revise Docs.                                     T        0.4           324.00
 #994426       Asset Analysis and Recovery                                       810.00           Billable
               Review and comment on proceeding, motion and
               complaint procedures research.


 8/22/22       bkotliar / Revise Docs.                                     T        0.5           405.00
 #994428       Asset Analysis and Recovery                                       810.00           Billable
               Research setoff and causes of action issues for potential
               complaint.




                                                      Page: 27
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 45 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/22/22       jborriello / Comm. Profes.                                  T        0.2           162.00
 #995515       Asset Analysis and Recovery                                       810.00           Billable
               Email communications with K&E and Steering Committee
               re custody wallets

 8/22/22       jborriello / Research                                   T            0.2           162.00
 #995516       Asset Analysis and Recovery                                       810.00           Billable
               Review and analysis of Rule 7001 and email
               communication with BK re adversary proceeding v. motion
               procedure for obtaining assets in custody Wallets

 8/22/22       jgallego / Comm. Others                                     T        0.2            70.00
 #995585       Asset Analysis and Recovery                                       350.00           Billable
               Email BK, JM re research precedent complaints seeking
               turnover of property

 8/22/22       jgallego / Research                                         T        1.5           525.00
 #995587       Asset Analysis and Recovery                                       350.00           Billable
               Research re precedent complaints seeking turnover of
               property not in debtor’s estate

 8/23/22       bkotliar / Revise Docs.                                     T        4.2       3,402.00
 #994807       Asset Analysis and Recovery                                       810.00        Billable
               Draft and revise complaint related to custody property of
               the estate issue.

 8/23/22       bkotliar / Inter Off Memo                                   T        0.6           486.00
 #994808       Asset Analysis and Recovery                                       810.00           Billable
               Emails with TSS team regarding litigation and procedural
               issues related to complaint and summary judgment.

 8/23/22       bkotliar / Revise Docs.                                     T        1.0           810.00
 #994809       Asset Analysis and Recovery                                       810.00           Billable
               Review complaint precedent for causes of action and
               related declaratory relief issues.




                                                     Page: 28
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 46 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                              3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/23/22       jgallego / Comm. Others                                    T        0.1            35.00
 #995588       Asset Analysis and Recovery                                      350.00           Billable
               Emails JM re research re precedent complaints seeking
               turnover of property not in debtor’s estate in debtor’s
               possession

 8/23/22       jgallego / Research                                        T        0.4           140.00
 #995589       Asset Analysis and Recovery                                      350.00           Billable
               Review JM research re precedent complaints seeking
               turnover of property not in debtor’s estate in debtor’s
               possession

 8/23/22       aoden / OC/TC strategy                                     T        0.2           142.00
 #996062       Asset Analysis and Recovery                                      710.00           Billable
               OC w/ BK re: status of custody wallet issues.

 8/23/22       astolp / Gen. Office                                       T        0.2            52.00
 #996336       Asset Analysis and Recovery                                      260.00           Billable
               Compiled sections of Celsius Terms of Use (Dkt. 393) for
               complaint

 8/23/22       astolp / Gen. Office                                       T        0.1            26.00
 #996337       Asset Analysis and Recovery                                      260.00           Billable
               Compiled Celsius complaints

 8/23/22       jborriello / Review Docs.                                  T        0.3           243.00
 #996868       Asset Analysis and Recovery                                      810.00           Billable
               Review and analysis of JMC research memo re
               declaratory judgement/constructive trust adversary
               proceedings.

 8/23/22       kortiz / Review Docs.                                      T        0.3           274.50
 #999396       Asset Analysis and Recovery                                      915.00           Billable
               Review Celsius turnover complaint for arguments parallel
               to our own




                                                     Page: 29
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 47 &  Segal LLP
                                                   of 211
                                                                                             12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                                3:41:48 PM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 8/24/22       kortiz / Review Docs.                                    T            0.8           732.00
 #994794       Asset Analysis and Recovery                                        915.00           Billable
               Review and comment on preliminary draft of complaint for
               declaratory relief

 8/24/22       bkotliar / Comm. Client                                      T        1.0           810.00
 #995093       Asset Analysis and Recovery                                        810.00           Billable
               Lead group client update call.

 8/24/22       bkotliar / Comm. Client                                   T           0.6           486.00
 #995094       Asset Analysis and Recovery                                        810.00           Billable
               Emails with Steering Committee regarding update on case
               filings and next steps on joinder to redaction motion and
               responses to inquiries on complaint preparation.

 8/24/22       bkotliar / Comm. Others                                      T        0.2           162.00
 #995095       Asset Analysis and Recovery                                        810.00           Billable
               Emails with K&E and W&C regarding upcoming calls and
               status updates.

 8/24/22       bkotliar / Revise Docs.                                      T        1.1           891.00
 #995097       Asset Analysis and Recovery                                        810.00           Billable
               Review and revise complaint.

 8/24/22       bkotliar / Inter Off Memo                               T             0.5           405.00
 #995098       Asset Analysis and Recovery                                        810.00           Billable
               Communicate with JG regarding citations and open issues
               to resolve on complaint.

 8/24/22       bkotliar / Revise Docs.                                      T        2.8       2,268.00
 #995100       Asset Analysis and Recovery                                        810.00        Billable
               Draft and revise primary ancillary pleadings for complaint
               including letter to judge, motion and order for summary
               judgment, memorandum of law and stipulated facts.




                                                     Page: 30
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 48 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                               3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/24/22       jgallego / Comm. Others                                  T           0.5           175.00
 #995590       Asset Analysis and Recovery                                       350.00           Billable
               Communications w/ BK re declaratory judgment complaint
               seeking return of assets held in Celsius custody service

 8/24/22       jgallego / Revise Docs.                                      T       1.0           350.00
 #995591       Asset Analysis and Recovery                                       350.00           Billable
               Revisions to declaratory judgment complaint seeking
               return of assets held in Celsius custody service re terms of
               service

 8/24/22       jgallego / Review Docs.                                     T        0.6           210.00
 #995592       Asset Analysis and Recovery                                       350.00           Billable
               Review terms of service in connection w/ revisions to
               declaratory judgment complaint re same

 8/24/22       jgallego / Research                                        T         0.7           245.00
 #995593       Asset Analysis and Recovery                                       350.00           Billable
               Research and review cease and desist orders issued by
               various state securities regulators against Debtors in
               connection w/ including description of same in declaratory
               judgment complaint

 8/24/22       kortiz / Review Docs.                                       T        0.3           274.50
 #999397       Asset Analysis and Recovery                                       915.00           Billable
               Communications with BK re: whether a damages count
               makes sense in initial complaint

 8/24/22       kortiz / Comm. Others                                       T        0.4           366.00
 #999405       Asset Analysis and Recovery                                       915.00           Billable
               E-mails with BK re: setting up summary judgment on the
               complaint and trying to get debtors to consent to title

 8/24/22       kortiz / Review Docs.                                       T        0.3           274.50
 #999407       Asset Analysis and Recovery                                       915.00           Billable
               Review and comment on joinder to sealing motion




                                                    Page: 31
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 49 &  Segal LLP
                                                   of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                            3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 8/24/22       kortiz / Review Docs.                                    T        0.3           274.50
 #999408       Asset Analysis and Recovery                                    915.00           Billable
               Review and comment on BK’s litigation strategy outline
               and documents outline

 8/25/22       astolp / Gen. Office                                     T        0.1            26.00
 #995265       Asset Analysis and Recovery                                    260.00           Billable
               Registered BK and KO for live lines re: 9 1 22 hearing

 8/25/22       kortiz / Comm. Others                                    T        0.5           457.50
 #995384       Asset Analysis and Recovery                                    915.00           Billable
               Call with Committee to discuss Debtor responses to
               Committee questions and current leanings

 8/25/22       jgallego / OC/TC strategy                                T        0.3           105.00
 #995594       Asset Analysis and Recovery                                    350.00           Billable
               OCs w/ BK re custody and preference issues in connection
               w/ declaratory judgment complaint

 8/25/22       jgallego / Revise Docs.                                  T        1.4           490.00
 #995595       Asset Analysis and Recovery                                    350.00           Billable
               Revisions to declaratory judgment complaint per BK
               comments and re cease and desist orders

 8/25/22       jgallego / Review Docs.                                  T        0.4           140.00
 #995596       Asset Analysis and Recovery                                    350.00           Billable
               Review cease and desist orders issued by various state
               securities regulators against Debtors in connection w/
               including description of same in declaratory judgment
               complaint

 8/25/22       jgallego / Review Docs.                                  T        0.4           140.00
 #995597       Asset Analysis and Recovery                                    350.00           Billable
               Review terms of use in connection w/ revisions to
               declaratory judgment complaint




                                                    Page: 32
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 50 &  Segal LLP
                                                   of 211
                                                                                             12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                                3:41:48 PM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 8/25/22       jgallego / Review Docs.                                      T        0.2            70.00
 #995598       Asset Analysis and Recovery                                        350.00           Billable
               Review first day declaration in connection w/ revisions to
               declaratory judgment complaint

 8/25/22       jgallego / Research                                          T        0.2            70.00
 #995599       Asset Analysis and Recovery                                        350.00           Billable
               Research and review news articles re cold wallet storage
               in connection w/ revisions to declaratory judgment
               complaint

 8/25/22       jgallego / Comm. Others                                      T        0.2            70.00
 #995600       Asset Analysis and Recovery                                        350.00           Billable
               Emails w/ BK re revisions to declaratory judgment
               complaint

 8/25/22       bkotliar / Comm. Others                                      T        0.6           486.00
 #995654       Asset Analysis and Recovery                                        810.00           Billable
               Call with W&C team regarding update on Custody
               negotiations.

 8/25/22       bkotliar / Revise Docs.                                      T        1.8       1,458.00
 #995655       Asset Analysis and Recovery                                        810.00        Billable
               Draft and revise Local Rule 7056-1 letter regarding
               summary judgment.


 8/25/22       bkotliar / Revise Docs.                                      T        1.5       1,215.00
 #995656       Asset Analysis and Recovery                                        810.00        Billable
               Review and revise complaint.

 8/26/22       kortiz / Comm. Client                                        T        0.6           549.00
 #995625       Asset Analysis and Recovery                                        915.00           Billable
               Call with Steering Committee on next steps with potential
               complaint and upcoming hearing




                                                     Page: 33
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 51 &  Segal LLP
                                                   of 211
                                                                                         12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                            3:41:48 PM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                          T/E       Rate     Billing Status


 8/26/22       kortiz / Comm. Others                                  T          0.2           183.00
 #995628       Asset Analysis and Recovery                                    915.00           Billable
               E-mails with Kirkland on status of determination and
               potential Ad Hoc Group complaint

 8/26/22       kortiz / Review Docs.                                  T          0.5           457.50
 #995631       Asset Analysis and Recovery                                    915.00           Billable
               Review and comment on latest draft of the complaint

 8/26/22       bkotliar / Revise Docs.                                T          1.0           810.00
 #995688       Asset Analysis and Recovery                                    810.00           Billable
               Review and finalize complaint and 7056-1 letter.

 8/26/22       bkotliar / Comm. Others                                T          0.2           162.00
 #995689       Asset Analysis and Recovery                                    810.00           Billable
               Emails with K&E regarding status update and process.

 8/26/22       bkotliar / Comm. Client                                T          0.5           405.00
 #995690       Asset Analysis and Recovery                                    810.00           Billable
               Calls and follow up emails with Steering Committee
               regarding status.

 8/26/22       kortiz / Review Docs.                                  T          0.4           366.00
 #995699       Asset Analysis and Recovery                                    915.00           Billable
               Review and comment on 7056-1 letter

 8/26/22       jgallego / Comm. Others                                T          0.2            70.00
 #996537       Asset Analysis and Recovery                                    350.00           Billable
               Emails w/ BK re declaratory judgment complaint

 8/26/22       jborriello / Comm. Client                              T          0.2           162.00
 #996918       Asset Analysis and Recovery                                    810.00           Billable
               Email communications with Steering Committee, K&E, KO,
               and BK re Custody Wallet issues.




                                                    Page: 34
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 52 &  Segal LLP
                                                  of 211
                                                                                          12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                              3:41:48 PM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 8/27/22       jborriello / Comm. Client                                 T        0.2           162.00
 #996933       Asset Analysis and Recovery                                     810.00           Billable
               Email communications with Steering Committee re draft
               complaint, Rule 7056-1 letter, and joinder.

 8/27/22       jborriello / Inter Off Memo                             T          0.2           162.00
 #996934       Asset Analysis and Recovery                                     810.00           Billable
               Email communications with KO and BK re draft complaint,
               Rule 7056-1 letter, and joinder.

 8/29/22       kortiz / Comm. Others                                     T        0.5           457.50
 #996196       Asset Analysis and Recovery                                     915.00           Billable
               E-mails with BK re: sending complaint to K&E and White
               and Case and review e-mail update with steering
               committee re: same.

 8/29/22       bkotliar / Comm. Client                                   T        0.3           243.00
 #996259       Asset Analysis and Recovery                                     810.00           Billable
               Emails with steering committee and broader client group
               regarding upcoming calls prior to next court hearing.

 8/29/22       bkotliar / Comm. Others                                   T        0.2           162.00
 #996260       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with K&E regarding status.


 8/29/22       jborriello / Inter Off Memo                               T        0.2           162.00
 #996939       Asset Analysis and Recovery                                     810.00           Billable
               Email communications with KO and BK re draft adversary
               complaint, Rule 7056-1 Letter, and communications with
               counsel for Debtors and Committee.

 8/29/22       jborriello / Review Docs.                                 T        0.7           567.00
 #996940       Asset Analysis and Recovery                                     810.00           Billable
               Review draft adversary complaint and Rule 7056-1 Letter
               to chambers.




                                                   Page: 35
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 53 &  Segal LLP
                                                   of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                              3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/29/22       astolp / Gen. Office                                        T        0.2            52.00
 #998122       Asset Analysis and Recovery                                       260.00           Billable
               Updated client email list re: email with BK

 8/30/22       kortiz / Comm. Others                                       T        0.7           640.50
 #996351       Asset Analysis and Recovery                                       915.00           Billable
               Call with Kirkland team on progress, our complaint, their
               motion, and next steps

 8/30/22       kortiz / Comm. Others                                       T        0.3           274.50
 #996380       Asset Analysis and Recovery                                       915.00           Billable
               Call with BK to prep for steering committee call ahead of
               call following Kirkland call

 8/30/22       kortiz / Comm. Others                                       T        1.2       1,098.00
 #996393       Asset Analysis and Recovery                                       915.00        Billable
               Call with Steering Committee to discuss Kirkland call and
               next steps

 8/30/22       kortiz / Review Docs.                                       T        0.4           366.00
 #996420       Asset Analysis and Recovery                                       915.00           Billable
               Review updated draft of the complaint

 8/30/22       bkotliar / Comm. Others                                     T        1.0           810.00
 #996446       Asset Analysis and Recovery                                       810.00           Billable
               Call with Kirkland and KO regarding update on custody
               negotiations and status.


 8/30/22       bkotliar / Comm. Client                                 T            1.2           972.00
 #996451       Asset Analysis and Recovery                                       810.00           Billable
               Call with Steering Committee and KO regarding update on
               custody negotiations and status.

 8/30/22       bkotliar / Comm. Client                                   T          0.4           324.00
 #996452       Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding revised draft of
               complaint and next steps.



                                                     Page: 36
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 54 &  Segal LLP
                                                    of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                             3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/30/22       bkotliar / Revise Docs.                                    T        1.5       1,215.00
 #996454       Asset Analysis and Recovery                                      810.00        Billable
               Review and revise complaint to finalize same for filing.


 8/30/22       aglaubach / OC/TC strategy                                 T        0.1            67.00
 #996599       Asset Analysis and Recovery                                      670.00           Billable
               Call with AS in connection with Celsius joinder filing.

 8/30/22       aglaubach / Inter Off Memo                                 T        0.2           134.00
 #996611       Asset Analysis and Recovery                                      670.00           Billable
               Emails with KO and BK in connection with Celsius reply.

 8/30/22       aglaubach / Review Docs.                                   T        0.2           134.00
 #996613       Asset Analysis and Recovery                                      670.00           Billable
               Review revised Celsius joinder and emails with kO, BK,
               and AS re same.

 8/30/22       aglaubach / Review Docs.                                   T        0.2           134.00
 #996614       Asset Analysis and Recovery                                      670.00           Billable
               Review of CMO in connection with service of joinder and
               internal communications with KO, BK, AS, and DP re
               same.

 8/30/22       astolp / Prep Filing/Svc                                   T        0.4           104.00
 #996724       Asset Analysis and Recovery                                      260.00           Billable
               Filed Joinder to Debtors’ Reply to Seal Documents and
               sent courtesy copy to attorneys

 8/30/22       astolp / OC/TC strategy                                    T        0.2            52.00
 #996725       Asset Analysis and Recovery                                      260.00           Billable
               OC w DP re: filing Joinder and discussing service
               procedure

 8/30/22       astolp / OC/TC strategy                                    T        0.1            26.00
 #996726       Asset Analysis and Recovery                                      260.00           Billable
               Corresponding w AG re: filing Joinder and discussing
               service procedure



                                                      Page: 37
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 55 &  Segal LLP
                                                   of 211
                                                                                             12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                               3:41:48 PM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 8/30/22       jborriello / Comm. Client                               T             0.2           162.00
 #996972       Asset Analysis and Recovery                                        810.00           Billable
               Email communications with Steering Committee re revised
               complaint and update memorandum

 8/30/22       jborriello / Inter Off Memo                            T              0.3           243.00
 #996973       Asset Analysis and Recovery                                        810.00           Billable
               Email communications with BK and KO re revised Celsius
               Complaint and memorandum to Steering Committee.

 8/30/22       jborriello / Review Docs.                                    T        0.6           486.00
 #996974       Asset Analysis and Recovery                                        810.00           Billable
               Continued review and revision of draft Celsius Complaint.

 8/30/22       jborriello / Revise Docs.                              T              0.2           162.00
 #996975       Asset Analysis and Recovery                                        810.00           Billable
               Review and revise memo to Steering Committee re update
               memorandum to Steering Committee.

 8/31/22       kortiz / Comm. Others                                        T        0.9           823.50
 #996645       Asset Analysis and Recovery                                        915.00           Billable
               Call with Steering committee ahead of filing the compliant

 8/31/22       kortiz / Review Docs.                                        T        1.0           915.00
 #996663       Asset Analysis and Recovery                                        915.00           Billable
               Final review of complaint before filing and review Debtors
               motion to release certain custody amounts.

 8/31/22       bkotliar / Revise Docs.                                       T       0.8           648.00
 #996676       Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise talking point bullets and case law citations
               for preference title issue for KO for hearing.

 8/31/22       bkotliar / Revise Docs.                                      T        1.2           972.00
 #996677       Asset Analysis and Recovery                                        810.00           Billable
               Review, revise and finalize draft complaint including for
               client comments.




                                                     Page: 38
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 56 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                   Client Billing Report                              3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/31/22       bkotliar / Comm. Client                                    T        0.9           729.00
 #996678       Asset Analysis and Recovery                                      810.00           Billable
               Call with ad hoc client group regarding update and
               complaint.

 8/31/22       bkotliar / Comm. Client                                    T        0.5           405.00
 #996679       Asset Analysis and Recovery                                      810.00           Billable
               Email client group regarding summary of call and next
               steps.


 8/31/22       bkotliar / Comm. Others                                    T        0.6           486.00
 #996680       Asset Analysis and Recovery                                      810.00           Billable
               Calls with W&C and K&E regarding status and filing of
               complaint.

 8/31/22       bkotliar / Comm. Others                                    T        0.3           243.00
 #996681       Asset Analysis and Recovery                                      810.00           Billable
               Call with Troutman regarding Withhold group position and
               next steps.

 8/31/22       bkotliar / Inter Off Memo                                  T        0.4           324.00
 #996682       Asset Analysis and Recovery                                      810.00           Billable
               Coordinate with DP regarding filing and service of
               complaint.


 8/31/22       bkotliar / Revise Docs.                                    T        0.8           648.00
 #996683       Asset Analysis and Recovery                                      810.00           Billable
               Review and comment on draft Celsius motion regarding
               Custody withdrawals.

 8/31/22       astolp / OC/TC strategy                                  T          0.2            52.00
 #996729       Asset Analysis and Recovery                                      260.00           Billable
               OC w DP, JC, MS re: Service of 2019, Joinder, Discussion
               of Complaint to be filed later that day




                                                    Page: 39
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 57 &  Segal LLP
                                                   of 211
                                                                                           12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                    Client Billing Report                             3:41:48 PM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 8/31/22       astolp / OC/TC strategy                                    T        0.3            78.00
 #996734       Asset Analysis and Recovery                                      260.00           Billable
               OC w DP re: service + submission of Joinder + 2019

 8/31/22       astolp / Prep Filing/Svc                                   T        2.1           546.00
 #996735       Asset Analysis and Recovery                                      260.00           Billable
               Compiled service list for email and FCM receipients of
               2019 statement and joinder to debtors’ motion

 8/31/22       astolp / Prep Filing/Svc                               T            1.6           416.00
 #996736       Asset Analysis and Recovery                                      260.00           Billable
               Completed service of email and FCM re: 2019 Motion and
               Joinder to Debtors’ Reply

 8/31/22       astolp / Prep Filing/Svc                                   T        1.1           286.00
 #996739       Asset Analysis and Recovery                                      260.00           Billable
               Drafted AOS re: service of 2019 Motion and Joinder to
               Debtors’ Reply

 8/31/22       jborriello / Inter Off Memo                                T        0.1            81.00
 #997009       Asset Analysis and Recovery                                      810.00           Billable
               Email communications with KO and BK re Steering
               Committee comments to revised draft complaint.

 8/31/22       jborriello / Review Docs.                                  T        0.1            81.00
 #997010       Asset Analysis and Recovery                                      810.00           Billable
               Review draft email to full client group summarizing case
               status and strategy.

 8/31/22       jborriello / Revise Docs.                                  T        0.4           324.00
 #997011       Asset Analysis and Recovery                                      810.00           Billable
               Further revise and revision of draft complaint.

 8/31/22       aglaubach / Inter Off Memo                                 T        0.2           134.00
 #997056       Asset Analysis and Recovery                                      670.00           Billable
               Emails with KO, BK, and AS in connection with service of
               complaint and Judge Glenn rules re same.




                                                     Page: 40
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 58 &  Segal LLP
                                                  of 211
                                                                                            12/7/2023
Cu  todial Ac o t Hol
8/1/2022...8/31/2022                  Client Billing Report                                3:41:48 PM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                            T/E        Rate     Billing Status


 8/31/22       kortiz / Prep. Hearing                                    T       3.2          2,928.00
 #997176       Asset Analysis and Recovery                                    915.00           Billable
               Prepare for upcoming hearing by reviewing case law on
               preferences and property of the estate and mooting
               arguments


                                                                    Total Time:             158,909.50

                                                                   Total Time Bill:         158,909.50
                                                              Total Time Non Bill:
                                                                  Total Costs Bill:
                                                             Total Costs Non Bill:
                                                               Total Non Billable:
                                                                    Total Billable:         158,909.50
                                                                     Grand Total:           158,909.50




                                                  Page: 41
        22-10964-mg    Doc 4188      Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                   Togut, SegalPg 59 &  Segal LLP
                                                     of 211
Celsius Ad Hoc Group of                                                                   12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                      Summary Report                                 9:38:18 AM


ID              Name/Description                                        Slip Hours         Slip Amount

Asset Analysis and Recovery                                                  795.0        586,601.50
                                                  Grand Total:               795.0        586,601.50




                                                     1
        22-10964-mg    Doc 4188      Filed 01/04/24 Entered 01/04/24 15:49:54   Main Document
                                   Togut, SegalPg 60 &  Segal LLP
                                                     of 211
Celsius Ad Hoc Group of                                                                   12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                      Summary Report                                 9:37:16 AM


ID              Name/Description                                        Slip Hours         Slip Amount

astolp          Alexandra Stolp                                               39.1         10,516.00
bkotliar        Bryan Kotliar                                                335.8        285,748.00
bshaughnessy    Brian Shaughnessy                                              0.7            598.50
dperson         Dawn Person                                                    2.1            861.00
eblander        Eitan Blander                                                  9.0          5,310.00
jborriello      Jared Borriello                                              146.2        118,527.00
jcohen          Jonathan Cohen                                                 3.7          1,313.50
jgallego        John Gallego                                                  13.7          4,795.00
jlefkowitz      Jeffrey Lefkowitz                                              3.8            741.00
jmurphy         Joseph Murphy                                                 11.0          3,850.00
kortiz          Kyle Ortiz                                                   124.3        116,099.50
lebrahimi       Leila Ebrahimi                                                95.6         30,592.00
rhoward         Ronald Howard                                                 10.0          7,650.00
                                                  Grand Total:               795.0        586,601.50




                                                     1
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 61 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 9/1/22        astolp / Prep Filing/Svc                                   T        0.5           130.00
 #996848       Asset Analysis and Recovery                                      260.00           Billable
               Completed service of Dkt Nos. 547 and 642 to Chambers

 9/1/22        astolp / Gen. Office                                       T        0.1            26.00
 #996849       Asset Analysis and Recovery                                      260.00           Billable
               Corresponded with VA AG’s office re: clarification of
               correct service email

 9/1/22        astolp / Prep Filing/Svc                                   T        1.9           494.00
 #996850       Asset Analysis and Recovery                                      260.00           Billable
               Continued preparing AOS re: Dkt Nos. 547 and 642

 9/1/22        bkotliar / Comm. Client                                    T        1.2           972.00
 #996861       Asset Analysis and Recovery                                      810.00           Billable
               Emails with client group summarizing K&E withdrawal
               motion and update on hearing.


 9/1/22        bkotliar / Attend Hearing                                  T        2.2       1,782.00
 #996862       Asset Analysis and Recovery                                      810.00        Billable
               Participate in omnibus hearing including presentation on
               K&E withdrawal motion.

 9/1/22        kortiz / Prep. Hearing                                     T        1.1       1,006.50
 #997177       Asset Analysis and Recovery                                      915.00        Billable
               Prep for hearing by reviewing Debtors motion and
               modifying notes on arguments to incorporate the same

 9/1/22        astolp / OC/TC strategy                                    T        0.1            26.00
 #998118       Asset Analysis and Recovery                                      260.00           Billable
               Corresponded with BK re: AOS of Dkt Nos. 547 and 642

 9/1/22        kortiz / Attend Hearing                                    T        1.5       1,372.50
 #1007376      Asset Analysis and Recovery                                      915.00        Billable
               Attend hearing on second day matters




                                                     Page: 1
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 62 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/2/22        kortiz / OC/TC strategy                                     T        0.9           823.50
 #997173       Asset Analysis and Recovery                                       915.00           Billable
               Call with JB and BK on litigation strategy and next steps

 9/2/22        bkotliar / Comm. Client                                     T        0.6           486.00
 #997451       Asset Analysis and Recovery                                       810.00           Billable
               Emails with client group regarding strategy and next steps.

 9/2/22        bkotliar / OC/TC strategy                                T           1.0           810.00
 #997453       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with KO and JB regarding litigation strategy
               and next steps.

 9/2/22        bkotliar / Comm. Others                                     T        0.2           162.00
 #997455       Asset Analysis and Recovery                                       810.00           Billable
               Call with W&C regarding adversary proceeding.


 9/2/22        bkotliar / Comm. Others                                     T        0.1            81.00
 #997456       Asset Analysis and Recovery                                       810.00           Billable
               Email K&E regarding service of summons and complaint.

 9/2/22        astolp / Filing/Service                                     T        0.2            52.00
 #998292       Asset Analysis and Recovery                                       260.00           Billable
               Filed AOS re: Dkt Nos. 547 and 642

 9/2/22        jborriello / OC/TC strategy                                 T        1.0           810.00
 #1000055      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with KO and BK re litigation strategy for
               Withdrawal Asset Motion & Adversary Complaint.

 9/2/22        jborriello / Research                                       T        0.5           405.00
 #1000056      Asset Analysis and Recovery                                       810.00           Billable
               Review and analysis re standard for Committee
               intervention in adversary proceeding; email
               communications with KO and BK re same.




                                                     Page: 2
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 63 &  Segal LLP
                                                   of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                           T/E      Rate     Billing Status


 9/2/22        jborriello / Research                                   T         1.1           891.00
 #1000057      Asset Analysis and Recovery                                    810.00           Billable
               Research and analysis re debtors interest in property
               obtained by fraud.

 9/2/22        kortiz / Comm. Others                                   T         0.2           183.00
 #1007381      Asset Analysis and Recovery                                    915.00           Billable
               Call with S. Hershey re: custodial groups adversary
               complaint

 9/6/22        kortiz / Comm. Client                                   T         1.1       1,006.50
 #997827       Asset Analysis and Recovery                                    915.00        Billable
               Call with Steering Committee to discuss next steps to
               advance case and communications with Debtors

 9/6/22        bkotliar / Comm. Client                                 T         1.1           891.00
 #997966       Asset Analysis and Recovery                                    810.00           Billable
               Call with Steering Committee regarding next steps and
               strategy on motion and complaint.

 9/6/22        bkotliar / Comm. Others                                 T         0.2           162.00
 #997967       Asset Analysis and Recovery                                    810.00           Billable
               Emails with K&E regarding scheduling complaint and
               motion meet and confer.


 9/6/22        jborriello / Comm. Profes.                              T         0.2           162.00
 #1000217      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re non-disclosure
               agreement.

 9/6/22        jborriello / Inter Off Memo                             T         0.1            81.00
 #1000218      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with KO and BK re debtors'
               proposed NDA.

 9/7/22        kortiz / Review Docs.                                   T         0.2           183.00
 #997999       Asset Analysis and Recovery                                    915.00           Billable
               Review Vermont joinder to examiner motion


                                                     Page: 3
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 64 &  Segal LLP
                                                  of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/7/22        bkotliar / Comm. Client                                   T        0.3           243.00
 #998223       Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding case update and next
               steps.

 9/7/22        bkotliar / Comm. Client                                   T        0.5           405.00
 #998225       Asset Analysis and Recovery                                     810.00           Billable
               Emails with Steering Committee regarding withhold group
               stay relief motion and related case updates.


 9/7/22        bkotliar / Revise Docs.                                   T        0.3           243.00
 #998226       Asset Analysis and Recovery                                     810.00           Billable
               Review and comment on JB markup of NDA.


 9/7/22        bkotliar / Comm. Others                                   T        0.2           162.00
 #998227       Asset Analysis and Recovery                                     810.00           Billable
               Emails with K&E team regarding redaction motion and
               scheduling of call regarding complaint.


 9/7/22        jborriello / Review Docs.                                 T        1.3       1,053.00
 #1000262      Asset Analysis and Recovery                                     810.00        Billable
               Review and revise proposed non-disclosure agreement.

 9/7/22        jborriello / Comm. Profes.                                T        0.1            81.00
 #1000263      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with counsel for Debtors re meet-
               and-confer.

 9/7/22        jborriello / Revise Docs.                                 T        1.1           891.00
 #1000264      Asset Analysis and Recovery                                     810.00           Billable
               Further revise proposed confidentiality agreement to
               incorporate comments from BK and KO.




                                                    Page: 4
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 65 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/7/22        jborriello / Review Docs.                                   T        0.4           324.00
 #1000265      Asset Analysis and Recovery                                       810.00           Billable
               Review and analysis of proposed Confidentiality
               Agreement and Stipulated Protective Order filed by
               Debtors at Docket No. 749.

 9/7/22        jborriello / Draft Documents                                T        0.2           162.00
 #1000266      Asset Analysis and Recovery                                       810.00           Billable
               Prepare email to K&E re Ad Hoc Group joining as party to
               proposed Confidentiality Agreement and Stipulated
               Protective Order filed at Docket No. 749.

 9/8/22        bkotliar / Comm. Others                                     T        0.6           486.00
 #998878       Asset Analysis and Recovery                                       810.00           Billable
               Call with Troutman Pepper regarding scheduling motions
               and litigating objections to Celsius withdrawal motion.

 9/8/22        bkotliar / Revise Docs.                                     T        1.6       1,296.00
 #998879       Asset Analysis and Recovery                                       810.00        Billable
               Review and revise Rule 7056-1 summary judgment letter.


 9/8/22        bkotliar / Comm. Others                                     T        0.6           486.00
 #998880       Asset Analysis and Recovery                                       810.00           Billable
               Call with K&E and JB regarding meet and confer on
               complaint, scheduling same and related issues.



 9/8/22        jborriello / Comm. Profes.                                  T        0.2           162.00
 #1000309      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with K&E re proposed
               confidentiality agreement and stipulated protected order.

 9/8/22        jborriello / Revise Docs.                                 T          0.8           648.00
 #1000310      Asset Analysis and Recovery                                       810.00           Billable
               Further revise NDA to incorporate additional comments for
               BK.




                                                     Page: 5
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 66 &  Segal LLP
                                                  of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 9/8/22        jborriello / Prepare Meeting                             T        0.2           162.00
 #1000311      Asset Analysis and Recovery                                    810.00           Billable
               Prepare for zoom conference with K&E re Withdrawal
               Motion, Adversary Complaint, and Withhold Motion.

 9/8/22        jborriello / Attend Meeting                              T        0.4           324.00
 #1000312      Asset Analysis and Recovery                                    810.00           Billable
               Participate in zoom conference with K&E re Withdrawal
               Motion, Adversary Complaint, and Withhold Motion.

 9/8/22        jborriello / Revise Docs.                                T        0.5           405.00
 #1000313      Asset Analysis and Recovery                                    810.00           Billable
               Review and revise Rule 7056-1 pre-motion letter to
               chambers.

 9/8/22        jborriello / Research                                    T        0.7           567.00
 #1000314      Asset Analysis and Recovery                                    810.00           Billable
               Research federal rules and second circuit precedent re
               viability of pre-answer motions to dismiss.

 9/8/22        jborriello / Revise Docs.                                T        0.3           243.00
 #1000315      Asset Analysis and Recovery                                    810.00           Billable
               Review and revise K&E 9-8-22 mark-up of Togut revised
               NDA.

 9/8/22        jborriello / Inter Off Memo                           T           0.2           162.00
 #1000316      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with KO and BK re NDA, Rule 7056
               -1 letter, and litigation strategy.

 9/8/22        jborriello / Review Docs.                                T        0.2           162.00
 #1000317      Asset Analysis and Recovery                                    810.00           Billable
               Review 9/1 hearing transcript re court guidance on
               scheduling of Adversary Complaint PTC and Withdrawal
               Asset Motion.




                                                    Page: 6
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 67 &  Segal LLP
                                                  of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/9/22        bkotliar / Revise Docs.                                   T        1.8       1,458.00
 #999491       Asset Analysis and Recovery                                     810.00        Billable
               Draft and revise stipulated facts for summary judgment
               request.

 9/9/22        bkotliar / Revise Docs.                                    T       1.2           972.00
 #999492       Asset Analysis and Recovery                                     810.00           Billable
               Review and finalize drafts of stipulated facts and summary
               judgment letter request.

 9/9/22        bkotliar / Comm. Client                                   T        1.2           972.00
 #999493       Asset Analysis and Recovery                                     810.00           Billable
               Call with Steering Committee regarding summary
               judgment, scheduling, and case update.

 9/9/22        bkotliar / Comm. Others                                   T        0.7           567.00
 #999494       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with Troutman, K&E and W&C regarding
               scheduling motions and calls.

 9/9/22        bkotliar / Comm. Others                                   T        0.5           405.00
 #999495       Asset Analysis and Recovery                                     810.00           Billable
               Emails with K&E and W&C regarding summary judgment
               request and stipulated facts.

 9/9/22        bkotliar / Inter Off Memo                                 T        0.4           324.00
 #999496       Asset Analysis and Recovery                                     810.00           Billable
               Communicate with KO and JB regarding comments on
               summary judgment letter and stipulated facts.

 9/9/22        jborriello / Review Docs.                                 T        0.9           729.00
 #1000443      Asset Analysis and Recovery                                     810.00           Billable
               Review and analysis of Rule 7056-1 letter and draft
               statements of fact.

 9/9/22        jborriello / Inter Off Memo                               T        0.1            81.00
 #1000444      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with KO and BK re strategy, Rule
               7056-1 Letter, and draft statement of facts.


                                                    Page: 7
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 68 &  Segal LLP
                                                   of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/9/22        jborriello / OC/TC strategy                                  T        0.1            81.00
 #1000445      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with BK re Rule 7056-1 Letter and litigation
               strategy.

 9/10/22       jborriello / Research                                       T         1.1           891.00
 #1000459      Asset Analysis and Recovery                                        810.00           Billable
               Research case law re whether property obtained by Debtor
               through fraud is property of the estate pursuant to section
               541 of the Bankruptcy Code.

 9/10/22       jborriello / Inter Off Memo                                  T        0.3           243.00
 #1000460      Asset Analysis and Recovery                                        810.00           Billable
               Interoffice memo to KO and BK re administrative claim for
               conversion and interest.

 9/10/22       jborriello / Inter Off Memo                                  T        0.1            81.00
 #1000461      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re property
               obtained by Debtor through fraud.

 9/10/22       jborriello / Research                                     T           0.6           486.00
 #1000462      Asset Analysis and Recovery                                        810.00           Billable
               Research and analysis re contract interpretation under NY
               law.

 9/10/22       jborriello / Draft Documents                                  T       0.3           243.00
 #1000463      Asset Analysis and Recovery                                        810.00           Billable
               Draft portion of 7056-1 letter re contract interpretation and
               extrinsic evidence.

 9/11/22       jborriello / Review Docs.                                    T        0.1            81.00
 #1000472      Asset Analysis and Recovery                                        810.00           Billable
               Review revised NDA.

 9/11/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1000474      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with K&E re NDA.



                                                      Page: 8
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 69 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/12/22       bkotliar / Comm. Others                                     T        0.5           405.00
 #999592       Asset Analysis and Recovery                                       810.00           Billable
               Call with WC regarding scheduling motions for custody
               withdrawals.

 9/12/22       bkotliar / Comm. Others                                     T        0.2           162.00
 #999593       Asset Analysis and Recovery                                       810.00           Billable
               Follow up with K&E regarding scheduling motions for
               custody withdrawals.


 9/12/22       kortiz / Comm. Others                                       T        0.6           549.00
 #999599       Asset Analysis and Recovery                                       915.00           Billable
               Call with Kirkland re: scheduling of adversary and motion
               on custody issues and letter we plan to send to Judge in
               the morning; and follow up call with BK

 9/12/22       kortiz / Review Docs.                                       T        0.2           183.00
 #999600       Asset Analysis and Recovery                                       915.00           Billable
               Review agreed examiner order in connection with
               upcoming hearing on same

 9/12/22       bkotliar / Comm. Others                                     T        0.4           324.00
 #999737       Asset Analysis and Recovery                                       810.00           Billable
               Call with K&E and KO regarding scheduling pending
               motions and complaint/summary judgment.

 9/12/22       bkotliar / OC/TC strategy                                   T        0.2           162.00
 #999739       Asset Analysis and Recovery                                       810.00           Billable
               Communicate with KO regarding scheduling dispute and
               next steps.

 9/12/22       bkotliar / Comm. Client                                     T        0.6           486.00
 #999740       Asset Analysis and Recovery                                       810.00           Billable
               Email client group regarding update and next steps.




                                                     Page: 9
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 70 &  Segal LLP
                                                   of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 9/12/22       bkotliar / Revise Docs.                                   T       1.0           810.00
 #999741       Asset Analysis and Recovery                                    810.00           Billable
               Draft and revise transmission email to chambers regarding
               scheduling dispute and summary judgment letter.

 9/12/22       bkotliar / Comm. Others                                  T        0.3           243.00
 #999743       Asset Analysis and Recovery                                    810.00           Billable
               Emails with K&E, W&C and UST regarding scheduling
               dispute and next steps.

 9/12/22       bkotliar / Comm. Others                                  T        0.3           243.00
 #999745       Asset Analysis and Recovery                                    810.00           Billable
               Call with Troutman regarding scheduling dispute.

 9/12/22       jborriello / Comm. Profes.                               T        0.1            81.00
 #1000475      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re NDA.

 9/12/22       jborriello / Comm. Profes.                               T        0.1            81.00
 #1000977      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re meet-and-confer.

 9/12/22       jborriello / Inter Off Memo                              T        0.1            81.00
 #1000978      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with BK re revised NDA.

 9/13/22       bkotliar / Comm. Others                                T          0.4           324.00
 #1000085      Asset Analysis and Recovery                                    810.00           Billable
               Calls with K&E and W&C regarding scheduling dispute on
               pending motions and summary judgment.

 9/13/22       bkotliar / Comm. Client                                  T        1.0           810.00
 #1000086      Asset Analysis and Recovery                                    810.00           Billable
               Client update call.

 9/13/22       bkotliar / Comm. Client                                  T        0.5           405.00
 #1000087      Asset Analysis and Recovery                                    810.00           Billable
               Email client group summary of client update call.


                                                    Page: 10
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 71 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 9/13/22       bkotliar / Comm. Client                                    T        0.4           324.00
 #1000088      Asset Analysis and Recovery                                      810.00           Billable
               Emails with Steering Committee regarding scheduling
               dispute.

 9/13/22       bkotliar / Comm. Others                                    T        0.4           324.00
 #1000089      Asset Analysis and Recovery                                      810.00           Billable
               Draft and revise email correspondence to chambers
               transmitting Rule 7056-1 letter and scheduling dispute
               issues.

 9/13/22       bkotliar / Comm. Others                                    T        0.2           162.00
 #1000090      Asset Analysis and Recovery                                      810.00           Billable
               Call Chambers to explain letter and email.

 9/13/22       jborriello / Review Docs.                                  T        0.2           162.00
 #1000478      Asset Analysis and Recovery                                      810.00           Billable
               Review revise Rule 7056-1 Letter and cover letter to
               chambers re request for pre-motion conference.

 9/13/22       jborriello / OC/TC strategy                              T          0.2           162.00
 #1000479      Asset Analysis and Recovery                                      810.00           Billable
               Telephone conference with KO re status of discussions
               with counsel for Debtors and Committee re Custody Wallet
               adversary proceeding and Limited Withdrawal Motion.

 9/13/22       jborriello / Comm. Profes.                                 T        0.1            81.00
 #1000480      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with K&E re status of NDA.

 9/13/22       jborriello / Research                                       T       1.4       1,134.00
 #1000481      Asset Analysis and Recovery                                      810.00        Billable
               Research case law re whether property obtained by fraud
               it property of the Debtors or the estates, and whether such
               property is subject to recovery via preference.

 9/14/22       kortiz / Prep. Hearing                                     T        3.1       2,836.50
 #1000112      Asset Analysis and Recovery                                      915.00        Billable
               Prepare for hearing on examiner and scheduling


                                                    Page: 11
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 72 &  Segal LLP
                                                   of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                            9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/14/22       kortiz / Attend Hearing                                   T        2.4       2,196.00
 #1000113      Asset Analysis and Recovery                                     915.00        Billable
               Attend hearing on examiner, retention, and custody
               dispute scheduling

 9/14/22       kortiz / Comm. Others                                     T        1.0           915.00
 #1000195      Asset Analysis and Recovery                                     915.00           Billable
               Call with Troutman Pepper from Ad Hoc withhold group
               and BK on go forward coordination on scheduling and
               legal arguments

 9/14/22       astolp / Prepare Meeting                                  T        0.1            26.00
 #1000277      Asset Analysis and Recovery                                     260.00           Billable
               Register JB for listen line for Celsius hearing 9/14/22

 9/14/22       bkotliar / Comm. Others                                   T        1.0           810.00
 #1000336      Asset Analysis and Recovery                                     810.00           Billable
               Call with Troutman following hearing regarding scheduling
               and next steps.


 9/14/22       bkotliar / OC/TC strategy                                 T        0.8           648.00
 #1000337      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with KO and JB regarding open research
               questions on complaint procedure and related scheduling
               issues.

 9/14/22       bkotliar / Comm. Others                                   T        0.7           567.00
 #1000338      Asset Analysis and Recovery                                     810.00           Billable
               Call with K&E and W&C regarding scheduling proposals
               prior to hearing.

 9/14/22       bkotliar / Attend Hearing                                 T        2.4       1,944.00
 #1000339      Asset Analysis and Recovery                                     810.00        Billable
               Participate in hearing regarding scheduling dispute and
               omnibus hearing.




                                                      Page: 12
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 73 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 9/14/22       bkotliar / Comm. Client                                   T         0.6           486.00
 #1000340      Asset Analysis and Recovery                                      810.00           Billable
               Emails with client group and steering committee regarding
               hearing summary and next steps.

 9/14/22       bkotliar / Comm. Client                                    T        0.2           162.00
 #1000341      Asset Analysis and Recovery                                      810.00           Billable
               Calls and emails with clients following hearing.

 9/14/22       jborriello / Comm. Profes.                                 T        0.2           162.00
 #1000999      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with Committee counsel re NDA
               and status of information requests.

 9/14/22       jborriello / Inter Off Memo                                T        0.3           243.00
 #1001001      Asset Analysis and Recovery                                      810.00           Billable
               Interoffice memo to LH re preparation of Joinders to NDA
               for each of the Steering Committee members.

 9/14/22       jborriello / Inter Off Memo                                T        0.4           324.00
 #1001003      Asset Analysis and Recovery                                      810.00           Billable
               Prepare interoffice memo to BK and KO re pre-answer
               motions to dismiss for 9/14 hearing.

 9/14/22       jborriello / Inter Off Memo                                T        0.1            81.00
 #1001004      Asset Analysis and Recovery                                      810.00           Billable
               Interoffice memo to KO re execution of NDA.

 9/14/22       jborriello / Inter Off Memo                                T        0.2           162.00
 #1001005      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK and KO re NDA and
               joinders for Steering Committee.

 9/14/22       jborriello / Research                                      T        1.1           891.00
 #1001007      Asset Analysis and Recovery                                      810.00           Billable
               Research case law re pre-answer motion for summary
               judgment and timing issues.




                                                     Page: 13
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 74 &  Segal LLP
                                                   of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/14/22       jborriello / Review Docs.                                    T        0.2           162.00
 #1001008      Asset Analysis and Recovery                                        810.00           Billable
               Review further revised NDA circulated by K&E.

 9/14/22       jmurphy / Correspondence                              T               0.1            35.00
 #1001679      Asset Analysis and Recovery                                        350.00           Billable
               Correspondence with TSS Team RE research related to a
               Debtor's conversion of non-estate property.

 9/14/22       jmurphy / Research                                           T        0.9           315.00
 #1005052      Asset Analysis and Recovery                                        350.00           Billable
               Research to determine the claims that a third-party can
               bring against a debtor when a debtor refuses to turnover
               non-estate property.

 9/14/22       jmurphy / Review Docs.                                       T        0.8           280.00
 #1005053      Asset Analysis and Recovery                                        350.00           Billable
               Analyze and summarize adversary complaints re: third
               party property disputes.

 9/14/22       jmurphy / Research                                           T        1.9           665.00
 #1005054      Asset Analysis and Recovery                                        350.00           Billable
               Research re: priority of breach of contract and conversion
               claims.

 9/14/22       jborriello / Research                                        T        0.6           486.00
 #1006850      Asset Analysis and Recovery                                        810.00           Billable
               Research standing issues re ad hoc groups and proper
               plaintiff for adversary proceeding under FRCP and
               Bankruptcy Rules.

 9/15/22       bkotliar / Comm. Client                                  T            0.8           648.00
 #1000587      Asset Analysis and Recovery                                        810.00           Billable
               Call with Steering Committee regarding scheduling issues
               following hearing.




                                                    Page: 14
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 75 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/15/22       bkotliar / Comm. Others                                     T        0.6           486.00
 #1000588      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with Ad Hoc Withhold Group regarding
               scheduling proposal.

 9/15/22       bkotliar / Comm. Others                                     T        0.2           162.00
 #1000591      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Debtors, Ad Hoc Withhold Group, and UCC
               regarding scheduling proposal.

 9/15/22       bkotliar / Revise Docs.                                      T       0.6           486.00
 #1000592      Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise multiple iterations of scheduling proposal.

 9/15/22       bkotliar / Revise Docs.                                     T        0.3           243.00
 #1000593      Asset Analysis and Recovery                                       810.00           Billable
               Review and comment on complaint standing issue.

 9/15/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1000594      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee member regarding
               potential settlement proposals.


 9/15/22       jborriello / Attend Meeting                               T          1.0           810.00
 #1001116      Asset Analysis and Recovery                                       810.00           Billable
               Participate in zoom conference with Steering Committee re
               status of chapter 11 cases and strategy.

 9/15/22       jborriello / Comm. Profes.                                  T        0.1            81.00
 #1001117      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with K&E re NDA.

 9/15/22       jborriello / Inter Off Memo                                 T        0.6           486.00
 #1001118      Asset Analysis and Recovery                                       810.00           Billable
               Interoffice memo to KO and BK re standing of ad hoc
               group to file adversary proceeding on behalf of its
               members.



                                                    Page: 15
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 76 &  Segal LLP
                                                   of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/15/22       jborriello / OC/TC strategy                             T             0.2           162.00
 #1001119      Asset Analysis and Recovery                                        810.00           Billable
               Telephone conference with BK to discuss proposed
               briefing and litigation scheduled related to Limited
               Withdrawal Motion, adversary proceeding, and preference
               issues.

 9/15/22       jborriello / Research                                        T        1.7       1,377.00
 #1001120      Asset Analysis and Recovery                                        810.00        Billable
               Research and analysis re legal authority for ad hoc group
               to file adversary proceeding on behalf its members.

 9/15/22       jborriello / Review Docs.                                 T           0.1            81.00
 #1001121      Asset Analysis and Recovery                                        810.00           Billable
               Review proposed briefing and litigation schedule prepared
               by BK.

 9/15/22       jborriello / Review Docs.                                    T        0.1            81.00
 #1001122      Asset Analysis and Recovery                                        810.00           Billable
               Review and analysis of UCC proposed stipulation for
               intervention as party-in-interest in adversary proceeding.

 9/15/22       jborriello / Revise Docs.                                    T        0.3           243.00
 #1001123      Asset Analysis and Recovery                                        810.00           Billable
               Review and revised scheduling proposal to Debtors and
               UCC.

 9/15/22       jmurphy / Research                                           T        1.1           385.00
 #1005520      Asset Analysis and Recovery                                        350.00           Billable
               Research choice of law regarding breach of contract/tort
               claims

 9/15/22       jmurphy / Inter Off Memo                                     T        1.6           560.00
 #1005521      Asset Analysis and Recovery                                        350.00           Billable
               Draft memo summarizing postpetition claims research




                                                     Page: 16
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 77 &  Segal LLP
                                                   of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                            9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/15/22       jmurphy / Review Docs.                                     T       0.6           210.00
 #1005522      Asset Analysis and Recovery                                     350.00           Billable
               Continue reviewing pleadings in connection with
               determining what choice of law governs postpetition claims
               against a debtor for conversion of non-estate property.

 9/16/22       bkotliar / Comm. Others                                   T        0.6           486.00
 #1000710      Asset Analysis and Recovery                                     810.00           Billable
               Emails with Troutman, K&E and WC regarding stipulation
               for adversary proceeding and proposed scheduling and
               meet and confer.

 9/16/22       bkotliar / Revise Docs.                                   T        0.7           567.00
 #1000711      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise draft stipulated facts including for
               Troutman markup.

 9/16/22       bkotliar / Inter Off Memo                                 T        0.3           243.00
 #1000713      Asset Analysis and Recovery                                     810.00           Billable
               Emails with JB regarding NDA and related issues.

 9/16/22       bkotliar / Comm. Client                                   T        0.6           486.00
 #1000714      Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding case update, schedules
               and statements, and process for litigation.

 9/16/22       jborriello / Comm. Client                            T             0.4           324.00
 #1001320      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with Steerco and Members re NDA
               and execution of Joinders.

 9/16/22       jborriello / Comm. Client                                 T        0.1            81.00
 #1001322      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with R. Butryn re Joinder to NDA.

 9/16/22       jborriello / Comm. Client                                T         0.1            81.00
 #1001323      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with P. Juiris re NDA/material non-
               public information.


                                                     Page: 17
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 78 &  Segal LLP
                                                    of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                     Client Billing Report                           9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/16/22       jborriello / Comm. Profes.                                T        0.2           162.00
 #1001325      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with K&E and Troutman re
               scheduling order and stipulation to intervene.

 9/16/22       jborriello / Review Docs.                                 T        0.2           162.00
 #1001327      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise Joinders for Steering Committee
               Members.

 9/16/22       jborriello / Inter Off Memo                               T        0.2           162.00
 #1001329      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with KO and BK re proposed
               stipulation and stipulated facts.

 9/16/22       jborriello / Review Docs.                                 T        0.9           729.00
 #1001330      Asset Analysis and Recovery                                     810.00           Billable
               Review and analysis of JM research memorandum re
               conversion and admin expense claims

 9/16/22       jborriello / Revise Docs.                                 T        0.9           729.00
 #1001332      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise proposed joint statement of facts.

 9/16/22       jborriello / Revise Docs.                                 T        0.3           243.00
 #1001333      Asset Analysis and Recovery                                     810.00           Billable
               Further revision of draft stipulated facts.

 9/16/22       jborriello / Revise Docs.                                 T        0.2           162.00
 #1001334      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise proposed stipulation and agreed order
               re intervention.

 9/16/22       jmurphy / OC/TC strategy                                  T        0.1            35.00
 #1001684      Asset Analysis and Recovery                                     350.00           Billable
               TC with JG RE research related to claims for a debtor's
               conversion of non-estate property.




                                                       Page: 18
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 79 &  Segal LLP
                                                  of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 9/16/22       jgallego / OC/TC strategy                                T        0.1            35.00
 #1002886      Asset Analysis and Recovery                                    350.00           Billable
               TC JM re complaint research

 9/16/22       jgallego / Review Docs.                                  T        1.0           350.00
 #1002896      Asset Analysis and Recovery                                    350.00           Billable
               Review JM postpetition claims research memo

 9/16/22       jmurphy / Inter Off Memo                                 T        0.9           315.00
 #1005533      Asset Analysis and Recovery                                    350.00           Billable
               Continue drafting and revising memo summarizing claims
               for postpetition breach of contract and tort claims.

 9/16/22       jmurphy / Research                                       T        1.3           455.00
 #1005534      Asset Analysis and Recovery                                    350.00           Billable
               Continue research re choice of law.

 9/16/22       jmurphy / Inter Off Memo                                 T        1.0           350.00
 #1005535      Asset Analysis and Recovery                                    350.00           Billable
               Review and summarize adversary proceedings regarding
               damages theories for postpetition claims.

 9/17/22       jborriello / Comm. Profes.                             T          0.2           162.00
 #1001369      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with Steerco members re execution
               of NDA.

 9/17/22       jborriello / Comm. Profes.                               T        0.1            81.00
 #1002277      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with Troutman Pepper re revised
               statement of facts.

 9/18/22       kortiz / Review Docs.                                  T          0.5           457.50
 #1000735      Asset Analysis and Recovery                                    915.00           Billable
               Review Committee discovery requests and emails with BK
               and JB.




                                                     Page: 19
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 80 &  Segal LLP
                                                   of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                           T/E      Rate     Billing Status


 9/18/22       bkotliar / Comm. Others                                 T         0.5           405.00
 #1000874      Asset Analysis and Recovery                                    810.00           Billable
               Communicate with W&C, KO and JB regarding UCC
               diligence requests and scheduling issues.


 9/18/22       jborriello / Comm. Profes.                              T         0.2           162.00
 #1002278      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E and counsel for
               Committee re UCC discovery requests.

 9/19/22       bkotliar / Revise Docs.                                 T         1.0           810.00
 #1000887      Asset Analysis and Recovery                                    810.00           Billable
               Continue to draft and revise objection to Debtors’
               withdrawal motion.

 9/19/22       bkotliar / Comm. Others                                 T         0.4           324.00
 #1000888      Asset Analysis and Recovery                                    810.00           Billable
               Communicate with K&E regarding scheduling proposal.

 9/19/22       jborriello / Attend Meeting                             T         0.7           567.00
 #1002281      Asset Analysis and Recovery                                    810.00           Billable
               Participate in meeting with BK and KO re UCC document
               requests.

 9/19/22       jborriello / Comm. Client                               T         0.2           162.00
 #1002282      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with SteerCo members re
               outstanding NDA Joinders.

 9/19/22       jborriello / Comm. Client                               T         0.1            81.00
 #1002283      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with D. Dugger (SteerCo member)
               re NDA Joinder.

 9/19/22       jborriello / Comm. Profes.                               T        0.1            81.00
 #1002284      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re scheduling stipulation.



                                                     Page: 20
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 81 &  Segal LLP
                                                   of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/19/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1002285      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with W&C re UCC informal
               discovery requests.

 9/19/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1002286      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with W&C re meet-and-confer re
               informal document requests.

 9/19/22       jborriello / Prepare Meeting                                 T        0.2           162.00
 #1002287      Asset Analysis and Recovery                                        810.00           Billable
               Prepare for meeting with BK and KO re UCC document
               requests.

 9/20/22       bkotliar / Comm. Others                                T              0.7           567.00
 #1001243      Asset Analysis and Recovery                                        810.00           Billable
               Emails with K&E, W&C and TP regarding scheduling meet
               and confer on scheduling proposal and counter proposal
               and review same.

 9/20/22       bkotliar / Comm. Others                                      T        0.5           405.00
 #1001244      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with S. Hershey and JB regarding UCC
               diligence requests and related issues.

 9/20/22       bkotliar / Comm. Client                                      T        0.4           324.00
 #1001245      Asset Analysis and Recovery                                        810.00           Billable
               Email Steering Committee update on scheduling
               negotiations and next steps.

 9/20/22       bkotliar / Inter Off Memo                                    T        0.5           405.00
 #1001246      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with LE regarding Celsius research.

 9/20/22       bkotliar / Revise Docs.                                      T        3.2       2,592.00
 #1001247      Asset Analysis and Recovery                                        810.00        Billable
               Continue to draft and revise objection for factual section
               and property of estate / ownership issues.


                                                     Page: 21
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 82 &  Segal LLP
                                                  of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                                9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/20/22       bkotliar / Revise Docs.                                     T        1.5       1,215.00
 #1001248      Asset Analysis and Recovery                                       810.00        Billable
               Continue to draft and revise objection with respect to
               preference holdback issue and related case law review.

 9/20/22       bkotliar / Revise Docs.                                     T        1.8       1,458.00
 #1001250      Asset Analysis and Recovery                                       810.00        Billable
               Continue to research draft and revise preference property
               of the estate arguments.

 9/20/22       lebrahimi / OC/TC strategy                                  T        0.4           128.00
 #1001481      Asset Analysis and Recovery                                       320.00           Billable
               Meet with BK re research assignment re clawback issues
               related to non-estate property.

 9/20/22       jborriello / Attend Meeting                              T           0.4           324.00
 #1002324      Asset Analysis and Recovery                                       810.00           Billable
               Participate in zoom conference with White & Case and BK
               re meet-and-confer on UCC's first request for documents.

 9/20/22       jborriello / Comm. Profes.                                  T        0.1            81.00
 #1002325      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with counsel for Debtors and UCC
               re meet-and-confer on Custody ownership dispute

 9/20/22       jborriello / OC/TC strategy                                 T        0.1            81.00
 #1002326      Asset Analysis and Recovery                                       810.00           Billable
               Conference with BK re strategy for objection and
               adversary proceeding.

 9/20/22       jborriello / Prepare Meeting                            T            0.5           405.00
 #1002327      Asset Analysis and Recovery                                       810.00           Billable
               Prepare for zoom conference with White & Case and BK re
               meet-and-confer on UCC's first request for documents.

 9/20/22       jborriello / Review Docs.                                   T        0.2           162.00
 #1002328      Asset Analysis and Recovery                                       810.00           Billable
               Review and analysis of Debtors proposed revised
               scheduling order re ownership disputes.


                                                    Page: 22
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 83 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/21/22       bkotliar / Comm. Others                                     T        0.8           648.00
 #1001519      Asset Analysis and Recovery                                       810.00           Billable
               Participate in meet and confer regarding proposed
               schedule.

 9/21/22       bkotliar / Comm. Others                                     T        0.5           405.00
 #1001523      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with Troutman regarding scheduling
               proposal and related issues.

 9/21/22       bkotliar / Revise Docs.                                     T        0.3           243.00
 #1001524      Asset Analysis and Recovery                                       810.00           Billable
               Review and revise scheduling proposal per meet and
               confer.

 9/21/22       bkotliar / Comm. Others                                     T        0.2           162.00
 #1001526      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with S. Hershey regarding diligence
               requests.

 9/21/22       bkotliar / Comm. Client                                     T        0.2           162.00
 #1001527      Asset Analysis and Recovery                                       810.00           Billable
               Emails with D. Little regarding diligence information and
               group.

 9/21/22       bkotliar / Comm. Client                                     T        1.0           810.00
 #1001528      Asset Analysis and Recovery                                       810.00           Billable
               Call with client group regarding case update.

 9/21/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1001529      Asset Analysis and Recovery                                       810.00           Billable
               Follow up email with client group regarding case update.

 9/21/22       bkotliar / Comm. Client                                     T        0.3           243.00
 #1001530      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding update on
               scheduling negotiations.




                                                     Page: 23
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 84 &  Segal LLP
                                                   of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 9/21/22       bkotliar / Revise Docs.                                  T        1.7       1,377.00
 #1001531      Asset Analysis and Recovery                                    810.00        Billable
               Continue to review and revise objection.


 9/21/22       bkotliar / OC/TC strategy                                T        0.5           405.00
 #1001532      Asset Analysis and Recovery                                    810.00           Billable
               Communicate with KO and JB regarding finalizing
               objection and related research issues.

 9/21/22       jborriello / Attend Meeting                              T        0.8           648.00
 #1002377      Asset Analysis and Recovery                                    810.00           Billable
               Participate in meet-and-confer with UCC and Debtors re
               scheduling order.

 9/21/22       jborriello / Attend Meeting                              T        1.0           810.00
 #1002378      Asset Analysis and Recovery                                    810.00           Billable
               Participate in call with Ad Hoc Group re case status.

 9/21/22       jborriello / OC/TC strategy                              T        0.2           162.00
 #1002379      Asset Analysis and Recovery                                    810.00           Billable
               Conference with BK re draft objection to Limited
               Withdrawal Motion.

 9/21/22       jborriello / Prepare Meeting                             T        0.2           162.00
 #1002380      Asset Analysis and Recovery                                    810.00           Billable
               Prepare for meet-and-confer with UCC and Debtors re
               scheduling order.

 9/21/22       jborriello / Review Docs.                                T        0.2           162.00
 #1002381      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis of Celsius CSV filed provided by
               David Little.

 9/21/22       jborriello / Review Docs.                                T        0.5           405.00
 #1002383      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis of draft objection to Limited
               Withdrawal Motion.



                                                     Page: 24
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 85 &  Segal LLP
                                                   of 211
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 9/21/22       jborriello / Review Docs.                                  T       0.3           243.00
 #1002459      Asset Analysis and Recovery                                     810.00           Billable
               Review and further revise proposed scheduling stipulation.

 9/21/22       jborriello / Revise Docs.                                 T        1.6       1,296.00
 #1002460      Asset Analysis and Recovery                                     810.00        Billable
               Review and revise draft Objection to limited withdrawal
               motion.

 9/22/22       kortiz / Review Docs.                                     T        0.4           366.00
 #1001702      Asset Analysis and Recovery                                     915.00           Billable
               Review and comment on objection to withdrawal motion

 9/22/22       bkotliar / Revise Docs.                                   T        1.8       1,458.00
 #1002105      Asset Analysis and Recovery                                     810.00        Billable
               Review and revise objection and opening brief.

 9/22/22       bkotliar / Comm. Others                                   T        0.7           567.00
 #1002106      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with K&E and Troutman Pepper regarding
               revised scheduling proposal and related negotiations.

 9/22/22       jborriello / Inter Off Memo                             T          0.3           243.00
 #1002487      Asset Analysis and Recovery                                     810.00           Billable
               Interoffice memo to KO and BK re Miami Metals decisions
               and NY UCC.

 9/22/22       jborriello / Research                                   T          0.6           486.00
 #1002488      Asset Analysis and Recovery                                     810.00           Billable
               Research and analysis re relevance of course of dealing
               under general contract law in New York and the New York
               UCC.

 9/22/22       jborriello / Research                                     T        0.7           567.00
 #1002489      Asset Analysis and Recovery                                     810.00           Billable
               Research legal authority re constitutional due process.




                                                    Page: 25
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 86 &  Segal LLP
                                                   of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/22/22       jborriello / Review Docs.                                    T        0.4           324.00
 #1002490      Asset Analysis and Recovery                                        810.00           Billable
               Review and analysis re Committee letter concerning
               scheduling stipulation, disputed issues of law and fact.

 9/22/22       jborriello / Revise Docs.                                    T        1.5       1,215.00
 #1002491      Asset Analysis and Recovery                                        810.00        Billable
               Further review and revise draft Objection to limited
               withdrawal motion.

 9/22/22       jgallego / Inter Off Memo                                   T         0.4           140.00
 #1002889      Asset Analysis and Recovery                                        350.00           Billable
               Emails BK re limited objection to Debtors’ motion to return
               custody assets

 9/22/22       jgallego / Revise Docs.                                      T        1.0           350.00
 #1002891      Asset Analysis and Recovery                                        350.00           Billable
               Review and revise limited objection to Debtors’ motion to
               return custody assets

 9/22/22       jgallego / Review Docs.                                      T        0.4           140.00
 #1002892      Asset Analysis and Recovery                                        350.00           Billable
               Review cease and desist orders by state securities
               regulators in conn w/ revisions to limited objection

 9/22/22       jgallego / Research                                          T        0.6           210.00
 #1002893      Asset Analysis and Recovery                                        350.00           Billable
               Research California cease and desist order history by in
               conn w/ revisions to limited objection

 9/22/22       kortiz / Review Docs.                                        T        0.3           274.50
 #1004254      Asset Analysis and Recovery                                        915.00           Billable
               Review UCC scheduling proposal and e-mails with JB re:
               same.

 9/22/22       kortiz / Review Docs.                                        T        1.1       1,006.50
 #1004268      Asset Analysis and Recovery                                        915.00        Billable
               Review current draft of preliminary breif and objection to
               debtors motion


                                                     Page: 26
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 87 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                              9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/23/22       bkotliar / Comm. Others                                     T        0.9           729.00
 #1002112      Asset Analysis and Recovery                                       810.00           Billable
               Calls and emails with K&E and Troutman to finalize
               scheduling negotiations and discuss UCC proposal.

 9/23/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1002113      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding update on
               scheduling negotiations.

 9/23/22       jborriello / Comm. Profes.                                  T        0.1            81.00
 #1002522      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with counsel for Committee and
               Debtors re meet-and-confer on scheduling stipulation.

 9/23/22       jborriello / Inter Off Memo                                 T        0.1            81.00
 #1002523      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re response to
               Committee email re scheduling stipulation.

 9/23/22       jborriello / Revise Docs.                                   T        0.6           486.00
 #1002524      Asset Analysis and Recovery                                       810.00           Billable
               Further review and revise draft objection to limited
               withdrawal motion.

 9/24/22       jborriello / Comm. Client                                    T       0.2           162.00
 #1002556      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with SteerCo re scheduling
               stipulation negotiations and objection to limited withdrawal
               motion.

 9/24/22       jborriello / Inter Off Memo                                 T        0.2           162.00
 #1002558      Asset Analysis and Recovery                                       810.00           Billable
               Email communication with BK re property of the estate
               case law.




                                                     Page: 27
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 88 &  Segal LLP
                                                   of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/24/22       jborriello / Research                                       T        0.9           729.00
 #1002559      Asset Analysis and Recovery                                       810.00           Billable
               Research and analysis re preference actions as property
               of the estate case law.

 9/24/22       jborriello / Revise Docs.                                   T        0.6           486.00
 #1002560      Asset Analysis and Recovery                                       810.00           Billable
               Further review and revise objection to limited withdrawal
               motion.

 9/26/22       lebrahimi / Research                                        T        2.5           800.00
 #1002382      Asset Analysis and Recovery                                       320.00           Billable
               Research case law re whether debtor can hold property it
               does not own because it is subject to a potential claw back
               motion

 9/26/22       jborriello / Comm. Client                                   T        0.2           162.00
 #1002563      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with A. Saenz re execution of
               Joinder to NDA.

 9/26/22       jborriello / Comm. Client                                T           0.1            81.00
 #1002564      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with outside counsel for Blockchain
               Momentum re execution of Joinder to NDA.

 9/26/22       jborriello / Inter Off Memo                                 T        0.2           162.00
 #1002565      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re status of
               joinders to NDA.

 9/26/22       jborriello / Draft Documents                                T        0.2           162.00
 #1002566      Asset Analysis and Recovery                                       810.00           Billable
               Prepare Blockchian Momentum LP joinder to NDA.

 9/27/22       bkotliar / Comm. Client                                     T        0.4           324.00
 #1002440      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding update eon
               scheduling dispute and timing.


                                                     Page: 28
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 89 &  Segal LLP
                                                  of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                                9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 9/27/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1002441      Asset Analysis and Recovery                                       810.00           Billable
               Emails with client group regarding update on scheduling
               dispute and timing.

 9/27/22       jborriello / Comm. Client                               T            0.1            81.00
 #1002591      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with A. Saenze re executed Joinder
               to NDA.

 9/27/22       jborriello / Review Docs.                                  T         0.2           162.00
 #1002592      Asset Analysis and Recovery                                       810.00           Billable
               Review draft letter to chambers re scheduling dispute with
               Committee.

 9/27/22       kortiz / Review Docs.                                       T        0.4           366.00
 #1004049      Asset Analysis and Recovery                                       915.00           Billable
               Review letter to Court on scheduling

 9/28/22       bkotliar / Comm. Others                                     T        0.2           162.00
 #1003840      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Troutman Pepper, K&E and JB regarding
               comments on scheduling dispute letter.

 9/28/22       bkotliar / Revise Docs.                                     T        0.5           405.00
 #1003842      Asset Analysis and Recovery                                       810.00           Billable
               Review and comment on draft scheduling dispute letter
               from K&E.

 9/28/22       jborriello / Comm. Profes.                                  T        0.2           162.00
 #1004307      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with counsel for Debtors and
               Committee re extension of time to file letters.

 9/28/22       jborriello / Inter Off Memo                                 T        0.1            81.00
 #1004308      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re draft joint letter
               to chambers re schedule.



                                                      Page: 29
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 90 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 9/28/22       jborriello / Inter Off Memo                                T        0.2           162.00
 #1004309      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK re proposed revisions to
               joint letter to chambers re scheduling.

 9/28/22       jborriello / Review Docs.                              T            0.2           162.00
 #1004310      Asset Analysis and Recovery                                      810.00           Billable
               Review and analysis of Troutman Sanders proposed edits
               to joint letter to chambers re scheduling and email
               communications with KO and BK re same.

 9/28/22       jborriello / Revise Docs.                                  T        1.1           891.00
 #1004312      Asset Analysis and Recovery                                      810.00           Billable
               Review and revise draft joint letter to chambers re
               schedule.

 9/29/22       bkotliar / Comm. Client                                    T        0.5           405.00
 #1003962      Asset Analysis and Recovery                                      810.00           Billable
               Emails with client group regarding case update and related
               items.

 9/29/22       bkotliar / Comm. Others                                    T        0.7           567.00
 #1003963      Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E and W&C regarding scheduling
               negotiations and correspondence to Court on scheduling
               issues.

 9/29/22       kortiz / Comm. Others                                      T        0.3           274.50
 #1004041      Asset Analysis and Recovery                                      915.00           Billable
               E-mails with Kirkland on informing court of schedule for
               motions and adversary.

 9/29/22       jborriello / Comm. Profes.                                 T        0.1            81.00
 #1004340      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with SteerCo re Case Update.




                                                     Page: 30
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 91 &  Segal LLP
                                                  of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 9/29/22       jborriello / Review Docs.                                T        0.2           162.00
 #1004341      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis of Committee counterproposal
               regarding scheduling stipulation.

 9/29/22       jborriello / Inter Off Memo                              T        0.6           486.00
 #1004342      Asset Analysis and Recovery                                    810.00           Billable
               Interoffice memo to BK and KO re rules and case law re
               preferences as compulsory counterclaims.

 9/29/22       jborriello / Inter Off Memo                              T        0.1            81.00
 #1004344      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with KO and BK re Celsius
               Examiner.

 9/29/22       jborriello / Research                                    T        0.4           324.00
 #1004345      Asset Analysis and Recovery                                    810.00           Billable
               Supplemental research re rules and case law re
               preferences as compulsory counterclaims.

 9/30/22       kortiz / Comm. Others                                    T        0.7           640.50
 #1004032      Asset Analysis and Recovery                                    915.00           Billable
               Meet and confer with Debtors and Committee

 9/30/22       bkotliar / Comm. Client                                T          0.6           486.00
 #1004192      Asset Analysis and Recovery                                    810.00           Billable
               Emails with Steering Committee regarding update on UCC
               negotiations.


 9/30/22       bkotliar / Comm. Others                                  T        0.5           405.00
 #1004193      Asset Analysis and Recovery                                    810.00           Billable
               Participate in all hands meet and confer regarding UCC
               scheduling proposal.

 9/30/22       bkotliar / Comm. Others                                  T        0.4           324.00
 #1004194      Asset Analysis and Recovery                                    810.00           Billable
               Communicate with C. Koenig and JB regarding UCC
               scheduling proposal.


                                                   Page: 31
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 92 &  Segal LLP
                                                    of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 9/30/22       jborriello / Attend Meeting                                  T        0.5           405.00
 #1004378      Asset Analysis and Recovery                                        810.00           Billable
               Participate in meet-and-confer with Committee, Debtors,
               and Ad Hoc Withhold Group.

 9/30/22       jborriello / Comm. Client                                    T        0.1            81.00
 #1004379      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with Steering Committee re UCC
               scheduling proposal and Information Requests.

 9/30/22       jborriello / Comm. Client                                   T         0.3           243.00
 #1004380      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with D. Little re CSV file extraction.

 9/30/22       jborriello / Comm. Profes.                                   T        0.2           162.00
 #1004381      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for Debtors,
               Committee, and Ad Hoc Withhold Group.

 9/30/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1004382      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with Jenner & Block re examiner.

 9/30/22       jborriello / Draft Documents                                 T        0.4           324.00
 #1004383      Asset Analysis and Recovery                                        810.00           Billable
               Prepare email to clients re instructions for collection of
               CSV files.

 9/30/22       jborriello / Inter Off Memo                                  T        0.2           162.00
 #1004384      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re revised
               information request from Committee.

 9/30/22       jborriello / Prepare Meeting                             T            0.2           162.00
 #1004385      Asset Analysis and Recovery                                        810.00           Billable
               Prepare for meet-and-confer with Committee, Debtors, and
               Ad Hoc Withhold Group.




                                                       Page: 32
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 93 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                             9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/1/22       jborriello / Comm. Profes.                                 T        0.2           162.00
 #1007017      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with counsel for Debtors and
               Committee re scheduling stipulation.

 10/1/22       kortiz / Review Docs.                                      T        0.3           274.50
 #1014485      Asset Analysis and Recovery                                      915.00           Billable
               Review Committee's latest proposal on scheduling (0.2);
               communication with BK re: same (0.1)

 10/2/22       jborriello / Comm. Profes.                                 T        0.2           162.00
 #1007020      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with Debtors' counsel re proposed
               revised scheduling order.

 10/2/22       jborriello / Inter Off Memo                                T        0.2           162.00
 #1007021      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK and KO re K&E revised
               proposed scheduling stipulation.

 10/2/22       jborriello / Revise Docs.                                  T        0.3           243.00
 #1007022      Asset Analysis and Recovery                                      810.00           Billable
               Review and revise K&E proposed scheduling order.

 10/2/22       kortiz / Review Docs.                                      T        0.3           274.50
 #1014496      Asset Analysis and Recovery                                      915.00           Billable
               Review Debtor mark up of scheduling order (0.2); e-mails
               with BK re: same (0.1)

 10/2/22       kortiz / Review Docs.                                      T        0.2           183.00
 #1014497      Asset Analysis and Recovery                                      915.00           Billable
               Review additional e-mail traffic and incremental edits
               between committee and debtors on scheduling order

 10/3/22       kortiz / Comm. Others                                      T        0.1            91.50
 #1004076      Asset Analysis and Recovery                                      915.00           Billable
               call with BK re: latest on scheduling dispute




                                                     Page: 33
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 94 &  Segal LLP
                                                  of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 10/3/22       kortiz / Comm. Others                                    T        0.5           457.50
 #1004104      Asset Analysis and Recovery                                    915.00           Billable
               Call with counsel to Examiner

 10/3/22       kortiz / Review Docs.                                   T         0.2           183.00
 #1004106      Asset Analysis and Recovery                                    915.00           Billable
               Review scheduling proposal proposed resolution and sign
               off

 10/3/22       lebrahimi / OC/TC strategy                               T        0.2            64.00
 #1004479      Asset Analysis and Recovery                                    320.00           Billable
               TCs with GQ RE review of Examiner and Mayer Brown
               document productions

 10/3/22       bkotliar / Revise Docs.                                  T        0.3           243.00
 #1004499      Asset Analysis and Recovery                                    810.00           Billable
               Review and revise WIP report.

 10/3/22       bkotliar / Comm. Client                                  T        0.6           486.00
 #1004500      Asset Analysis and Recovery                                    810.00           Billable
               Email client group with case update and next all hands
               call.


 10/3/22       bkotliar / Comm. Client                                  T        0.5           405.00
 #1004501      Asset Analysis and Recovery                                    810.00           Billable
               Emails with Steering Committee throughout the day
               regarding updated scheduling proposals.


 10/3/22       bkotliar / Comm. Client                                  T        1.5       1,215.00
 #1004502      Asset Analysis and Recovery                                    810.00        Billable
               Call with Steering Committee regarding scheduling
               proposals.




                                                    Page: 34
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 95 &  Segal LLP
                                                  of 211
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                                9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 10/3/22       bkotliar / Comm. Others                                     T        0.7           567.00
 #1004503      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with K&E and W&C regarding scheduling
               proposal negotiations.


 10/3/22       bkotliar / Comm. Others                                     T        0.5           405.00
 #1004504      Asset Analysis and Recovery                                       810.00           Billable
               Call with Examiner and counsel regarding introductions.

 10/3/22       jborriello / Attend Meeting                                 T        0.5           405.00
 #1007030      Asset Analysis and Recovery                                       810.00           Billable
               Participate in meeting with Examiner and Jenner & Block.

 10/3/22       jborriello / Attend Meeting                                 T        1.5       1,215.00
 #1007032      Asset Analysis and Recovery                                       810.00        Billable
               Participate in zoom conference with SteerCo members.

 10/3/22       jborriello / Inter Off Memo                                 T        0.2           162.00
 #1007034      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with BK re draft instructions for Ad
               Hoc Group members to download CSV files.

 10/3/22       jborriello / Inter Off Memo                                T         0.2           162.00
 #1007035      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with JG and BK re preparation of
               table summarizing objections filed in response to Debtors'
               Withdrawal Motion.

 10/3/22       jborriello / Prepare Meeting                                T        0.1            81.00
 #1007037      Asset Analysis and Recovery                                       810.00           Billable
               Prepare for meeting with Examiner and Jenner & Block.

 10/3/22       jborriello / Revise Docs.                                   T        0.3           243.00
 #1007038      Asset Analysis and Recovery                                       810.00           Billable
               Review and revise case WIP.




                                                    Page: 35
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 96 &  Segal LLP
                                                   of 211
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 10/3/22       astolp / Gen. Office                                     T        0.1            26.00
 #1007088      Asset Analysis and Recovery                                    260.00           Billable
               Circulated Dkt No. 7 (22-01142) to BK and KO and
               updated case files re: same

 10/3/22       jgallego / Comm. Others                                  T        0.1            35.00
 #1011170      Asset Analysis and Recovery                                    350.00           Billable
               Email JB re objections to Debtors’ custody withdraw
               motion

 10/3/22       kortiz / Comm. Others                                    T        0.4           366.00
 #1014505      Asset Analysis and Recovery                                    915.00           Billable
               Participate in part of call with Steering committee to
               provide update on examiner call and other case matters

 10/3/22       kortiz / Comm. Others                                    T        0.4           366.00
 #1014506      Asset Analysis and Recovery                                    915.00           Billable
               Communications with Committee and Debtors on open
               items relating to scheduling order

 10/3/22       kortiz / Review Docs.                                    T        0.3           274.50
 #1014507      Asset Analysis and Recovery                                    915.00           Billable
               Review latest version of revised scheduling order
               circulated by Debtors

 10/4/22       bkotliar / Comm. Others                                  T        0.3           243.00
 #1006768      Asset Analysis and Recovery                                    810.00           Billable
               Emails with K&E regarding scheduling stipulation and
               review same.

 10/4/22       jborriello / Comm. Profes.                               T        0.2           162.00
 #1007106      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with counsel for Debtors and
               Committee re draft scheduling stipulation.

 10/4/22       jborriello / Inter Off Memo                              T        0.2           162.00
 #1007109      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with BK and KO re K&E draft
               scheduling stipulation.


                                                    Page: 36
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 97 &  Segal LLP
                                                    of 211
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                     Client Billing Report                              9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/4/22       jborriello / Review Docs.                                    T        0.9           729.00
 #1007110      Asset Analysis and Recovery                                        810.00           Billable
               Review and revise draft scheduling stipulation.

 10/4/22       kortiz / Review Docs.                                        T        0.3           274.50
 #1014529      Asset Analysis and Recovery                                        915.00           Billable
               Review latest draft of scheduling stipulation

 10/5/22       bkotliar / Comm. Client                                      T        0.5           405.00
 #1006790      Asset Analysis and Recovery                                        810.00           Billable
               Participate in all hands client update call.

 10/5/22       bkotliar / OC/TC strategy                              T              0.6           486.00
 #1006792      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with KO and JB regarding October 7 hearing
               preparations.

 10/5/22       bkotliar / Comm. Client                                   T           0.6           486.00
 #1006793      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group and steering committee regarding
               scheduling proposal and related stipulation.

 10/5/22       jborriello / Attend Meeting                                  T        0.6           486.00
 #1007150      Asset Analysis and Recovery                                        810.00           Billable
               Participate in meeting with clients re case status update.

 10/5/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1007151      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for Debtors,
               Committee, and Ad Hoc Group re revisions to scheduling
               stipulation.

 10/5/22       jborriello / Comm. Profes.                                   T        0.1            81.00
 #1007152      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with K&E re request for list of
               Custody Account holders and 9/14 hearing transcript.




                                                       Page: 37
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 98 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/5/22       jborriello / Draft Documents                               T        2.4       1,944.00
 #1007153      Asset Analysis and Recovery                                      810.00        Billable
               Prepare outline for Ad Hoc Group standing arguments for
               status conference on 10/6.

 10/5/22       jborriello / Inter Off Memo                                T        0.1            81.00
 #1007154      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with KO and BK re scheduling
               stipulation and client meeting.

 10/5/22       jborriello / Prepare Meeting                               T        0.3           243.00
 #1007155      Asset Analysis and Recovery                                      810.00           Billable
               Prepare for meeting with clients re case status update.

 10/5/22       jborriello / Revise Docs.                                  T        0.2           162.00
 #1007156      Asset Analysis and Recovery                                      810.00           Billable
               Revise scheduling stipulation to incorporate comments
               from BK.

 10/5/22       jgallego / Review Docs.                                    T        0.4           140.00
 #1011171      Asset Analysis and Recovery                                      350.00           Billable
               Docket review re objections of Debtors’ custody withdraw
               motion in connection w/ preparing summary re same

 10/5/22       jgallego / Review Docs.                                    T        1.0           350.00
 #1011172      Asset Analysis and Recovery                                      350.00           Billable
               Begin reviewing objections to Debtors’ custody withdraw
               motion in connection w/ preparing summary re same

 10/5/22       jgallego / Review Docs.                                  T          0.5           175.00
 #1011173      Asset Analysis and Recovery                                      350.00           Billable
               Review Debtors’ custody withdraw motion in connection w/
               preparing summary re objection to same




                                                    Page: 38
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 99 &  Segal LLP
                                                   of 211
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/6/22       kortiz / Prep. Hearing                                     T        1.6       1,464.00
 #1005940      Asset Analysis and Recovery                                      915.00        Billable
               Call with JB re: standing issue (0.2); review proposed
               scheduling order and sign off on same (0.3); prep for
               hearing by reviewing scheduling motion, and draft motion
               to be prepared to discuss various issues that may arise
               (1.1)

 10/6/22       bkotliar / Revise Docs.                                    T        0.3           243.00
 #1006836      Asset Analysis and Recovery                                      810.00           Billable
               Review and finalize comments on scheduling proposals.


 10/6/22       bkotliar / Revise Docs.                                    T        0.8           648.00
 #1006837      Asset Analysis and Recovery                                      810.00           Billable
               Draft and revise bullets for KO for hearing regarding
               ordinary course of business defense.


 10/6/22       bkotliar / Comm. Client                                    T        0.2           162.00
 #1006839      Asset Analysis and Recovery                                      810.00           Billable
               Emails with steering committee regarding update on
               scheduling proposal in advance of hearing.


 10/6/22       bkotliar / Comm. Client                                    T        0.3           243.00
 #1006840      Asset Analysis and Recovery                                      810.00           Billable
               Call with client member regarding discovery.


 10/6/22       bkotliar / OC/TC strategy                                  T        0.4           324.00
 #1006847      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with KO regarding hearing preparation.

 10/6/22       jborriello / Comm. Client                                  T        0.1            81.00
 #1007178      Asset Analysis and Recovery                                      810.00           Billable
               Email communication with Ad Hoc Group re revisions to
               scheduling stipulation.




                                                     Page: 39
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 100&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/6/22       jborriello / Comm. Profes.                            T             0.3           243.00
 #1007179      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with K&E and Creditors Committee
               re scheduling stipulation

 10/6/22       jborriello / Comm. Profes.                                 T        0.1            81.00
 #1007181      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with K&E re list of custody holders
               and joinder to Confidentiality and Protective Order.

 10/6/22       jborriello / OC/TC strategy                                T        0.2           162.00
 #1007182      Asset Analysis and Recovery                                      810.00           Billable
               Telephone conference with KO re 10/7 hearing
               preparations.

 10/6/22       jborriello / OC/TC strategy                                T        0.1            81.00
 #1007183      Asset Analysis and Recovery                                      810.00           Billable
               Telephone conference with BK re standing & Rule 17
               issues.

 10/6/22       jborriello / Inter Off Memo                                T        0.2           162.00
 #1007185      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with KO and BK re scheduling
               order and 10/7 hearing preparation.

 10/6/22       jborriello / Research                                      T        1.6       1,296.00
 #1007187      Asset Analysis and Recovery                                      810.00        Billable
               Continued research and analysis of Ad Hoc Group
               standing and substitution/ratification under Rule 17.

 10/6/22       jborriello / Review Docs.                                  T        0.2           162.00
 #1007189      Asset Analysis and Recovery                                      810.00           Billable
               Review revised scheduling stipulation circulated by K&E.

 10/6/22       jborriello / Review Docs.                                  T        0.3           243.00
 #1007190      Asset Analysis and Recovery                                      810.00           Billable
               Review and analysis of objections to Limited Withdrawal
               motion circulated by JG.



                                                     Page: 40
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 101&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                 9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 10/6/22       jborriello / Revise Docs.                                     T        0.7           567.00
 #1007192      Asset Analysis and Recovery                                         810.00           Billable
               Continued revision for outline for 10/7 hearing re standing
               and substitution/ratification under Rule 17.

 10/6/22       jgallego / Comm. Others                                    T           0.2            70.00
 #1011174      Asset Analysis and Recovery                                         350.00           Billable
               Emails BK, JB re objections to debtors’ custody withdrawal
               motion

 10/7/22       kortiz / Prep. Hearing                                        T        1.5       1,372.50
 #1005928      Asset Analysis and Recovery                                         915.00        Billable
               Prepare for scheduling conference on phase 1 and 2
               scheduling

 10/7/22       kortiz / Attend Hearing                                       T        2.0       1,830.00
 #1005929      Asset Analysis and Recovery                                         915.00        Billable
               Attend hearing on scheduling conference on phase 1 and
               2 scheduling (1.5); follow up discussion with BK re: next
               steps (0.2); e-mail with Examiner re: next steps (0.2); e-
               mail with Debtors re: revised order (0.1)

 10/7/22       bkotliar / Attend Hearing                                     T        2.5       2,025.00
 #1006849      Asset Analysis and Recovery                                         810.00        Billable
               Prepare for and attend October 7 status conference
               regarding Custody issues scheduling.


 10/7/22       bkotliar / Comm. Others                                       T        0.2           162.00
 #1006866      Asset Analysis and Recovery                                         810.00           Billable
               Emails with K&E regarding comments on revised
               scheduling stipulation.

 10/7/22       bkotliar / OC/TC strategy                                     T        0.4           324.00
 #1006868      Asset Analysis and Recovery                                         810.00           Billable
               Communicate with KO regarding October 7 status
               conference.




                                                     Page: 41
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 102&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 10/7/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1006869      Asset Analysis and Recovery                                       810.00           Billable
               Calls with clients regarding update on October 7 status
               conference.

 10/7/22       bkotliar / Comm. Client                                     T        0.4           324.00
 #1006870      Asset Analysis and Recovery                                       810.00           Billable
               Email client group regarding update on October 7 status
               conference.

 10/7/22       jborriello / Attend Hearing                                 T        1.5       1,215.00
 #1007241      Asset Analysis and Recovery                                       810.00        Billable
               Participate in Celsius status conference re scheduling of
               adjudication of Custody and Withhold Asset ownership
               issue.

 10/7/22       jborriello / Review Docs.                                   T        0.2           162.00
 #1007243      Asset Analysis and Recovery                                       810.00           Billable
               Review JG summary of objections to Limited Withdrawal
               Motion.

 10/7/22       jborriello / Review Docs.                                   T        0.1            81.00
 #1007244      Asset Analysis and Recovery                                       810.00           Billable
               Review revised scheduling order circulated by K&E and
               sign-off re same.

 10/7/22       jgallego / Review Docs.                                     T        1.3           455.00
 #1011175      Asset Analysis and Recovery                                       350.00           Billable
               Review objections to Debtors’ custody withdraw motion in
               connection w/ preparing summary re same

 10/7/22       jgallego / Draft Documents                               T           1.7           595.00
 #1011176      Asset Analysis and Recovery                                       350.00           Billable
               Draft summary re objections to Debtors’ custody withdraw
               motion




                                                     Page: 42
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 103&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/7/22       jgallego / Comm. Others                                    T        0.1            35.00
 #1011177      Asset Analysis and Recovery                                      350.00           Billable
               Emails BK, JB re summary re objections to Debtors’
               custody withdraw motion

 10/7/22       jborriello / OC/TC strategy                                T        0.1            81.00
 #1014424      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK re PEO designation of
               materials.

 10/7/22       jborriello / Comm. Profes.                                 T        0.1            81.00
 #1014430      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with K&E and W&C re scheduling
               order.

 10/11/22      astolp / Gen. Office                                       T        0.1            26.00
 #1006745      Asset Analysis and Recovery                                      260.00           Billable
               Registered KO and BK for 10/20 Celsius hearing

 10/11/22      astolp / Review Docs.                                      T        0.5           130.00
 #1006746      Asset Analysis and Recovery                                      260.00           Billable
               Circulated schedules to BK, KO and JB

 10/11/22      bkotliar / Comm. Client                                    T        0.6           486.00
 #1007000      Asset Analysis and Recovery                                      810.00           Billable
               Emails with client group regarding next call and general
               update.


 10/11/22      bkotliar / Revise Docs.                                    T        0.6           486.00
 #1007003      Asset Analysis and Recovery                                      810.00           Billable
               Review and update WIP report for Phase I issues and
               related matters.

 10/11/22      jborriello / Inter Off Memo                                T        0.2           162.00
 #1007278      Asset Analysis and Recovery                                      810.00           Billable
               Interoffice memo to BK and KO re NDA provisions related
               to the sharing of Custody Customer list with SteerCo
               members.


                                                    Page: 43
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 104&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/12/22      bkotliar / Comm. Others                                    T        0.2           162.00
 #1007513      Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E regarding sharing of Custody wallet
               information.

 10/12/22      jborriello / Inter Off Memo                                T        0.1            81.00
 #1007779      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with KO and BK re article covering
               treatment of crypto assets in in bankruptcy.

 10/12/22      jborriello / Review Docs.                                   T       0.3           243.00
 #1007780      Asset Analysis and Recovery                                      810.00           Billable
               Review article re treatment of crypto assets in bankruptcy.

 10/12/22      kortiz / Comm. Others                                      T        0.5           457.50
 #1014574      Asset Analysis and Recovery                                      915.00           Billable
               Call with Examiner concerning custody assets

 10/13/22      jborriello / Attend Meeting                              T          1.0           810.00
 #1007801      Asset Analysis and Recovery                                      810.00           Billable
               Participate in zoom conference with Ad Hoc Group re case
               update and strategy.

 10/13/22      jborriello / Research                                      T        0.6           486.00
 #1007802      Asset Analysis and Recovery                                      810.00           Billable
               Research and analysis re Second Circuit/New York State
               standard for contract interpretation.

 10/13/22      bkotliar / Comm. Others                                  T          0.4           324.00
 #1007837      Asset Analysis and Recovery                                      810.00           Billable
               Call with Examiner and KO regarding Custody position and
               arguments.

 10/13/22      bkotliar / Comm. Client                                    T        1.0           810.00
 #1007838      Asset Analysis and Recovery                                      810.00           Billable
               Group client call regarding Custody update, case update
               and claims processes.




                                                    Page: 44
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 105&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/13/22      bkotliar / Comm. Others                                    T        0.3           243.00
 #1007839      Asset Analysis and Recovery                                      810.00           Billable
               Call with Custody holder regarding briefing in Phase I.


 10/13/22      bkotliar / Revise Docs.                                    T        0.6           486.00
 #1007840      Asset Analysis and Recovery                                      810.00           Billable
               Draft and revise open issues, diligence and research items
               for Phase I.

 10/13/22      bkotliar / OC/TC strategy                               T           0.5           405.00
 #1007841      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with JB regarding state law research issues
               under Custody terms of use.


 10/14/22      bkotliar / Comm. Client                                    T        1.0           810.00
 #1007935      Asset Analysis and Recovery                                      810.00           Billable
               Call with Steering Committee regarding update and next
               steps.

 10/14/22      jgallego / Review Docs.                                    T        0.2            70.00
 #1011179      Asset Analysis and Recovery                                      350.00           Billable
               Review docket re objections to Debtors’ custody withdraw
               motion

 10/17/22      bkotliar / Revise Docs.                                   T         2.8       2,268.00
 #1008045      Asset Analysis and Recovery                                      810.00        Billable
               Continue to draft and revise Phase I opening brief fact
               section and review Terms of Use for additional arguments.


 10/17/22      bkotliar / Revise Docs.                                    T        2.2       1,782.00
 #1008046      Asset Analysis and Recovery                                      810.00        Billable
               Continue to draft and revise Phase I opening brief legal
               section and review case law.




                                                     Page: 45
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 106&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/17/22      bkotliar / Inter Off Memo                                    T        0.5           405.00
 #1008047      Asset Analysis and Recovery                                        810.00           Billable
               Emails with LE and JB regarding Phase I opening brief
               research issues for Second Circuit and NY law
               considerations.


 10/17/22      bkotliar / Revise Docs.                                      T        0.7           567.00
 #1008048      Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise summary of Second Circuit law on
               preference and property of the estate issues.


 10/17/22      bkotliar / Revise Docs.                                      T        1.5       1,215.00
 #1008051      Asset Analysis and Recovery                                        810.00        Billable
               Continue to research and revise Phase I opening brief for
               constitutional arguments.

 10/17/22      bkotliar / Comm. Client                                      T        0.4           324.00
 #1008052      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group regarding court posting UK
               materials on cryptocurrency issues and briefly review
               same.

 10/17/22      bkotliar / Revise Docs.                                      T        0.8           648.00
 #1008053      Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise legal arguments related to non-US court
               decisions on cryptocurrency ownership issues.

 10/17/22      bkotliar / Revise Docs.                                       T       1.6       1,296.00
 #1008061      Asset Analysis and Recovery                                        810.00        Billable
               Continue to review and finalize initial draft phase I opening
               brief.

 10/17/22      bkotliar / Inter Off Memo                                 T           0.2           162.00
 #1008062      Asset Analysis and Recovery                                        810.00           Billable
               Emails with KO and JB regarding phase I opening brief for
               review.




                                                     Page: 46
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 107&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 10/17/22      lebrahimi / Research                                        T        0.4           128.00
 #1008707      Asset Analysis and Recovery                                       320.00           Billable
               Research ABI materials re crypo discussions

 10/17/22      lebrahimi / Research                                        T        0.2            64.00
 #1008708      Asset Analysis and Recovery                                       320.00           Billable
               Research New Zealand opinion

 10/17/22      lebrahimi / Review Docs.                                    T        0.3            96.00
 #1008710      Asset Analysis and Recovery                                       320.00           Billable
               Review research re New Zealand opinion

 10/17/22      lebrahimi / Correspondence                                  T        0.1            32.00
 #1008711      Asset Analysis and Recovery                                       320.00           Billable
               Email BK re New Zealand opinion analysis

 10/17/22      lebrahimi / Correspondence                                  T        0.1            32.00
 #1008713      Asset Analysis and Recovery                                       320.00           Billable
               Email BK re ABI / Judge Drain materials re crypo
               discussion

 10/17/22      lebrahimi / Research                                        T        1.1           352.00
 #1008714      Asset Analysis and Recovery                                       320.00           Billable
               Keysite brief re crypo assets sent by BK

 10/17/22      lebrahimi / Correspondence                                  T        0.2            64.00
 #1008717      Asset Analysis and Recovery                                       320.00           Billable
               Review research re circuit decisions on whether property
               subject of fraudulent conveyance action is subject to the
               automatic stay

 10/17/22      lebrahimi / Revise Docs.                                    T        0.9           288.00
 #1008726      Asset Analysis and Recovery                                       320.00           Billable
               Review and revise opening brief citations

 10/17/22      lebrahimi / Research                                        T        0.7           224.00
 #1008727      Asset Analysis and Recovery                                       320.00           Billable
               Research crypto articles for BK


                                                    Page: 47
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 108&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/17/22      lebrahimi / Review Docs.                                     T        0.5           160.00
 #1008728      Asset Analysis and Recovery                                        320.00           Billable
               Review research for BK re article discussing non-us
               decisions on crypto currency ownership assets in
               bankruptcy

 10/17/22      lebrahimi / Research                                         T        0.9           288.00
 #1008729      Asset Analysis and Recovery                                        320.00           Billable
               Research foreign court decision

 10/17/22      jborriello / Inter Off Memo                                  T        0.1            81.00
 #1011224      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with BK re hearing transcripts.

 10/17/22      jborriello / Review Docs.                                    T        0.4           324.00
 #1011226      Asset Analysis and Recovery                                        810.00           Billable
               Review Phase 1 opening brief and limited objection.

 10/17/22      jborriello / Review Docs.                                    T        0.2           162.00
 #1011227      Asset Analysis and Recovery                                        810.00           Billable
               Review LE research re preference/property of the estate
               split among circuits.

 10/17/22      jborriello / Review Docs.                                    T        0.4           324.00
 #1011228      Asset Analysis and Recovery                                        810.00           Billable
               Review and analysis re foreign jurisdiction case law on
               crypto insolvency cases.

 10/17/22      jborriello / Review Docs.                                    T        0.6           486.00
 #1011229      Asset Analysis and Recovery                                        810.00           Billable
               Review and analysis re ABI Crypto article re private keys.

 10/17/22      kortiz / Review Docs.                                        T        0.9           823.50
 #1014591      Asset Analysis and Recovery                                        915.00           Billable
               Review current draft memo of law in advance of sharing
               with examiner




                                                    Page: 48
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 109&
                                                    of Segal
                                                       211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                            9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                            T/E      Rate     Billing Status


 10/18/22      bkotliar / Revise Docs.                                 T          1.0           810.00
 #1008433      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise phase I brief per KO and JB comments.

 10/18/22      bkotliar / Revise Docs.                                  T         0.3           243.00
 #1008434      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise custody arguments per emails with D.
               Little.

 10/18/22      lebrahimi / OC/TC strategy                               T         0.1            32.00
 #1008681      Asset Analysis and Recovery                                     320.00           Billable
               Call with BK re circuit split research

 10/18/22      lebrahimi / Research                                     T         1.5           480.00
 #1008682      Asset Analysis and Recovery                                     320.00           Billable
               Research circuit split research

 10/18/22      lebrahimi / Review Docs.                                 T         0.6           192.00
 #1008694      Asset Analysis and Recovery                                     320.00           Billable
               Review BK materials re: circuit split research

 10/18/22      lebrahimi / Research                                     T         1.5           480.00
 #1009707      Asset Analysis and Recovery                                     320.00           Billable
               Research circuit split issue

 10/19/22      bkotliar / Revise Docs.                                  T         1.0           810.00
 #1008787      Asset Analysis and Recovery                                     810.00           Billable
               Review and finalize phase I brief to send to examiner.

 10/19/22      bkotliar / Comm. Others                                  T         0.1            81.00
 #1008789      Asset Analysis and Recovery                                     810.00           Billable
               Emails with Examiner regarding phase I brief.


 10/19/22      bkotliar / Revise Docs.                                  T         1.5       1,215.00
 #1008790      Asset Analysis and Recovery                                     810.00        Billable
               Review and research articles and journals regarding
               custody issues.


                                                        Page: 49
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 110&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/19/22      jborriello / Review Docs.                                  T        1.5       1,215.00
 #1009465      Asset Analysis and Recovery                                      810.00        Billable
               Review and analysis of Levitin Crypto Currency Article
               presented at ABI conference.

 10/19/22      jborriello / Review Docs.                                   T       0.7           567.00
 #1009466      Asset Analysis and Recovery                                      810.00           Billable
               Review and revise draft objection opening brief and limited
               objection to withdrawal motion.

 10/20/22      bkotliar / Attend Hearing                                  T        2.5       2,025.00
 #1008903      Asset Analysis and Recovery                                      810.00        Billable
               Participate in October 20 omnibus hearing.

 10/20/22      bkotliar / Comm. Client                                 T           0.6           486.00
 #1008905      Asset Analysis and Recovery                                      810.00           Billable
               Email client group update on October 20 omnibus hearing
               and scheduling next group call.

 10/20/22      bkotliar / Revise Docs.                                    T        1.5       1,215.00
 #1008906      Asset Analysis and Recovery                                      810.00        Billable
               Continue to review and revise Phase I brief.

 10/20/22      jborriello / Review Docs.                                  T        0.1            81.00
 #1009490      Asset Analysis and Recovery                                      810.00           Billable
               Review communications with SteerCo re case update.

 10/20/22      lebrahimi / Research                                       T        0.9           288.00
 #1009708      Asset Analysis and Recovery                                      320.00           Billable
               Research for BK re 1st circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/20/22      lebrahimi / Review Docs.                                   T        0.7           224.00
 #1009709      Asset Analysis and Recovery                                      320.00           Billable
               Review Research for BK re 1st circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate



                                                    Page: 50
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 111&
                                                  of Segal
                                                     211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 10/20/22      lebrahimi / Review Docs.                                 T        0.8           256.00
 #1009711      Asset Analysis and Recovery                                    320.00           Billable
               Review Research for BK re 3rd circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate

 10/20/22      lebrahimi / Research                                     T        0.9           288.00
 #1009712      Asset Analysis and Recovery                                    320.00           Billable
               Research for BK re 3rd circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/20/22      lebrahimi / Research                                     T        0.6           192.00
 #1009713      Asset Analysis and Recovery                                    320.00           Billable
               Research for BK re 4th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/20/22      lebrahimi / Review Docs.                                 T        0.9           288.00
 #1009718      Asset Analysis and Recovery                                    320.00           Billable
               Review Research for BK re 4th circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate

 10/20/22      kortiz / Attend Hearing                                  T        1.2       1,098.00
 #1014874      Asset Analysis and Recovery                                    915.00        Billable
               Attend portion of hearing.

 10/21/22      bkotliar / Inter Off Memo                               T         0.5           405.00
 #1009237      Asset Analysis and Recovery                                    810.00           Billable
               Emails with TSS team regarding Custody return arguments
               under state law.


 10/21/22      bkotliar / Comm. Others                                  T        0.4           324.00
 #1009238      Asset Analysis and Recovery                                    810.00           Billable
               Call with Troutman regarding Custody return arguments.




                                                    Page: 51
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 112&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/21/22      bkotliar / Comm. Others                                    T        0.2           162.00
 #1009240      Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E regarding debtors declarations.


 10/21/22      jborriello / Review Docs.                                   T       1.2           972.00
 #1009515      Asset Analysis and Recovery                                      810.00           Billable
               Review and analysis of LE research re circuit split on
               whether property of estate subject to avoidance is property
               of the estate before final judgment entered.

 10/21/22      lebrahimi / Review Docs.                                  T         1.1           352.00
 #1009719      Asset Analysis and Recovery                                      320.00           Billable
               Review Research for BK 6th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Research                                       T        0.8           256.00
 #1009720      Asset Analysis and Recovery                                      320.00           Billable
               Research for BK re 6th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Research                                       T        0.9           288.00
 #1009721      Asset Analysis and Recovery                                      320.00           Billable
               Research for BK re 7th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Review Docs.                                   T        0.9           288.00
 #1009722      Asset Analysis and Recovery                                      320.00           Billable
               Review research for BK re 7th circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate

 10/21/22      lebrahimi / Review Docs.                                   T        1.2           384.00
 #1009723      Asset Analysis and Recovery                                      320.00           Billable
               Review research for BK re 8th circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate


                                                    Page: 52
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 113&
                                                  of Segal
                                                     211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                             9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 10/21/22      lebrahimi / Research                                     T        0.9           288.00
 #1009724      Asset Analysis and Recovery                                    320.00           Billable
               Research for BK re 8th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Research                                     T        0.8           256.00
 #1009725      Asset Analysis and Recovery                                    320.00           Billable
               Research for BK re 9th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Review Docs.                                 T        0.9           288.00
 #1009726      Asset Analysis and Recovery                                    320.00           Billable
               Review research for BK re 9th circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate

 10/21/22      lebrahimi / Review Docs.                                 T        1.3           416.00
 #1009727      Asset Analysis and Recovery                                    320.00           Billable
               Review research for BK re 10th circuit cases whether
               property subject to fraudulent conveyance action is
               considered property of the estate

 10/21/22      lebrahimi / Research                                     T        1.2           384.00
 #1009728      Asset Analysis and Recovery                                    320.00           Billable
               Research for BK re 10th circuit cases whether property
               subject to fraudulent conveyance action is considered
               property of the estate

 10/21/22      lebrahimi / Draft Documents                               T       2.1           672.00
 #1009729      Asset Analysis and Recovery                                    320.00           Billable
               Draft summary for BK re each circuits opinions discussing
               whether property subject to fraudulent conveyance action
               is considered property of the estate

 10/21/22      astolp / Prep. Hearing                                   T        0.1            26.00
 #1014192      Asset Analysis and Recovery                                    260.00           Billable
               Review email from BK re: hearing registration



                                                    Page: 53
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 114&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 10/21/22      astolp / Prep. Hearing                                      T        0.1            26.00
 #1014193      Asset Analysis and Recovery                                       260.00           Billable
               Register BK and KO for hearing

 10/21/22      kortiz / Review Docs.                                       T        2.1       1,921.50
 #1014881      Asset Analysis and Recovery                                       915.00        Billable
               Review of legal background for brief.

 10/21/22      kortiz / OC/TC strategy                                T             0.4           366.00
 #1014882      Asset Analysis and Recovery                                       915.00           Billable
               Communication with BK and JB on arguments for focus in
               opening brief and feedback received from Withold group
               counsel on same.

 10/22/22      kortiz / Review Docs.                                       T        1.6       1,464.00
 #1014889      Asset Analysis and Recovery                                       915.00        Billable
               Review and comment on latest draft of opening brief.

 10/24/22      bkotliar / Comm. Client                                     T        0.5           405.00
 #1009337      Asset Analysis and Recovery                                       810.00           Billable
               Emails with client group regarding updated on bid
               procedures and equity committee.

 10/24/22      bkotliar / Revise Docs.                                     T        2.5       2,025.00
 #1009340      Asset Analysis and Recovery                                       810.00        Billable
               Continue to review and revise Phase I brief for state law
               issues.

 10/24/22      bkotliar / Revise Docs.                                     T        1.5       1,215.00
 #1009341      Asset Analysis and Recovery                                       810.00        Billable
               Continue to review and revise Phase I brief for foreign law
               issues and analogous circumstances.

 10/24/22      bkotliar / Inter Off Memo                                   T        0.3           243.00
 #1009342      Asset Analysis and Recovery                                       810.00           Billable
               Emails with KO and JB regarding Phase I brief updated
               and open research.




                                                       Page: 54
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 115&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                               9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/24/22      bkotliar / Inter Off Memo                                  T        0.5           405.00
 #1009343      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with LE regarding preferences research.

 10/24/22      jborriello / Inter Off Memo                                T        0.1            81.00
 #1009543      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK re phase 1 brief.

 10/24/22      lebrahimi / Correspondence                                 T        0.1            32.00
 #1009735      Asset Analysis and Recovery                                      320.00           Billable
               Email from BK re research re whether intent to fraud
               creditors under 1898 bankruptcy act includes preferences

 10/24/22      lebrahimi / OC/TC strategy                                 T        0.3            96.00
 #1009736      Asset Analysis and Recovery                                      320.00           Billable
               Zoom with BK re research re whether intent to fraud
               creditors under 1898 bankruptcy act includes preferences

 10/24/22      lebrahimi / Research                                       T        2.1           672.00
 #1009738      Asset Analysis and Recovery                                      320.00           Billable
               Research case law from pre 1938 chandler amendments
               re whether intent to fraud creditors under 1898 bankruptcy
               act includes preferences

 10/24/22      lebrahimi / Review Docs.                                   T        1.5           480.00
 #1009739      Asset Analysis and Recovery                                      320.00           Billable
               Review research of case law from pre 1938 chandler
               amendments re whether intent to fraud creditors under
               1898 bankruptcy act includes preferences

 10/24/22      lebrahimi / Review Docs.                                   T        0.8           256.00
 #1009740      Asset Analysis and Recovery                                      320.00           Billable
               Review research of case law from post 1938 chandler
               amendments re whether intent to fraud creditors under
               1898 bankruptcy act includes preferences




                                                   Page: 55
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 116&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/24/22      lebrahimi / Research                                       T        0.6           192.00
 #1009741      Asset Analysis and Recovery                                      320.00           Billable
               Research of case law from post 1938 chandler
               amendments re whether intent to fraud creditors under
               1898 bankruptcy act includes preferences

 10/24/22      lebrahimi / OC/TC strategy                                  T       0.2            64.00
 #1009742      Asset Analysis and Recovery                                      320.00           Billable
               Email Alex re instruction on binder for BK re circuit split
               research on Colonial realty vs. MortgageAmerica holdings

 10/24/22      lebrahimi / Draft Documents                                T        0.8           256.00
 #1009743      Asset Analysis and Recovery                                      320.00           Billable
               Draft memo for BK re Research of case law re whether
               intent to fraud creditors under 1898 bankruptcy act
               includes preferences

 10/24/22      lebrahimi / Correspondence                                 T        0.1            32.00
 #1009744      Asset Analysis and Recovery                                      320.00           Billable
               Email BK with draft memo re Research of case law re
               whether intent to fraud creditors under 1898 bankruptcy
               act includes preferences

 10/24/22      astolp / Prepare Meeting                                   T        1.4           364.00
 #1014276      Asset Analysis and Recovery                                      260.00           Billable
               Begin preparation of case law binder for BK (assignment
               from LE)

 10/25/22      lebrahimi / OC/TC strategy                                 T        0.1            32.00
 #1009757      Asset Analysis and Recovery                                      320.00           Billable
               Meeting with BK re follow up research re whether 1898
               Bankruptcy Act “in fraud” of creditors applies to
               preferences

 10/25/22      lebrahimi / Research                                       T        1.3           416.00
 #1009766      Asset Analysis and Recovery                                      320.00           Billable
               Research for BK re whether 1898 Bankruptcy Act “in
               fraud” of creditors applies to preferences




                                                    Page: 56
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 117&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/25/22      lebrahimi / OC/TC strategy                                   T        0.3            96.00
 #1009808      Asset Analysis and Recovery                                        320.00           Billable
               Meeting with BK re review circuit split re property of the
               estate research

 10/25/22      bkotliar / Revise Docs.                                      T        1.3       1,053.00
 #1009933      Asset Analysis and Recovery                                        810.00        Billable
               Continue to review and revise Phase I brief for state law
               issues.

 10/25/22      bkotliar / Comm. Others                                      T        0.7           567.00
 #1009935      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with KO and LE regarding Phase I brief
               research and follow up.

 10/25/22      bkotliar / OC/TC strategy                                    T        0.3           243.00
 #1009940      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with EB regarding state law research.

 10/25/22      jgallego / Research                                          T        0.5           175.00
 #1011180      Asset Analysis and Recovery                                        350.00           Billable
               Research re preferences under 1898 bankruptcy act in
               connection w/ custody brief

 10/25/22      jgallego / Comm. Others                                      T        0.2            70.00
 #1011182      Asset Analysis and Recovery                                        350.00           Billable
               Communications w/ LE re research re preferences under
               1898 bankruptcy

 10/25/22      lebrahimi / Review Docs.                              T               0.8           256.00
 #1011887      Asset Analysis and Recovery                                        320.00           Billable
               Review Research for BK re whether 1898 Bankruptcy Act
               “in fraud” of creditors applies to preferences

 10/25/22      eblander / Research                                          T        1.2           708.00
 #1012407      Asset Analysis and Recovery                                        590.00           Billable
               Research re: procedure / arguments re: compelling return
               by debtor of non-estate assets



                                                     Page: 57
        22-10964-mg      Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 118&
                                                    of Segal
                                                       211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                     Client Billing Report                            9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 10/25/22      eblander / Revise Docs.                                    T        0.8           472.00
 #1012409      Asset Analysis and Recovery                                      590.00           Billable
               Review and mark up BK draft of proposed solicitation
               email to Custodial Program users re: Ad Hoc Group

 10/25/22      eblander / OC/TC strategy                                  T        0.4           236.00
 #1012414      Asset Analysis and Recovery                                      590.00           Billable
               OC w/ BK re: research assignment re: procedure for
               turnover of non-estate property (.3); notes following OC
               (.1)

 10/26/22      bkotliar / Comm. Client                                    T        0.6           486.00
 #1010258      Asset Analysis and Recovery                                      810.00           Billable
               Participate in client update call.

 10/26/22      bkotliar / Comm. Client                                    T        0.5           405.00
 #1010259      Asset Analysis and Recovery                                      810.00           Billable
               Email client group with update following call.


 10/26/22      bkotliar / Revise Docs.                                    T        1.5       1,215.00
 #1010262      Asset Analysis and Recovery                                      810.00        Billable
               Review and revise phase I brief for Debtors’ declaration
               and related analysis.


 10/26/22      bkotliar / Inter Off Memo                                  T        0.3           243.00
 #1010263      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with KO and JB regarding Debtors’
               declaration and related issues.


 10/26/22      bkotliar / Comm. Client                                    T        0.2           162.00
 #1010264      Asset Analysis and Recovery                                      810.00           Billable
               Email steering committee regarding Debtors’ declaration.




                                                     Page: 58
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 119&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 10/26/22      bkotliar / Comm. Others                                   T        0.2           162.00
 #1010265      Asset Analysis and Recovery                                     810.00           Billable
               Email W&C regarding Debtors’ declaration.

 10/26/22      jborriello / Attend Meeting                               T        0.5           405.00
 #1010979      Asset Analysis and Recovery                                     810.00           Billable
               Participate in zoom conference with members of ad hoc
               group.

 10/26/22      jborriello / Draft Documents                              T        0.6           486.00
 #1010980      Asset Analysis and Recovery                                     810.00           Billable
               Prepare demonstrative for custody account/custody
               deposits and withdrawals.

 10/26/22      jborriello / Review Docs.                                  T       1.5       1,215.00
 #1010981      Asset Analysis and Recovery                                     810.00        Billable
               Review and analysis of Blonstein declaration in support of
               Phase I.

 10/26/22      lebrahimi / OC/TC strategy                                T        0.3            96.00
 #1011898      Asset Analysis and Recovery                                     320.00           Billable
               Meeting with BK re 363(e) adequate protection

 10/26/22      eblander / Research                                       T        1.8       1,062.00
 #1012465      Asset Analysis and Recovery                                     590.00        Billable
               Continued research re: procedure / arguments re:
               compelling return by debtor of non-estate assets

 10/26/22      kortiz / Review Docs.                                     T        1.8       1,647.00
 #1014909      Asset Analysis and Recovery                                     915.00        Billable
               Review debtors declaration in connection with phase 1
               (1.4); communications with BK and JB on same (0.4).

 10/26/22      kortiz / Review Docs.                                     T        0.3           274.50
 #1014910      Asset Analysis and Recovery                                     915.00           Billable
               Review revision to bar date order and comment on same
               (0.2); communication with BK re: same (0.1).




                                                   Page: 59
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 120&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 10/27/22      bkotliar / Revise Docs.                                     T        1.0           810.00
 #1010846      Asset Analysis and Recovery                                       810.00           Billable
               Review and revise Phase I brief for debtors’ declaration.

 10/27/22      bkotliar / Inter Off Memo                                   T        0.2           162.00
 #1010848      Asset Analysis and Recovery                                       810.00           Billable
               Emails with KO and JB regarding brief updates and
               debtors’ declarations.


 10/27/22      bkotliar / Comm. Others                                     T        0.2           162.00
 #1010850      Asset Analysis and Recovery                                       810.00           Billable
               Emails with K&E regarding bar date notice and debtors’
               declarations.

 10/27/22      bkotliar / Inter Off Memo                                   T        0.6           486.00
 #1010851      Asset Analysis and Recovery                                       810.00           Billable
               Emails with LE regarding adequate protection research
               and comment on same.

 10/27/22      jborriello / Research                                       T        1.9       1,539.00
 #1011000      Asset Analysis and Recovery                                       810.00        Billable
               Review and analysis of technical papers re storage of
               crypto currency on blockchain and storage of private
               keys/public keys in wallets.

 10/27/22      jborriello / Revise Docs.                                   T        2.1       1,701.00
 #1011001      Asset Analysis and Recovery                                       810.00        Billable
               Review and revise Phase I brief.

 10/27/22      jmurphy / Correspondence                                    T        0.2            70.00
 #1011867      Asset Analysis and Recovery                                       350.00           Billable
               Correspondence with LE RE research RE an unsecured
               creditor's ability to seek adequate protection.

 10/27/22      lebrahimi / Research                                        T        0.7           224.00
 #1011946      Asset Analysis and Recovery                                       320.00           Billable
               Research adequate protection under 363(e)



                                                     Page: 60
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 121&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 10/27/22      lebrahimi / Review Docs.                                  T        1.1           352.00
 #1011948      Asset Analysis and Recovery                                     320.00           Billable
               Review case law / research re 2nd circuit case law
               discussing adequate protection under 363(e)

 10/27/22      lebrahimi / Correspondence                                T        0.1            32.00
 #1011950      Asset Analysis and Recovery                                     320.00           Billable
               Circulate memo to Bryan re previous research by JM/JG
               on case law discussing adequate protection under 363(e)

 10/27/22      lebrahimi / Review Docs.                                  T        0.2            64.00
 #1011953      Asset Analysis and Recovery                                     320.00           Billable
               Review precedent memo regarding adequate protection

 10/27/22      lebrahimi / Review Docs.                                  T        0.4           128.00
 #1011957      Asset Analysis and Recovery                                     320.00           Billable
               Review case law cited in precedent materials regarding
               adequate protections

 10/27/22      lebrahimi / Draft Documents                             T          0.4           128.00
 #1011961      Asset Analysis and Recovery                                     320.00           Billable
               Draft email memo to BK re adequate protection under 363
               (e)

 10/27/22      eblander / Research                                       T        1.6           944.00
 #1012505      Asset Analysis and Recovery                                     590.00           Billable
               Research and analysis re: possession of property as
               potential interest in property research

 10/27/22      kortiz / Review Docs.                                     T        0.9           823.50
 #1014917      Asset Analysis and Recovery                                     915.00           Billable
               Review and comment on latest draft of opening brief.

 10/28/22      bkotliar / Comm. Others                                   T        1.0           810.00
 #1011053      Asset Analysis and Recovery                                     810.00           Billable
               Call with K&E, KO and JB regarding Debtors declaration
               and follow up internal call regarding same.




                                                    Page: 61
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 122&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/28/22      bkotliar / OC/TC strategy                                 T           0.4           324.00
 #1011055      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with JB regarding revisions to phase I brief.

 10/28/22      bkotliar / Inter Off Memo                                    T        0.2           162.00
 #1011056      Asset Analysis and Recovery                                        810.00           Billable
               Emails with TSS team regarding Fireblocks.

 10/28/22      jgallego / Research                                          T        2.8           980.00
 #1011183      Asset Analysis and Recovery                                        350.00           Billable
               Research re Fireblocks and involvement w/ Celsius

 10/28/22      jgallego / Inter Off Memo                                T            1.2           420.00
 #1011184      Asset Analysis and Recovery                                        350.00           Billable
               Draft email memo to KO, BK, JB re research re Fireblocks
               and involvement w/ Celsius

 10/28/22      jborriello / Attend Meeting                                  T        1.1           891.00
 #1011251      Asset Analysis and Recovery                                        810.00           Billable
               Participate in zoom conference with debtors' counsel re
               Blonstein declaration; post conference call follow-up with
               KO and BK re call with Debtors' counsel.

 10/28/22      jborriello / Comm. Profes.                                   T        0.1            81.00
 #1011252      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for debtor, committee
               and withhold group re phase I briefing deadlines.

 10/28/22      jborriello / Comm. Profes.                                   T        0.1            81.00
 #1011253      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with debtors' counsel re coin
               shortfall.

 10/28/22      jborriello / Prepare Meeting                                 T        0.5           405.00
 #1011254      Asset Analysis and Recovery                                        810.00           Billable
               Prepare for call with Debtors counsel re Blonstein
               declaration.




                                                     Page: 62
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 123&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/28/22      jborriello / Revise Docs.                                    T        2.6       2,106.00
 #1011255      Asset Analysis and Recovery                                        810.00        Billable
               Continued revision of Phase I brief.

 10/28/22      jborriello / Comm. Profes.                                   T        0.2           162.00
 #1013402      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for debtor, committee
               and withhold group re phase I briefing deadlines.

 10/28/22      jborriello / Comm. Profes.                                   T        0.1            81.00
 #1013403      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with debtors' counsel re coin
               shortfall.

 10/28/22      jborriello / Review Docs.                                    T        0.9           729.00
 #1013405      Asset Analysis and Recovery                                        810.00           Billable
               Review technical whitepapers on Fireblocks architecture
               and storage of private keys.

 10/28/22      jborriello / Review Docs.                                    T        0.2           162.00
 #1013406      Asset Analysis and Recovery                                        810.00           Billable
               Review JG interoffice memo re Fireblocks/Celsius
               relationship; email communications with JG re same.

 10/28/22      kortiz / Comm. Others                                        T        1.1       1,006.50
 #1014920      Asset Analysis and Recovery                                        915.00        Billable
               Communication with Kirkland on discrepancies on info in
               declaration and earlier responses (0.6); follow up OC with
               JB and BK (0.5).

 10/29/22      jborriello / Comm. Profes.                                   T        0.1            81.00
 #1011266      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for debtors and
               committee re Phase I brief, stablecoin contested matter,
               and examiner.




                                                      Page: 63
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 124&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 10/29/22      jborriello / Inter Off Memo                                  T        0.2           162.00
 #1011267      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re litigation
               strategy.

 10/30/22      jborriello / Comm. Profes.                                   T        0.2           162.00
 #1011271      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with K&E re coin shortfall.

 10/30/22      jborriello / Inter Off Memo                                  T        0.1            81.00
 #1011272      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with BK re phase 1 brief.

 10/30/22      jborriello / Draft Documents                                  T       1.3       1,053.00
 #1013431      Asset Analysis and Recovery                                        810.00        Billable
               Prepare analysis of coin shortfall on a coin and dollar basis
               between 6-3-22 and 6-20-22

 10/30/22      kortiz / Review Docs.                                        T        0.9           823.50
 #1014929      Asset Analysis and Recovery                                        915.00           Billable
               Review state law issues relating to opening brief.

 10/31/22      eblander / Draft Documents                                 T          1.7       1,003.00
 #1012558      Asset Analysis and Recovery                                        590.00        Billable
               Additional research re: case law and precedent re:
               possession of property research (.5); draft memo to BK re:
               summary and analysis of research (1.2)

 10/31/22      bkotliar / Comm. Client                                      T        0.8           648.00
 #1012644      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group regarding update, omnibus
               hearing and next steps.

 10/31/22      jborriello / Inter Off Memo                                  T        0.1            81.00
 #1013435      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re coin shortfall
               analysis.




                                                     Page: 64
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 125&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 10/31/22      jborriello / Review Docs.                                 T        1.2           972.00
 #1013436      Asset Analysis and Recovery                                     810.00           Billable
               Review and analysis of foreign case law and other legal
               authority re cryptocurrency.

 11/1/22       bkotliar / Attend Meeting                                 T        2.8       2,268.00
 #1012655      Asset Analysis and Recovery                                     810.00        Billable
               Attend November 1 omnibus hearing.

 11/1/22       bkotliar / Comm. Client                                   T        0.8           648.00
 #1012656      Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding update on hearing.

 11/1/22       bkotliar / Comm. Client                                   T        0.2           162.00
 #1012657      Asset Analysis and Recovery                                     810.00           Billable
               Emails with steering committee regarding phase I brief.

 11/1/22       bkotliar / Comm. Others                                   T        0.2           162.00
 #1012658      Asset Analysis and Recovery                                     810.00           Billable
               Emails with K&E and W&C regarding phase I issues in
               advance of brief filing.

 11/1/22       bkotliar / Comm. Others                                    T       0.1            81.00
 #1012659      Asset Analysis and Recovery                                     810.00           Billable
               Emails with Troutman regarding earn property of the estate
               issues.

 11/1/22       bkotliar / Revise Docs.                                   T        0.2           162.00
 #1012661      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise WIP report.

 11/1/22       bkotliar / Revise Docs.                                 T          1.5       1,215.00
 #1012662      Asset Analysis and Recovery                                     810.00        Billable
               Review and revise Phase I brief per KO and JB comments.




                                                    Page: 65
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 126&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/1/22       bkotliar / Revise Docs.                                     T        1.5       1,215.00
 #1012663      Asset Analysis and Recovery                                       810.00        Billable
               Review and revise Phase I brief per EB research and
               related case law.

 11/1/22       bkotliar / Inter Off Memo                                   T        0.6           486.00
 #1012664      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with TSS team regarding comments and
               open issues on Phase I brief.

 11/1/22       bkotliar / Revise Docs.                                     T        0.8           648.00
 #1012671      Asset Analysis and Recovery                                       810.00           Billable
               Continue to review and revise phase I opening brief per
               KO comments.

 11/1/22       kortiz / OC/TC strategy                                     T        0.5           457.50
 #1013514      Asset Analysis and Recovery                                       915.00           Billable
               Call with BK to discuss brief and proposed edits

 11/1/22       kortiz / OC/TC strategy                                     T        0.2           183.00
 #1013515      Asset Analysis and Recovery                                       915.00           Billable
               Review Kirkland edits to bar date language (0.1);
               communication with BK re: same (0.1)

 11/1/22       kortiz / Comm. Others                                       T        0.2           183.00
 #1013516      Asset Analysis and Recovery                                       915.00           Billable
               Communications with S. Hershey re: phase 1 briefing and
               committee position on property of the estate

 11/1/22       kortiz / Review Docs.                                       T        2.1       1,921.50
 #1013517      Asset Analysis and Recovery                                       915.00        Billable
               Review and comment on current draft of brief

 11/1/22       eblander / Inter Off Memo                                    T       0.3           177.00
 #1014636      Asset Analysis and Recovery                                       590.00           Billable
               Email to BK re: citations and authorities re: supplements to
               Motion re: turnover of Custody Account assets




                                                    Page: 66
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 127&
                                                    of Segal
                                                       211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 11/1/22       eblander / Revise Docs.                                       T        1.2           708.00
 #1014637      Asset Analysis and Recovery                                         590.00           Billable
               Review Motion regarding turnover of Custody Account
               assets and revise / supplement per citations and
               arguments re: research re: turnover of non-estate assets

 11/1/22       jborriello / Inter Off Memo                            T               0.2           162.00
 #1016387      Asset Analysis and Recovery                                         810.00           Billable
               Email communications with KO and BK re Celsius Phase I
               objection.

 11/1/22       jborriello / Revise Docs.                                     T        1.7       1,377.00
 #1016388      Asset Analysis and Recovery                                         810.00        Billable
               Continued review and revision of Celsius Phase I
               objection.

 11/2/22       bkotliar / Comm. Others                                       T        0.2           162.00
 #1012831      Asset Analysis and Recovery                                         810.00           Billable
               Emails with JB regarding distribution of brief for steering
               committee review.


 11/2/22       kortiz / OC/TC strategy                                       T        0.2           183.00
 #1013533      Asset Analysis and Recovery                                         915.00           Billable
               Communications with JB and BK re: providing Steering
               Committee with current draft

 11/2/22       lebrahimi / Correspondence                                    T        0.1            32.00
 #1014970      Asset Analysis and Recovery                                         320.00           Billable
               Email with BK re assignment re proofread phase 1 brief

 11/2/22       lebrahimi / OC/TC strategy                                    T        0.3            96.00
 #1014975      Asset Analysis and Recovery                                         320.00           Billable
               TC with JM re review / cite check / proofread checklist

 11/2/22       jborriello / Comm. Client                                     T        0.2           162.00
 #1016403      Asset Analysis and Recovery                                         810.00           Billable
               Email communications with SteerCo members re draft
               Phase I Brief.


                                                      Page: 67
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 128&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/2/22       jborriello / Inter Off Memo                                 T        0.2           162.00
 #1016404      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re draft Phase I
               Brief.

 11/2/22       jmurphy / Revise Docs.                                      T        0.5           175.00
 #1019496      Asset Analysis and Recovery                                       350.00           Billable
               Review and revise Phase I Opening Brief

 11/3/22       bkotliar / Revise Docs.                                     T        0.2           162.00
 #1012952      Asset Analysis and Recovery                                       810.00           Billable
               Review and comment on custody shortfall analysis.

 11/3/22       bkotliar / Comm. Client                                     T        0.8           648.00
 #1012953      Asset Analysis and Recovery                                       810.00           Billable
               Call with Steering Committee regarding brief comments
               and update.

 11/3/22       bkotliar / Revise Docs.                                     T        1.5       1,215.00
 #1012954      Asset Analysis and Recovery                                       810.00        Billable
               Continue to review and revise brief per KO and LE
               comments.


 11/3/22       bkotliar / Comm. Others                                     T        0.2           162.00
 #1012955      Asset Analysis and Recovery                                       810.00           Billable
               Emails with custody holder regarding comments on
               joinder.

 11/3/22       bkotliar / Inter Off Memo                                   T        0.3           243.00
 #1012963      Asset Analysis and Recovery                                       810.00           Billable
               Follow up summary email with client group following call.

 11/3/22       kortiz / Comm. Others                                       T        0.2           183.00
 #1013555      Asset Analysis and Recovery                                       915.00           Billable
               E-mails with Committee on property of the estate issue




                                                    Page: 68
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 129&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 11/3/22       kortiz / Review Docs.                                        T        1.4       1,281.00
 #1013556      Asset Analysis and Recovery                                        915.00        Billable
               Review and comment on latest draft of opening brief with
               additional focus on the preliminary statement

 11/3/22       kortiz / Review Docs.                                        T        0.2           183.00
 #1013557      Asset Analysis and Recovery                                        915.00           Billable
               Follow up communication with S. Hershey on Committee
               position on property of the estate

 11/3/22       kortiz / Review Docs.                                      T          0.6           549.00
 #1013558      Asset Analysis and Recovery                                        915.00           Billable
               Further review of the brief and communications with BK re:
               same

 11/3/22       jcohen / Inter Off Memo                                      T        0.1            35.50
 #1013741      Asset Analysis and Recovery                                        355.00           Billable
               E-mail(s) with BK and AS re Scheduling of strategy
               meeting on Phase 1 Brief.

 11/3/22       lebrahimi / Review Docs.                                     T        3.4       1,088.00
 #1014993      Asset Analysis and Recovery                                        320.00        Billable
               Proofread / key cite / cite check phase 1 brief for BK

 11/3/22       jborriello / Attend Meeting                                  T        1.0           810.00
 #1016413      Asset Analysis and Recovery                                        810.00           Billable
               Participate in conference call with SteerCo.

 11/3/22       jborriello / Review Docs.                                    T        0.5           405.00
 #1016414      Asset Analysis and Recovery                                        810.00           Billable
               Review revised Phase I Brief.

 11/3/22       jborriello / Revise Docs.                                    T        1.1           891.00
 #1016415      Asset Analysis and Recovery                                        810.00           Billable
               Review and revise Coin shortfall analysis for presentation
               to SteerCo.




                                                     Page: 69
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 130&
                                                    of Segal
                                                       211     LLP
                                                                                               12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                 9:31:49 AM

 Date                                                                                Hours      Slip Amount
 Slip Number                                                                  T/E     Rate     Billing Status


 11/4/22       jcohen / OC/TC strategy                                        T        0.2            71.00
 #1012995      Asset Analysis and Recovery                                          355.00           Billable
               TC with BK and AS re Filing of phase I opening brief and
               limited Objection to Debtor’s Motion seeking to reopen
               withdrawals.

 11/4/22       jcohen / OC/TC strategy                                     T           0.3           106.50
 #1013332      Asset Analysis and Recovery                                          355.00           Billable
               TC with AS re Filing of Phase 1 Brief, Exhibit and strategy
               on same.

 11/4/22       kortiz / Review Docs.                                          T        2.1       1,921.50
 #1013577      Asset Analysis and Recovery                                          915.00        Billable
               Review and comment on latest draft of opening brief with
               additional focus on the preliminary statement

 11/4/22       bkotliar / OC/TC strategy                                      T        0.4           324.00
 #1013706      Asset Analysis and Recovery                                          810.00           Billable
               Internal TSS filing coordination meeting.



 11/4/22       bkotliar / Revise Docs.                                        T        0.8           648.00
 #1013708      Asset Analysis and Recovery                                          810.00           Billable
               Review and revise phase I brief to finalize same for filing.

 11/4/22       bkotliar / Inter Off Memo                               T               0.5           405.00
 #1013709      Asset Analysis and Recovery                                          810.00           Billable
               Communicate with KO and JB regarding phase I brief open
               issues.

 11/4/22       bkotliar / Comm. Others                                        T        0.1            81.00
 #1013710      Asset Analysis and Recovery                                          810.00           Billable
               Emails with Troutman regarding phase I brief.


 11/4/22       bkotliar / Comm. Others                                        T        0.2           162.00
 #1013711      Asset Analysis and Recovery                                          810.00           Billable
               Emails with large custody holder regarding phase I brief.


                                                      Page: 70
        22-10964-mg      Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of            Togut, SegalPg 131&
                                                     of Segal
                                                        211     LLP
                                                                                               12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                     Client Billing Report                                9:31:49 AM

 Date                                                                                Hours      Slip Amount
 Slip Number                                                                  T/E     Rate     Billing Status


 11/4/22       astolp / OC/TC strategy                                        T        0.3            78.00
 #1014649      Asset Analysis and Recovery                                          260.00           Billable
               TC with JC re: filing of Phase I Brief, Exhibit and strategy
               on same

 11/4/22       jborriello / Comm. Profes.                                     T        0.1            81.00
 #1016425      Asset Analysis and Recovery                                          810.00           Billable
               Email communications with K&E re hearing transcripts.

 11/4/22       jborriello / OC/TC strategy                                    T        0.2           162.00
 #1016426      Asset Analysis and Recovery                                          810.00           Billable
               Telephone conference with BK re Phase I Brief.

 11/4/22       jborriello / Revise Docs.                                      T        1.4       1,134.00
 #1016427      Asset Analysis and Recovery                                          810.00        Billable
               Further review and revise Phase I Brief.

 11/5/22       kortiz / Inter Off Memo                                        T        0.9           823.50
 #1013589      Asset Analysis and Recovery                                          915.00           Billable
               E-mails and communications throughout the day with BK
               and JB on brief

 11/5/22       kortiz / Review Docs.                                          T        1.2       1,098.00
 #1013591      Asset Analysis and Recovery                                          915.00        Billable
               Initial high level review of briefs filed by other parties

 11/5/22       bkotliar / Revise Docs.                                        T        1.5       1,215.00
 #1013716      Asset Analysis and Recovery                                          810.00        Billable
               Review and finalize revisions to phase I brief.

 11/5/22       bkotliar / Inter Off Memo                                      T        0.8           648.00
 #1013717      Asset Analysis and Recovery                                          810.00           Billable
               Communicate with KO, JB and LE regarding additional
               brief research.




                                                        Page: 71
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 132&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 11/5/22       bkotliar / Comm. Client                                       T        0.3           243.00
 #1013718      Asset Analysis and Recovery                                         810.00           Billable
               Emails with client group regarding Phase I briefs.

 11/5/22       astolp / OC/TC strategy                                       T        0.2            52.00
 #1014696      Asset Analysis and Recovery                                         260.00           Billable
               OC with JC re: preparation of filing Phase I Brief

 11/5/22       astolp / OC/TC strategy                                       T        0.2            52.00
 #1014732      Asset Analysis and Recovery                                         260.00           Billable
               OC with JC re: updates from BK re: Phase I Brief filing

 11/5/22       astolp / OC/TC strategy                                        T       0.2            52.00
 #1014734      Asset Analysis and Recovery                                         260.00           Billable
               OC with JC re: potential timeline for filing Phase I Brief and
               strategy on same

 11/5/22       astolp / OC/TC strategy                                       T        0.2            52.00
 #1014741      Asset Analysis and Recovery                                         260.00           Billable
               OC with JC re: updating service list with NOA parties and
               general service strategy

 11/5/22       astolp / Inter Off Memo                                       T        0.3            78.00
 #1014744      Asset Analysis and Recovery                                         260.00           Billable
               Review emails from BK re: filing of Phase I Brief

 11/5/22       astolp / Inter Off Memo                                       T        0.2            52.00
 #1014747      Asset Analysis and Recovery                                         260.00           Billable
               Review emails from JC re: filing of Phase I Brief

 11/5/22       astolp / Prep Filing/Svc                                      T        0.4           104.00
 #1014749      Asset Analysis and Recovery                                         260.00           Billable
               Prepare documents for service re: Phase I Brief




                                                      Page: 72
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 133&
                                                    of Segal
                                                       211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 11/5/22       astolp / Prep Filing/Svc                                    T         0.5           130.00
 #1014751      Asset Analysis and Recovery                                        260.00           Billable
               Review docket for filings of other parties (Ad Hoc Group of
               Withhhold Account Holders, UCC), update BK and JC on
               same

 11/5/22       astolp / Review Docs.                                        T        0.7           182.00
 #1014755      Asset Analysis and Recovery                                        260.00           Billable
               Review Phase I brief in preparation for filing

 11/5/22       astolp / Revise Docs.                                        T        0.6           156.00
 #1014757      Asset Analysis and Recovery                                        260.00           Billable
               Prepare for service of Phase I Brief to counsel and
               chambers (draft email and add notice parties)

 11/5/22       astolp / Filing/Service                                      T        0.3            78.00
 #1014760      Asset Analysis and Recovery                                        260.00           Billable
               File Phase I Brief

 11/5/22       astolp / Filing/Service                                      T        0.2            52.00
 #1014762      Asset Analysis and Recovery                                        260.00           Billable
               Serve Phase I Brief on counsel and chambers (email)

 11/5/22       jcohen / OC/TC strategy                                      T        0.2            71.00
 #1014821      Asset Analysis and Recovery                                        355.00           Billable
               TC with AS re Preparation for filing Phase 1 Brief and
               strategy on same.

 11/5/22       jcohen / Review Docs.                                         T       0.4           142.00
 #1014822      Asset Analysis and Recovery                                        355.00           Billable
               Review brief re Phase 1 Brief in preparation for filing same.

 11/5/22       jcohen / OC/TC strategy                                      T        0.2            71.00
 #1014823      Asset Analysis and Recovery                                        355.00           Billable
               TC with AS re Filing status of Phase 1 Brief.




                                                      Page: 73
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 134&
                                                    of Segal
                                                       211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 11/5/22       jcohen / OC/TC strategy                                       T        0.2            71.00
 #1014824      Asset Analysis and Recovery                                         355.00           Billable
               TC with AS re Service of Brief.

 11/5/22       jcohen / OC/TC strategy                                       T        0.2            71.00
 #1014825      Asset Analysis and Recovery                                         355.00           Billable
               TC with AS re Filing status of brief and filing of Withhold
               Acct. Holders and UCC documents.

 11/5/22       jcohen / Inter Off Memo                                       T        0.2            71.00
 #1014826      Asset Analysis and Recovery                                         355.00           Billable
               E-mail(s) with BK and AS re Filing of Phase 1 Brief and
               service of same.

 11/5/22       jcohen / Prep Filing/Svc                                      T        0.3           106.50
 #1014827      Asset Analysis and Recovery                                         355.00           Billable
               Review finalized brief re Preparation for filing Phase 1
               Brief.

 11/5/22       jcohen / Inter Off Memo                                       T        0.2            71.00
 #1014828      Asset Analysis and Recovery                                         355.00           Billable
               Further e-mail(s) with AS re Filing of Phase 1 Brief, service
               and timeline.

 11/5/22       jcohen / Prep Filing/Svc                                      T        0.4           142.00
 #1014829      Asset Analysis and Recovery                                         355.00           Billable
               Review service list re Phase 1 Brief and reconcile same.

 11/5/22       jcohen / Prep Filing/Svc                                      T        0.4           142.00
 #1014830      Asset Analysis and Recovery                                         355.00           Billable
               Continue review of finalized service list re Service of
               Phase 1 Brief; address issues re notice parties.

 11/5/22       jcohen / Prep Filing/Svc                                      T        0.3           106.50
 #1014832      Asset Analysis and Recovery                                         355.00           Billable
               Prepare filing re Phase 1 Brief.




                                                      Page: 74
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 135&
                                                   of Segal
                                                      211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 11/5/22       jcohen / OC/TC strategy                                  T        0.1            35.50
 #1014833      Asset Analysis and Recovery                                    355.00           Billable
               TC with AS re Confirmation of filing and service;
               Communication re E-mail submission to Chambers.

 11/5/22       lebrahimi / Correspondence                               T        0.1            32.00
 #1015011      Asset Analysis and Recovery                                    320.00           Billable
               Email chain with BK re review / edit phase 1 brief

 11/5/22       lebrahimi / Revise Docs.                                 T        1.1           352.00
 #1015012      Asset Analysis and Recovery                                    320.00           Billable
               Review / Revise / cite check phase 1 brief for BK

 11/5/22       lebrahimi / OC/TC strategy                                T       0.3            96.00
 #1015013      Asset Analysis and Recovery                                    320.00           Billable
               TC with BK re research questions in connection with phase
               1 brief

 11/5/22       lebrahimi / Research                                     T        2.8           896.00
 #1015014      Asset Analysis and Recovery                                    320.00           Billable
               Research pre-judgement attachment issues in connection
               with phase 1 brief

 11/5/22       lebrahimi / Review Docs.                                 T        2.1           672.00
 #1015015      Asset Analysis and Recovery                                    320.00           Billable
               Review case law research re pre-judgement attachment
               issues in connection with phase 1 brief

 11/5/22       lebrahimi / Draft Documents                              T        1.9           608.00
 #1015016      Asset Analysis and Recovery                                    320.00           Billable
               Draft email memo to BK re case law research re pre-
               judgement attachment issues in connection with phase 1
               brief

 11/5/22       lebrahimi / OC/TC strategy                               T        0.1            32.00
 #1015017      Asset Analysis and Recovery                                    320.00           Billable
               TC with BK re case law research re pre-judgement
               attachment issues in connection with phase 1 brief



                                                     Page: 75
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 136&
                                                   of Segal
                                                      211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                           T/E      Rate     Billing Status


 11/5/22       lebrahimi / Review Docs.                                T         0.2            64.00
 #1015018      Asset Analysis and Recovery                                    320.00           Billable
               Review BK summary re research pre-judgement
               attachment issues in connection with phase 1 brief

 11/5/22       jborriello / Inter Off Memo                             T         0.3           243.00
 #1016445      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with KO, BK, and LE re Phase I
               Brief and final research issues.

 11/5/22       jborriello / Review Docs.                               T         0.4           324.00
 #1016446      Asset Analysis and Recovery                                    810.00           Billable
               Review interoffice memoranda from BK re pre-judgment
               attachment and injunction damages.

 11/5/22       jborriello / Revise Docs.                               T         1.8       1,458.00
 #1016447      Asset Analysis and Recovery                                    810.00        Billable
               Final review and revision of Phase I Brief.

 11/6/22       jborriello / Review Docs.                               T         1.1           891.00
 #1016450      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis of Phase I Briefs.

 11/6/22       jborriello / OC/TC strategy                              T        0.5           405.00
 #1016451      Asset Analysis and Recovery                                    810.00           Billable
               Telephone conference with BK re phase I briefs submitted
               by UCC, Debtors, and Withhold Group.

 11/6/22       jborriello / Inter Off Memo                             T         0.1            81.00
 #1016452      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with KO and BK re litigation
               strategy.

 11/7/22       bkotliar / Revise Docs.                                 T         0.2           162.00
 #1014136      Asset Analysis and Recovery                                    810.00           Billable
               Review and revise WIP report.




                                                     Page: 76
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 137&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 11/7/22       bkotliar / Revise Docs.                                      T        1.8       1,458.00
 #1014138      Asset Analysis and Recovery                                        810.00        Billable
               Draft and revise table summary of Phase I briefs for
               responding.

 11/7/22       bkotliar / OC/TC strategy                                    T        0.8           648.00
 #1014140      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with KO and JB regarding responding to
               phase I briefs.

 11/7/22       bkotliar / Comm. Client                                      T        0.3           243.00
 #1014143      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group regarding phase I briefs and next
               steps.


 11/7/22       jborriello / Comm. Profes.                                   T        0.2           162.00
 #1016454      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with K&E re Pending Withdrawal
               schedule.

 11/7/22       jborriello / Inter Off Memo                                  T        0.1            81.00
 #1016455      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re Phase I
               Opening Briefs.

 11/7/22       jborriello / OC/TC strategy                                  T        1.1           891.00
 #1016456      Asset Analysis and Recovery                                        810.00           Billable
               Zoom conference with KO and BK re reply to Phase I
               Opening Briefs.

 11/7/22       kortiz / Review Docs.                                         T       2.2       2,013.00
 #1017741      Asset Analysis and Recovery                                        915.00        Billable
               Review Committee filing (0.9); withhold filing (0.6); debtors
               filing (0.7)




                                                     Page: 77
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 138&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/7/22       kortiz / OC/TC strategy                                      T       0.9           823.50
 #1017742      Asset Analysis and Recovery                                       915.00           Billable
               Call with JB and BK on strategy for next set of briefing and
               reply to committee arguments

 11/8/22       bkotliar / Comm. Client                                     T        0.8           648.00
 #1014332      Asset Analysis and Recovery                                       810.00           Billable
               Call with client group regarding update on phase I briefs
               and next steps.

 11/8/22       bkotliar / Comm. Client                                     T        0.5           405.00
 #1014334      Asset Analysis and Recovery                                       810.00           Billable
               Email client group with summary of call.

 11/8/22       bkotliar / Revise Docs.                                     T        0.7           567.00
 #1014356      Asset Analysis and Recovery                                       810.00           Billable
               Begin drafting and revising phase I response brief.

 11/8/22       jborriello / Attend Meeting                                 T        0.9           729.00
 #1016471      Asset Analysis and Recovery                                       810.00           Billable
               Participate in zoom conference with Ad Hoc Group.

 11/8/22       jborriello / Review Docs.                                   T        0.1            81.00
 #1016473      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with Ad Hoc Group re Phase I
               Briefs.

 11/9/22       jlefkowitz / Research                                       T        0.3            58.50
 #1014738      Asset Analysis and Recovery                                       195.00           Billable
               Research prejudgment attachment of assets in custody at
               Celsius; research prejudgment attachment of assets
               without compensation

 11/9/22       jlefkowitz / OC/TC strategy                             T            0.3            58.50
 #1014795      Asset Analysis and Recovery                                       195.00           Billable
               OC with BK re research prejudgment attachment of assets
               in custody




                                                     Page: 78
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 139&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 11/9/22       kortiz / OC/TC strategy                                    T        0.1            91.50
 #1018173      Asset Analysis and Recovery                                      915.00           Billable
               Communication with BK and JB on witnesses for hearing

 11/10/22      bkotliar / Comm. Others                                    T        0.2           162.00
 #1014956      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with K&E regarding scheduling and
               depositions for earn property of the estate issues.

 11/10/22      bkotliar / Revise Docs.                                    T        0.5           405.00
 #1014957      Asset Analysis and Recovery                                      810.00           Billable
               Review and analyze recent pleadings for potential impact
               on case and property of the estate issues.

 11/10/22      jborriello / Comm. Profes.                                 T        0.1            81.00
 #1016529      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with K&E re Earn depositions.

 11/10/22      jborriello / Inter Off Memo                                T        0.1            81.00
 #1016530      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK and KO re Earn discovery
               and briefing schedule.

 11/10/22      jborriello / Review Docs.                                 T         0.3           243.00
 #1016531      Asset Analysis and Recovery                                      810.00           Billable
               Review Debtors motion to extend exclusivity period; email
               communications with BK and KO re bridge order/motion to
               extend exclusivity.

 11/11/22      bkotliar / Comm. Others                                    T        0.5           405.00
 #1015134      Asset Analysis and Recovery                                      810.00           Billable
               All hands call with K&E, W&C, Troutman and TSS
               regarding witness testimony for custody trial.




                                                     Page: 79
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 140&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/11/22      jborriello / Attend Meeting                                 T        0.3           243.00
 #1016550      Asset Analysis and Recovery                                       810.00           Billable
               Participate in zoom conference with counsel for debtors,
               committee, and withhold group re Custody and Withhold
               Phase I Hearing.

 11/11/22      jborriello / Inter Off Memo                                 T        0.2           162.00
 #1016551      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re hearing
               transcripts.

 11/11/22      jborriello / Prepare Meeting                                T        0.2           162.00
 #1016552      Asset Analysis and Recovery                                       810.00           Billable
               Prepare for meet-and-confer re Custody and Withhold
               Phase I Hearing.

 11/14/22      jlefkowitz / Research                                        T       0.8           156.00
 #1015551      Asset Analysis and Recovery                                       195.00           Billable
               Review of Phase I brief, limited objection to the debtors’
               motion, and authorization for reopening of withdrawal for
               ad hoc group of creditors; gaining context for research into
               due process issue that is at the center of brief

 11/14/22      astolp / Prep. Hearing                                      T        0.1            26.00
 #1015597      Asset Analysis and Recovery                                       260.00           Billable
               Register BK, KO and JB for 11/22/22 hearing

 11/14/22      astolp / Inter Off Memo                                    T         0.1            26.00
 #1015598      Asset Analysis and Recovery                                       260.00           Billable
               Review email from BK re: registration of BK, KO and JB for
               11/22/22 hearing

 11/14/22      bkotliar / Revise Docs.                                     T        0.8           648.00
 #1015633      Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise next client update email to be sent
               following hearing including review of docket and hearing
               prep.




                                                    Page: 80
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 141&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/14/22      bkotliar / Revise Docs.                                     T        2.5       2,025.00
 #1015634      Asset Analysis and Recovery                                       810.00        Billable
               Continue to draft and revise Phase I response brief
               including related research on setoff and bankruptcy issues.

 11/14/22      jborriello / Comm. Profes.                                  T        0.2           162.00
 #1016786      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with Examiner, KO, and BK re
               interview of Ad Hoc Group members.

 11/14/22      jborriello / Review Docs.                                   T        0.4           324.00
 #1016787      Asset Analysis and Recovery                                       810.00           Billable
               Review and analysis of NY law for setoff for Reply Brief.

 11/14/22      kortiz / Inter Off Memo                                     T        0.2           183.00
 #1018205      Asset Analysis and Recovery                                       915.00           Billable
               E-mails with JB and BK on client call with examiner

 11/15/22      bkotliar / Attend Hearing                                   T        1.0           810.00
 #1015814      Asset Analysis and Recovery                                       810.00           Billable
               Participate in November 15 hearing regarding bar date
               motion and related items.

 11/15/22      bkotliar / Revise Docs.                                     T        3.3       2,673.00
 #1015815      Asset Analysis and Recovery                                       810.00        Billable
               Continue to review and revise Phase I response brief.


 11/15/22      bkotliar / Comm. Others                                     T        0.4           324.00
 #1015816      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with large custody holder regarding
               responsive briefs and trial preparations.


 11/15/22      bkotliar / Comm. Client                                    T         0.6           486.00
 #1015818      Asset Analysis and Recovery                                       810.00           Billable
               Emails with client group regarding summary of hearing, bar
               date procedures, and next steps.



                                                     Page: 81
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 142&
                                                    of Segal
                                                       211     LLP
                                                                                               12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                 9:31:49 AM

 Date                                                                                Hours      Slip Amount
 Slip Number                                                                  T/E     Rate     Billing Status


 11/15/22      bkotliar / Comm. Client                                        T        0.2           162.00
 #1015819      Asset Analysis and Recovery                                          810.00           Billable
               Emails with clients regarding call with Examiner.

 11/15/22      bkotliar / Comm. Others                                        T        0.1            81.00
 #1015821      Asset Analysis and Recovery                                          810.00           Billable
               Emails with Examiner regarding call with custody group.


 11/15/22      jborriello / Attend Hearing                                    T        0.6           486.00
 #1016810      Asset Analysis and Recovery                                          810.00           Billable
               Participate in hearing before Judge Glenn.

 11/15/22      jborriello / Comm. Client                                      T        0.2           162.00
 #1016811      Asset Analysis and Recovery                                          810.00           Billable
               Email communications with Ad Hoc Group members
               regarding Examiner interview and hearing.

 11/15/22      jborriello / Comm. Profes.                                     T        0.2           162.00
 #1016812      Asset Analysis and Recovery                                          810.00           Billable
               Email communications with counsel for Examiner.

 11/15/22      jborriello / Inter Off Memo                               T             0.4           324.00
 #1016814      Asset Analysis and Recovery                                          810.00           Billable
               Email communications re setoff rights under New York law.

 11/15/22      astolp / Comm. Court                                    T               0.2            52.00
 #1021164      Asset Analysis and Recovery                                          260.00           Billable
               Communicate with MG Chambers to obtain link for hearing
               (BK : 11/15 at 2pm)

 11/15/22      dperson / Research                                             T        0.7           287.00
 #1022446      Asset Analysis and Recovery                                          410.00           Billable
               Assist BK with research re: cases relating to stay relief to
               assert setoffs of unsecured trade claims.




                                                      Page: 82
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 143&
                                                    of Segal
                                                       211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 11/15/22      dperson / Inter Off Memo                                      T        0.2            82.00
 #1022447      Asset Analysis and Recovery                                         410.00           Billable
               E-mails with BK re: cases relating to stay relief to assert
               setoffs of unsecured trade claims.

 11/16/22      bkotliar / Comm. Others                                    T           0.2           162.00
 #1016127      Asset Analysis and Recovery                                         810.00           Billable
               Emails with Examiner and clients regarding call to discuss
               Custody.

 11/16/22      bkotliar / Revise Docs.                                       T        2.5       2,025.00
 #1016129      Asset Analysis and Recovery                                         810.00        Billable
               Continue to review and revise Phase I response brief.


 11/16/22      jborriello / Comm. Profes.                                    T        0.1            81.00
 #1016838      Asset Analysis and Recovery                                         810.00           Billable
               Email communications with counsel for debtors re coin
               report for pending withdrawals.

 11/16/22      jborriello / Comm. Profes.                                    T        0.1            81.00
 #1016845      Asset Analysis and Recovery                                         810.00           Billable
               Email communications with counsel for the Committee
               regarding draft questions.

 11/16/22      jborriello / Comm. Profes.                             T               0.2           162.00
 #1016847      Asset Analysis and Recovery                                         810.00           Billable
               Telephone communications with counsel for Committee re
               draft questions to Debtors.

 11/16/22      jborriello / Inter Off Memo                                   T        0.2           162.00
 #1016848      Asset Analysis and Recovery                                         810.00           Billable
               Email communications with BK and KO re coin report for
               pending custody withdrawals and UCC questions for
               debtors.

 11/17/22      kortiz / Review Docs.                                         T        1.4       1,281.00
 #1016170      Asset Analysis and Recovery                                         915.00        Billable
               Review and comment on Committee opening brief


                                                      Page: 83
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 144&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 11/17/22      bkotliar / Comm. Client                                   T        0.2           162.00
 #1016576      Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding Examiner call.

 11/17/22      bkotliar / Comm. Client                                   T        1.0           810.00
 #1016577      Asset Analysis and Recovery                                     810.00           Billable
               Weekly status update call with client group.

 11/17/22      bkotliar / Revise Docs.                                   T        2.4       1,944.00
 #1016579      Asset Analysis and Recovery                                     810.00        Billable
               Continue to revise and revise Phase I response brief.

 11/17/22      bkotliar / Comm. Others                                   T        0.6           486.00
 #1016580      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with JB and LE regarding response brief
               research.


 11/17/22      bkotliar / Comm. Others                                   T        0.2           162.00
 #1016581      Asset Analysis and Recovery                                     810.00           Billable
               Emails with K&E regarding pre-trial status conference
               coordination and open diligence.

 11/17/22      lebrahimi / OC/TC strategy                                T        0.2            64.00
 #1017067      Asset Analysis and Recovery                                     320.00           Billable
               Communications with BK re substantive unconscionability
               research

 11/17/22      lebrahimi / Research                                      T        3.2       1,024.00
 #1017068      Asset Analysis and Recovery                                     320.00        Billable
               Research re substantive unconscionability cases in NY

 11/17/22      lebrahimi / Draft Documents                               T        0.6           192.00
 #1017069      Asset Analysis and Recovery                                     320.00           Billable
               Draft memo to BK re substantive unconscionability
               research




                                                     Page: 84
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 145&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 11/17/22      jborriello / Attend Meeting                                T       0.9           729.00
 #1017390      Asset Analysis and Recovery                                     810.00           Billable
               Participate in zoom conference with ad hoc group re status
               of Ch. 11 cases.

 11/17/22      jborriello / Comm. Client                                 T        0.2           162.00
 #1017391      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with ad hoc group members
               participating in examiner interview.

 11/17/22      jborriello / Comm. Client                                 T        0.2           162.00
 #1017392      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with ad hoc group members
               participating in examiner interview.

 11/17/22      jborriello / Comm. Profes.                                T        0.1            81.00
 #1017393      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with K&E re status of pending
               withdrawal coin report.

 11/17/22      jborriello / Draft Documents                              T        0.5           405.00
 #1017394      Asset Analysis and Recovery                                     810.00           Billable
               Prepare follow-up questions for Debtors supplemental
               declaration for Phase I hearing.

 11/17/22      jborriello / Prepare Meeting                              T        0.8           648.00
 #1017395      Asset Analysis and Recovery                                     810.00           Billable
               Prepare for meeting with Examiner and Ad Hoc Group
               members.

 11/17/22      kortiz / Review Docs.                                     T        1.1       1,006.50
 #1022664      Asset Analysis and Recovery                                     915.00        Billable
               Review and annotate Debtors’ opening brief

 11/17/22      kortiz / Comm. Others                                     T        0.1            91.50
 #1022668      Asset Analysis and Recovery                                     915.00           Billable
               Communication with parties re: meet and confer ahead of
               status conference



                                                   Page: 85
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 146&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 11/18/22      lebrahimi / Research                                       T       2.7           864.00
 #1017079      Asset Analysis and Recovery                                     320.00           Billable
               Research re substantive unconscionability cases (follow up
               research from BK)

 11/18/22      lebrahimi / Correspondence                                T        0.2            64.00
 #1017080      Asset Analysis and Recovery                                     320.00           Billable
               Communications with BK re follow up substantive
               unconscionability research

 11/18/22      jborriello / Inter Off Memo                               T        0.2           162.00
 #1017416      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with LE and BK re unconscionable
               contracts.

 11/18/22      jborriello / Attend Meeting                               T        0.9           729.00
 #1018727      Asset Analysis and Recovery                                     810.00           Billable
               Participate in Examiner interview of ad hoc group
               members.

 11/18/22      jborriello / Comm. Profes.                                T        0.2           162.00
 #1018728      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with K&E re depositions.

 11/18/22      jborriello / Revise Docs.                                 T        0.4           324.00
 #1018729      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise Reply Brief.

 11/19/22      jborriello / Comm. Profes.                           T             0.1            81.00
 #1018744      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with K&E re Acknowledgements of
               Confidentiality Agreement & Protective Order.

 11/19/22      jborriello / Draft Documents                              T        0.3           243.00
 #1018745      Asset Analysis and Recovery                                     810.00           Billable
               Prepare Acknowledgements of Confidentiality Agreement
               & Protective Order for KO, BK, & JB; email
               communications with KO and BK re same.



                                                    Page: 86
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 147&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                               9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 11/19/22      jborriello / Inter Off Memo                                  T        0.2           162.00
 #1018746      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with KO and BK re Reply Brief.

 11/19/22      jborriello / Research                                        T        0.6           486.00
 #1018747      Asset Analysis and Recovery                                        810.00           Billable
               Research & analysis re interest of the debtor in property.

 11/19/22      jborriello / Revise Docs.                                    T        0.9           729.00
 #1018748      Asset Analysis and Recovery                                        810.00           Billable
               Review and revise Reply Brief.

 11/19/22      kortiz / Review Docs.                                        T        1.1       1,006.50
 #1022741      Asset Analysis and Recovery                                        915.00        Billable
               Review current draft of reply brief in connection with
               starting hearing prep

 11/20/22      kortiz / Prep. Hearing                                       T        3.2       2,928.00
 #1022744      Asset Analysis and Recovery                                        915.00        Billable
               Review key cases in preparation for hearing with notes
               and annotates, distinguishing factors, etc

 11/21/22      lebrahimi / Draft Documents                                  T        1.2           384.00
 #1017108      Asset Analysis and Recovery                                        320.00           Billable
               Draft memo to BK re substantive unconscionability follow
               up research

 11/21/22      lebrahimi / Research                                         T        2.6           832.00
 #1017109      Asset Analysis and Recovery                                        320.00           Billable
               Research re substantive unconscionability follow up
               research

 11/21/22      lebrahimi / Correspondence                                   T        0.2            64.00
 #1017110      Asset Analysis and Recovery                                        320.00           Billable
               Communications with BK re substantive unconscionability
               follow up research




                                                      Page: 87
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 148&
                                                    of Segal
                                                       211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                            9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 11/21/22      lebrahimi / Revise Docs.                                  T        0.6           192.00
 #1017111      Asset Analysis and Recovery                                     320.00           Billable
               Revise / cite check BK substantive unconscionability
               excerpt

 11/21/22      jlefkowitz / Research                                     T        2.4           468.00
 #1017122      Asset Analysis and Recovery                                     195.00           Billable
               Research Second Circuit standards for injunctions

 11/21/22      bkotliar / Comm. Others                                   T        0.5           405.00
 #1017213      Asset Analysis and Recovery                                     810.00           Billable
               Participate in pre-trial conference coordination call.


 11/21/22      bkotliar / Inter Off Memo                                 T        0.7           567.00
 #1017214      Asset Analysis and Recovery                                     810.00           Billable
               Emails with TSS team regarding open research projects
               and comments on same.


 11/21/22      bkotliar / Inter Off Memo                                 T        0.3           243.00
 #1017215      Asset Analysis and Recovery                                     810.00           Billable
               Emails with JB regarding revisions to response brief.

 11/21/22      bkotliar / Revise Docs.                                    T       1.0           810.00
 #1017217      Asset Analysis and Recovery                                     810.00           Billable
               Draft and revise arguments regarding alleged shortfall and
               related examiner report findings.


 11/21/22      jborriello / Attend Deposition                            T        7.5       6,075.00
 #1018751      Asset Analysis and Recovery                                     810.00        Billable
               Attend deposition of Celsius CFO

 11/21/22      jborriello / Attend Meeting                               T        0.3           243.00
 #1018752      Asset Analysis and Recovery                                     810.00           Billable
               Participate in Phase I pre-trial conference.




                                                      Page: 88
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 149&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                                 T/E     Rate     Billing Status


 11/21/22      jborriello / Revise Docs.                                     T        2.6       2,106.00
 #1018753      Asset Analysis and Recovery                                         810.00        Billable
               Review and revise Phase I Reply Brief.

 11/22/22      bkotliar / Revise Docs.                                       T        0.3           243.00
 #1017639      Asset Analysis and Recovery                                         810.00           Billable
               Review and revise Phase I brief per JB.


 11/22/22      bkotliar / Prep. Hearing                                      T        1.0           810.00
 #1017640      Asset Analysis and Recovery                                         810.00           Billable
               Prepare for and participate in pre-trial status conference.


 11/22/22      bkotliar / Comm. Client                                       T        0.3           243.00
 #1017641      Asset Analysis and Recovery                                         810.00           Billable
               Emails with client group regarding pre-trial status
               conference update.

 11/22/22      jborriello / Discovery                                        T        3.5       2,835.00
 #1018763      Asset Analysis and Recovery                                         810.00        Billable
               Attend deposition of Oren Blonstein - UCC portion of
               examination.

 11/22/22      jborriello / Discovery                                        T        1.0           810.00
 #1018764      Asset Analysis and Recovery                                         810.00           Billable
               Attend deposition of Oren Blonstein - UST portion of
               examination

 11/22/22      jborriello / Discovery                                        T        0.6           486.00
 #1018765      Asset Analysis and Recovery                                         810.00           Billable
               Attend deposition of Oren Blonstein - Texas AG portion of
               examination.

 11/22/22      jborriello / Discovery                                        T        0.4           324.00
 #1018766      Asset Analysis and Recovery                                         810.00           Billable
               Attend deposition of Oren Blonstein - State Attorney
               General portion of examination.



                                                      Page: 89
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 150&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 11/22/22      jborriello / Discovery                                       T        1.7       1,377.00
 #1018767      Asset Analysis and Recovery                                        810.00        Billable
               Attend deposition of Oren Blonstein - pro se defendants
               portion of examination.

 11/22/22      jborriello / Comm. Profes.                                   T        0.2           162.00
 #1018768      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with debtors counsel concerning
               pending withdrawals and Custody coin assets & liabilities.

 11/22/22      jborriello / Review Docs.                                    T        0.1            81.00
 #1018769      Asset Analysis and Recovery                                        810.00           Billable
               Review and analysis of pending withdrawal spreadsheet.

 11/22/22      jborriello / Review Docs.                                    T        1.1           891.00
 #1018770      Asset Analysis and Recovery                                        810.00           Billable
               Further review and analysis of Examiner Report.

 11/22/22      astolp / Inter Off Memo                                      T        0.1            26.00
 #1021204      Asset Analysis and Recovery                                        260.00           Billable
               Review email from BK re: pending withdrawals from
               Custody and Withhold Accounts

 11/22/22      astolp / Inter Off Memo                                      T        0.1            26.00
 #1021216      Asset Analysis and Recovery                                        260.00           Billable
               Email BK re: confirmation of hearing link

 11/23/22      kortiz / Review Docs.                                        T        0.6           549.00
 #1017768      Asset Analysis and Recovery                                        915.00           Billable
               Begin review of response brief and provide comments

 11/23/22      jborriello / Comm. Profes.                                   T        0.2           162.00
 #1018797      Asset Analysis and Recovery                                        810.00           Billable
               Email communications with counsel for the Debtors and
               the Committee re supplemental declaration.




                                                     Page: 90
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 151&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                               9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 11/23/22      jborriello / Comm. Profes.                                 T        0.1            81.00
 #1018798      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with counsel for the Committee re
               depositions.

 11/23/22      jborriello / Inter Off Memo                                T        0.2           162.00
 #1018799      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK and KO re reply brief.

 11/24/22      kortiz / Review Docs.                                      T        2.7       2,470.50
 #1022843      Asset Analysis and Recovery                                      915.00        Billable
               Continue to review various related cases and prepare for
               hearing

 11/25/22      jborriello / Inter Off Memo                                T        0.1            81.00
 #1018821      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with KO and BK re Phase I Reply
               Brief.

 11/25/22      kortiz / Review Docs.                                      T        4.3       3,934.50
 #1022842      Asset Analysis and Recovery                                      915.00        Billable
               Review and comment on draft response brief

 11/26/22      kortiz / Review Docs.                                      T        2.8       2,562.00
 #1017739      Asset Analysis and Recovery                                      915.00        Billable
               Review and comment on response brief

 11/26/22      jborriello / Inter Off Memo                                T        0.2           162.00
 #1018823      Asset Analysis and Recovery                                      810.00           Billable
               Email communications with BK and KO re Phase I Reply
               Brief and Committee request for Ad Hoc Group joinder in
               opposition to Debtors' exclusivity motion.

 11/27/22      kortiz / Review Docs.                                      T        1.4       1,281.00
 #1017740      Asset Analysis and Recovery                                      915.00        Billable
               Review cases cited in response brief as part of developing
               arguments for trial




                                                   Page: 91
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 152&
                                                   of Segal
                                                      211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                           T/E      Rate     Billing Status


 11/27/22      jborriello / Inter Off Memo                             T         0.1            81.00
 #1018824      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with BK and KO re setoff case law.

 11/28/22      jborriello / Comm. Profes.                              T         0.1            81.00
 #1018827      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re status of supplemental
               declaration for Phase I hearing and admissibility of
               examiner's report.

 11/28/22      jborriello / Inter Off Memo                             T         0.1            81.00
 #1018828      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with BK and KO re supplemental
               Blonstein Declaration.

 11/28/22      kortiz / Review Docs.                                   T         0.8           732.00
 #1022868      Asset Analysis and Recovery                                    915.00           Billable
               Continued review and modification of response brief

 11/29/22      bkotliar / Revise Docs.                                 T         0.5           405.00
 #1018483      Asset Analysis and Recovery                                    810.00           Billable
               Review Earn property of the estate briefing.

 11/29/22      bkotliar / Revise Docs.                                 T         2.5       2,025.00
 #1018485      Asset Analysis and Recovery                                    810.00        Billable
               Continue to review and revise Phase I response brief
               including per KO comments.

 11/29/22      bkotliar / Inter Off Memo                               T         0.3           243.00
 #1018486      Asset Analysis and Recovery                                    810.00           Billable
               Emails with KO and JB regarding examiner report
               stipulation for phase I trial.

 11/29/22      jborriello / Comm. Profes.                              T         0.1            81.00
 #1018857      Asset Analysis and Recovery                                    810.00           Billable
               Email communications with K&E re hearing transcripts.




                                                    Page: 92
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 153&
                                                    of Segal
                                                       211     LLP
                                                                                               12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                     Client Billing Report                                9:31:49 AM

 Date                                                                                Hours      Slip Amount
 Slip Number                                                                  T/E     Rate     Billing Status


 11/29/22      jborriello / Inter Off Memo                                    T        0.7           567.00
 #1018858      Asset Analysis and Recovery                                          810.00           Billable
               Interoffice memo to KO and BK re proposed structure for
               designating admissible portions of the Examiner's Report.

 11/29/22      jborriello / OC/TC strategy                                    T        0.2           162.00
 #1018859      Asset Analysis and Recovery                                          810.00           Billable
               Office conference with BK re Reply Brief.

 11/29/22      jborriello / Research                                   T               0.6           486.00
 #1018860      Asset Analysis and Recovery                                          810.00           Billable
               Research and analysis of admissibility of an examiner's
               report (0.5); email communications with KO & BK re same
               (0.1)

 11/29/22      jborriello / Review Docs.                                       T       1.2           972.00
 #1018862      Asset Analysis and Recovery                                          810.00           Billable
               Review and analysis of 11/22 hearing transcript and expert
               report for potential exclusions from admissibility stipulation.

 11/29/22      astolp / Inter Off Memo                                        T        0.1            26.00
 #1021273      Asset Analysis and Recovery                                          260.00           Billable
               Review email from BK re: Celsius objections to Debtors’
               motion to sell stablecoins

 11/29/22      astolp / Review Docs.                                          T        0.9           234.00
 #1021274      Asset Analysis and Recovery                                          260.00           Billable
               Compile list of objections, briefs and declarations re:
               Debtors’ motion to sell stablecoins, circulate to BK and
               update case file

 11/29/22      astolp / Inter Off Memo                                        T        0.1            26.00
 #1021278      Asset Analysis and Recovery                                          260.00           Billable
               Review emails from BK, JB re: 12/5 hearing live lines

 11/29/22      astolp / Prep. Hearing                                         T        0.3            78.00
 #1021279      Asset Analysis and Recovery                                          260.00           Billable
               Register BK, KO, JB for live lines / listen lines re: 12/5
               omnibus hearing


                                                       Page: 93
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 154&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 11/29/22      kortiz / Review Docs.                                       T        0.9           823.50
 #1022880      Asset Analysis and Recovery                                       915.00           Billable
               Finalize hand mark up of response brief (0.7);
               communications with BK on same (0.2)

 11/29/22      kortiz / Review Docs.                                       T        1.2       1,098.00
 #1022884      Asset Analysis and Recovery                                       915.00        Billable
               Review examiner report and proposed designations (0.8);
               communication with JB and BK re: stipulating to
               admissibility (0.4)

 11/30/22      lebrahimi / Research                                        T        2.8           896.00
 #1018695      Asset Analysis and Recovery                                       320.00           Billable
               Research re property of the estate in connection with
               phase 1 response brief

 11/30/22      lebrahimi / Correspondence                                  T        0.5           160.00
 #1018696      Asset Analysis and Recovery                                       320.00           Billable
               Communications with BK re property of the estate
               research in connection with phase 1 response brief

 11/30/22      lebrahimi / Review Docs.                                     T       0.9           288.00
 #1018697      Asset Analysis and Recovery                                       320.00           Billable
               Revise and fill in cites in connection with phase 1 response
               brief

 11/30/22      jborriello / Attend Meeting                                 T        1.0           810.00
 #1018922      Asset Analysis and Recovery                                       810.00           Billable
               Participate in zoom conference with Ad hoc group
               members.

 11/30/22      jborriello / Inter Off Memo                                 T        0.2           162.00
 #1018923      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with KO and BK re Examiner
               Report designations.




                                                    Page: 94
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 155&
                                                   of Segal
                                                      211     LLP
                                                                                         12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                            9:31:49 AM

 Date                                                                          Hours      Slip Amount
 Slip Number                                                            T/E     Rate     Billing Status


 11/30/22      jborriello / OC/TC strategy                              T        0.4           324.00
 #1018924      Asset Analysis and Recovery                                    810.00           Billable
               Office conference with BS re admissibility of examiner
               reports.

 11/30/22      jborriello / Review Docs.                                T        1.3       1,053.00
 #1018925      Asset Analysis and Recovery                                    810.00        Billable
               Review and designate portions of Examiner Report as
               admissible.

 11/30/22      jborriello / Review Docs.                                T        0.4           324.00
 #1018926      Asset Analysis and Recovery                                    810.00           Billable
               Further review and analysis of Examiner report for
               admissible designations.

 11/30/22      jborriello / Review Docs.                                T        0.2           162.00
 #1018927      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis re LE research re property of the
               estate and jurisdiction of bankruptcy court.

 11/30/22      jborriello / Review Docs.                                T        0.6           486.00
 #1018928      Asset Analysis and Recovery                                    810.00           Billable
               Review and analysis re revised Blonstein Declaration;
               compare recalculated shortfall to internal analysis.

 11/30/22      jborriello / Revise Docs.                                T        0.7           567.00
 #1018929      Asset Analysis and Recovery                                    810.00           Billable
               Review and revise BK revised draft of Reply Brief.

 11/30/22      bkotliar / Revise Docs.                                  T        3.7       2,997.00
 #1019001      Asset Analysis and Recovery                                    810.00        Billable
               Continue to review and revise Phase I response brief.

 11/30/22      bkotliar / Revise Docs.                                  T        1.5       1,215.00
 #1019002      Asset Analysis and Recovery                                    810.00        Billable
               Continue to research property of the estate and burden
               issues for Phase I response brief.




                                                    Page: 95
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 156&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 11/30/22      bkotliar / Inter Off Memo                                 T        1.1           891.00
 #1019003      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with KO, JB, LE, and JL regarding open
               research questions and comments for phase I response
               brief.


 11/30/22      bkotliar / Inter Off Memo                                 T        0.9           729.00
 #1019004      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with JB and Troutman regarding examiner
               report designations and evidentiary issues.


 11/30/22      bkotliar / Revise Docs.                                   T        0.4           324.00
 #1019005      Asset Analysis and Recovery                                     810.00           Billable
               Review and revise examiner report admissibility
               stipulation.


 11/30/22      bshaughne / OC/TC strategy                                T        0.7           598.50
 #1021104      ssy Analysis and Recovery
               Asset                                                           855.00           Billable
               Meetings with JB re 12/7 trial prep issues.

 11/30/22      rhoward / OC/TC strategy                                  T        0.4           306.00
 #1022406      Asset Analysis and Recovery                                     765.00           Billable
               OC with BK re research concerning burden of proofs in
               bankruptcy estate asset disputes

 11/30/22      rhoward / Review Docs.                                    T        1.8       1,377.00
 #1022408      Asset Analysis and Recovery                                     765.00        Billable
               Reviewed briefing in connection with debtors' motion to
               reopen withdrawals for certain customers

 12/1/22       bkotliar / Comm. Others                                   T        0.6           486.00
 #1019221      Asset Analysis and Recovery                                     810.00           Billable
               Call with K&E and JB regarding supplemental Blonstein
               declaration and shortfall.




                                                     Page: 96
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 157&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 12/1/22       bkotliar / OC/TC strategy                                    T        1.0           810.00
 #1019222      Asset Analysis and Recovery                                        810.00           Billable
               Communicate with KO and JB regarding comments to
               phase I brief and related issues.


 12/1/22       bkotliar / Comm. Client                                   T           0.4           324.00
 #1019223      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group and steering committee regarding
               Blonstein declarations and phase I brief.

 12/1/22       bkotliar / Revise Docs.                                 T             1.0           810.00
 #1019224      Asset Analysis and Recovery                                        810.00           Billable
               Review and comment on blonstein declarations for impact
               on Phase I brief.

 12/1/22       bkotliar / Revise Docs.                                   T           2.0       1,620.00
 #1019225      Asset Analysis and Recovery                                        810.00        Billable
               Continue to review and revise Phase I brief per KO and JB
               comments.

 12/1/22       bkotliar / Revise Docs.                                      T        1.2           972.00
 #1019226      Asset Analysis and Recovery                                        810.00           Billable
               Review and revise Phase I brief for injunction and stay
               issues.

 12/1/22       bkotliar / Comm. Others                              T                0.2           162.00
 #1019227      Asset Analysis and Recovery                                        810.00           Billable
               Emails with RH Montgomery counsel regarding comments
               on joinder.

 12/1/22       bkotliar / Revise Docs.                                      T        0.3           243.00
 #1019228      Asset Analysis and Recovery                                        810.00           Billable
               Draft BTC / ETH price comparison for response brief.

 12/1/22       bkotliar / Revise Docs.                                      T        0.6           486.00
 #1019229      Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise preliminary statement for response brief.



                                                     Page: 97
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 158&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 12/1/22       lebrahimi / Research                                       T        2.1           672.00
 #1020999      Asset Analysis and Recovery                                      320.00           Billable
               Research case law defining “legal process” in connection
               with phase II brief

 12/1/22       lebrahimi / OC/TC strategy                                 T        0.2            64.00
 #1021000      Asset Analysis and Recovery                                      320.00           Billable
               Communications with BK re research case law defining
               “legal process” in connection with phase II brief

 12/1/22       lebrahimi / Review Docs.                                   T        2.5           800.00
 #1021002      Asset Analysis and Recovery                                      320.00           Billable
               Revise and citecheck phase II brief

 12/1/22       astolp / OC/TC strategy                                    T        0.1            26.00
 #1024704      Asset Analysis and Recovery                                      260.00           Billable
               OC with CS re: 12/2 service of Phase I Response Brief

 12/1/22       astolp / Inter Off Memo                                    T        0.1            26.00
 #1024706      Asset Analysis and Recovery                                      260.00           Billable
               Email CS re: 12/2 service of Phase I Response Brief

 12/1/22       astolp / Prep Filing/Svc                                   T        0.4           104.00
 #1024707      Asset Analysis and Recovery                                      260.00           Billable
               Prepare for service of Phase I Response Brief (Prepare
               envelopes, labels)

 12/1/22       astolp / Inter Off Memo                                    T        0.1            26.00
 #1027827      Asset Analysis and Recovery                                      260.00           Billable
               Email BK re: filing of Phase I response brief

 12/1/22       kortiz / Prep. Hearing                                  T           3.2       2,928.00
 #1028432      Asset Analysis and Recovery                                      915.00        Billable
               Review in depth cases cited by Committee and Debtor and
               distinguish and annotate same




                                                     Page: 98
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 159&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 12/1/22       kortiz / Comm. Others                                     T        0.3           274.50
 #1028437      Asset Analysis and Recovery                                     915.00           Billable
               Communications with BK re: Worldcom decision on
               needing to demonstrate risk of non-collectablility

 12/1/22       kortiz / Review Docs.                                     T        1.2       1,098.00
 #1028447      Asset Analysis and Recovery                                     915.00        Billable
               Review and revise phase 1 response, with particualr
               emphasis on redrafting preliminary statement

 12/2/22       bkotliar / Inter Off Memo                                 T        0.6           486.00
 #1019624      Asset Analysis and Recovery                                     810.00           Billable
               Emails with TSS team regarding finalizing Phase I
               response brief.

 12/2/22       bkotliar / Inter Off Memo                                 T        0.3           243.00
 #1019625      Asset Analysis and Recovery                                     810.00           Billable
               Communicate with AS regarding coordinating filing and
               service of Phase I response brief.

 12/2/22       bkotliar / Inter Off Memo                                  T       0.2           162.00
 #1019626      Asset Analysis and Recovery                                     810.00           Billable
               Emails with LE regarding reviewing Phase I response brief.

 12/2/22       bkotliar / Revise Docs.                                   T        4.3       3,483.00
 #1019627      Asset Analysis and Recovery                                     810.00        Billable
               Continue to review and revise and finalize Phase I
               response brief for filing.

 12/2/22       bkotliar / Comm. Client                                   T        0.3           243.00
 #1019628      Asset Analysis and Recovery                                     810.00           Billable
               Emails with client group regarding parties’ Phase I
               response briefs.

 12/2/22       bkotliar / Revise Docs.                                   T        1.0           810.00
 #1019629      Asset Analysis and Recovery                                     810.00           Billable
               Begin reviewing and revising Phase I response briefs from
               other parties.



                                                     Page: 99
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 160&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 12/2/22       lebrahimi / Review Docs.                                  T        6.0       1,920.00
 #1021019      Asset Analysis and Recovery                                     320.00        Billable
               Revise and citecheck phase II brief

 12/2/22       lebrahimi / Correspondence                                T        0.4           128.00
 #1021021      Asset Analysis and Recovery                                     320.00           Billable
               Communications with BK re revisions to phase II brief

 12/2/22       jborriello / Discovery                                    T        1.1           891.00
 #1023309      Asset Analysis and Recovery                                     810.00           Billable
               Attend Blonstein deposition

 12/2/22       jborriello / Revise Docs.                                 T        4.1       3,321.00
 #1023310      Asset Analysis and Recovery                                     810.00        Billable
               Review and revise Phase I Response Brief.

 12/2/22       rhoward / Research                                         T       5.1       3,901.50
 #1026964      Asset Analysis and Recovery                                     765.00        Billable
               Researched burden shifting applicable to litigation
               addressing determinations of bankruptcy estate property in
               preparation for drafting Burden Shifting Memo

 12/2/22       rhoward / Draft Documents                                 T        1.4       1,071.00
 #1026965      Asset Analysis and Recovery                                     765.00        Billable
               Drafted Burden Shifting Memo

 12/2/22       rhoward / Research                                        T        0.5           382.50
 #1026967      Asset Analysis and Recovery                                     765.00           Billable
               Researched In re Rollings in connection with Burden
               Shifting Memo

 12/2/22       rhoward / Inter Off Memo                                  T        0.5           382.50
 #1026968      Asset Analysis and Recovery                                     765.00           Billable
               Emailed BK re issues addressed in In re Rollings (0.2);
               Emailed KO re Burden Shifting Memo (0.3)




                                                     Page: 100
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 161&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 12/2/22       rhoward / Inter Off Memo                                 T         0.3           229.50
 #1026972      Asset Analysis and Recovery                                     765.00           Billable
               Emailed KO re caselaw generally applying burden shifting
               schema

 12/2/22       astolp / Review Docs.                                     T        1.1           286.00
 #1027833      Asset Analysis and Recovery                                     260.00           Billable
               Review Phase I Response Brief in preparation for filing

 12/2/22       astolp / Filing/Service                                   T        0.3            78.00
 #1027834      Asset Analysis and Recovery                                     260.00           Billable
               File Phase I Response Brief

 12/2/22       astolp / Prep Filing/Svc                                  T        0.3            78.00
 #1027835      Asset Analysis and Recovery                                     260.00           Billable
               Prepare for FCM service of Phase I Response Brief

 12/2/22       astolp / Filing/Service                                 T          0.3            78.00
 #1027861      Asset Analysis and Recovery                                     260.00           Billable
               Serve Phase I Response Brief to Chambers + main service
               list

 12/2/22       astolp / OC/TC strategy                                   T        0.1            26.00
 #1027914      Asset Analysis and Recovery                                     260.00           Billable
               OC with DP re: filing of Phase I Response Brief

 12/2/22       astolp / Inter Off Memo                                   T        0.2            52.00
 #1027921      Asset Analysis and Recovery                                     260.00           Billable
               Email BK and KO re: registration for 12/7 and 12/8
               hearings

 12/2/22       astolp / Prep. Hearing                                    T        0.2            52.00
 #1027925      Asset Analysis and Recovery                                     260.00           Billable
               Register BK and KO for 12/7 and 12/8 hearings




                                                    Page: 101
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 162&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 12/2/22       dperson / OC/TC strategy                                    T        0.1            41.00
 #1028239      Asset Analysis and Recovery                                       410.00           Billable
               OC with AS re: review and preparing for filing of Phase I
               Response Brief.

 12/2/22       kortiz / Review Docs.                                       T        0.8           732.00
 #1028449      Asset Analysis and Recovery                                       915.00           Billable
               Review and comment on revised draft of response brief

 12/2/22       kortiz / Prep. Hearing                                      T        0.2           183.00
 #1028451      Asset Analysis and Recovery                                       915.00           Billable
               Communication with team concerning case summaries
               and what need for hearing prep

 12/3/22       bkotliar / Revise Docs.                                  T           3.8       3,078.00
 #1019630      Asset Analysis and Recovery                                       810.00        Billable
               Continue drafting and revising case summary notes for KO
               for hearing.

 12/3/22       bkotliar / Inter Off Memo                                   T        1.2           972.00
 #1019631      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with KO and JB regarding hearing
               preparation and case summaries and additional
               arguments.

 12/3/22       bkotliar / Inter Off Memo                                   T        0.5           405.00
 #1019632      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with LE regarding research on stay and
               preference questions.


 12/3/22       bkotliar / Revise Docs.                                     T        0.3           243.00
 #1019633      Asset Analysis and Recovery                                       810.00           Billable
               Review and comment on LE research and related issues.




                                                    Page: 102
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 163&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 12/3/22       lebrahimi / Research                                         T        1.3           416.00
 #1021035      Asset Analysis and Recovery                                        320.00           Billable
               Research whether property that is not property of the
               estate is subject to the automatic stay in connection with
               hearing prep

 12/3/22       lebrahimi / Research                                       T          3.1           992.00
 #1021038      Asset Analysis and Recovery                                        320.00           Billable
               Research re case law discussing value vs property
               returned under section 550 in connection with hearing prep

 12/3/22       lebrahimi / Draft Documents                                T          0.6           192.00
 #1021040      Asset Analysis and Recovery                                        320.00           Billable
               Draft memo to BK re case law discussing value vs property
               returned under section 550 in connection with hearing prep

 12/3/22       lebrahimi / Draft Documents                                T          0.5           160.00
 #1021041      Asset Analysis and Recovery                                        320.00           Billable
               Draft memo to BK re research whether property that is not
               property of the estate is subject to the automatic stay in
               connection with hearing prep

 12/3/22       lebrahimi / Correspondence                              T             0.5           160.00
 #1021042      Asset Analysis and Recovery                                        320.00           Billable
               Communications with BK re research issues in connection
               with hearing prep

 12/3/22       jborriello / OC/TC strategy                                  T        0.3           243.00
 #1023319      Asset Analysis and Recovery                                        810.00           Billable
               Communications with KO and BK re case summaries for
               Phase I hearing.

 12/3/22       jborriello / Draft Documents                                 T        2.6       2,106.00
 #1023320      Asset Analysis and Recovery                                        810.00        Billable
               Prepare one page case summaries for Phase I hearing




                                                    Page: 103
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 164&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 12/3/22       kortiz / Prep. Hearing                                     T        4.2       3,843.00
 #1028472      Asset Analysis and Recovery                                      915.00        Billable
               Review materials and mooting arguments in connection
               with upcoming hearing

 12/3/22       kortiz / Prep. Hearing                                     T        5.1       4,666.50
 #1028474      Asset Analysis and Recovery                                      915.00        Billable
               Review case summaries and work into case notes, moot
               arguments

 12/4/22       bkotliar / Inter Off Memo                                  T        0.6           486.00
 #1019635      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with KO and JB regarding hearing
               preparation and additional research.

 12/4/22       bkotliar / Revise Docs.                                    T        1.5       1,215.00
 #1019636      Asset Analysis and Recovery                                      810.00        Billable
               Draft and revise UCC and Debtors’ case summaries for
               KO for hearing prep.

 12/4/22       bkotliar / Revise Docs.                                    T        1.0           810.00
 #1019637      Asset Analysis and Recovery                                      810.00           Billable
               Draft and revise legal standards summaries for KO for
               hearing prep.

 12/5/22       lebrahimi / Research                                       T        3.5       1,120.00
 #1021057      Asset Analysis and Recovery                                      320.00        Billable
               Research re possessory interests and property of the
               estate in connection with hearing prep.

 12/5/22       lebrahimi / Correspondence                                  T       0.5           160.00
 #1021059      Asset Analysis and Recovery                                      320.00           Billable
               Communications with BK re research possessory interests
               and property of the estate in connection with hearing prep.

 12/5/22       lebrahimi / Draft Documents                                T        0.7           224.00
 #1021060      Asset Analysis and Recovery                                      320.00           Billable
               Draft memo discussing research of possessory interests
               and property of the estate


                                                   Page: 104
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 165&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                             9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 12/5/22       bkotliar / Comm. Client                                    T        0.6           486.00
 #1022200      Asset Analysis and Recovery                                      810.00           Billable
               Email client group regarding summary of 12/5 hearings.


 12/5/22       bkotliar / Comm. Client                                     T       0.1            81.00
 #1022206      Asset Analysis and Recovery                                      810.00           Billable
               Emails with Steerco and KO regarding call prior to hearing.

 12/5/22       bkotliar / Attend Hearing                                  T        5.0       4,050.00
 #1022209      Asset Analysis and Recovery                                      810.00        Billable
               Attend Earn issue and omnibus hearing December 5.

 12/5/22       bkotliar / Comm. Others                                    T        0.4           324.00
 #1022212      Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E, W&C, Troutman and KO regarding pre-
               trial logistics and exhibits.

 12/5/22       bkotliar / OC/TC strategy                                  T        0.4           324.00
 #1022215      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with KO regarding hearing preparation.

 12/5/22       astolp / Prep. Hearing                                     T        2.5           650.00
 #1023541      Asset Analysis and Recovery                                      260.00           Billable
               Gather cases from Westlaw re: Celsius Phase I Briefs
               (Custody, UCC, Debtors)

 12/5/22       astolp / Revise Docs.                                      T        1.7           442.00
 #1023543      Asset Analysis and Recovery                                      260.00           Billable
               Prepare affidavit of service for Phase I Response Brief
               (200+ recipients)

 12/5/22       astolp / Filing/Service                                    T        0.2            52.00
 #1023544      Asset Analysis and Recovery                                      260.00           Billable
               File affidavit of service for Phase I Response Brief




                                                     Page: 105
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 166&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                              9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 12/5/22       astolp / Inter Off Memo                                     T        0.1            26.00
 #1023546      Asset Analysis and Recovery                                       260.00           Billable
               Email CS re: notarized affidavit of service

 12/5/22       astolp / Prep. Hearing                                  T            0.7           182.00
 #1027967      Asset Analysis and Recovery                                       260.00           Billable
               Compile and organize Westlaw case research within case
               file -- divide into sections for each individual binder

 12/5/22       kortiz / Comm. Others                                       T        0.6           549.00
 #1028484      Asset Analysis and Recovery                                       915.00           Billable
               Communications with JB and BK on contract claim,
               changes in program, and other issues that may arise

 12/5/22       kortiz / Comm. Others                                       T        2.1       1,921.50
 #1028485      Asset Analysis and Recovery                                       915.00        Billable
               Continue to moot arguments

 12/6/22       bkotliar / Revise Docs.                                     T        0.8           648.00
 #1022220      Asset Analysis and Recovery                                       810.00           Billable
               Continue to review and revise hearing prep materials.

 12/6/22       bkotliar / Inter Off Memo                                   T        0.5           405.00
 #1022222      Asset Analysis and Recovery                                       810.00           Billable
               Communicate with KO and AS regarding hearing prep
               materials.


 12/6/22       bkotliar / Comm. Client                                     T        0.6           486.00
 #1022223      Asset Analysis and Recovery                                       810.00           Billable
               Call with steering committee prior to hearing to finalize
               open questions.

 12/6/22       bkotliar / Comm. Others                                 T            0.4           324.00
 #1022225      Asset Analysis and Recovery                                       810.00           Billable
               Emails with KE and WC regarding hearing coordination on
               logistics and evidence.




                                                     Page: 106
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 167&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 12/6/22       astolp / Prep. Hearing                                      T        3.8           988.00
 #1023537      Asset Analysis and Recovery                                       260.00           Billable
               Compile and prepare binders for BK re: relevant case law
               from Phase I Briefs (UCC, Debtors, Withhold, Custody)

 12/6/22       astolp / Prep. Hearing                                      T        1.1           286.00
 #1023540      Asset Analysis and Recovery                                       260.00           Billable
               Gather and compile case law from Westlaw(Withhold
               Phase I Brief)

 12/6/22       kortiz / Comm. Others                                     T          6.6       6,039.00
 #1028486      Asset Analysis and Recovery                                       915.00        Billable
               Hearing prep with BK and review all pleadings, cases, and
               arguments in prep for hearing

 12/6/22       dperson / Research                                           T       1.1           451.00
 #1028756      Asset Analysis and Recovery                                       410.00           Billable
               Assist with research re: related case citations from Phase I
               Briefs. (.9) E-mails with AS re: obtaining same (.2).

 12/7/22       lebrahimi / Research                                        T        0.3            96.00
 #1022177      Asset Analysis and Recovery                                       320.00           Billable
               Research Collier on Bankruptcy 7054 in connection with
               hearing questions

 12/7/22       lebrahimi / Correspondence                                  T        0.2            64.00
 #1022179      Asset Analysis and Recovery                                       320.00           Billable
               Communications with BK / DP re Collier on Bankruptcy
               7054 in connection with hearing questions

 12/7/22       kortiz / Attend Hearing                                    T         6.0       5,490.00
 #1022864      Asset Analysis and Recovery                                       915.00        Billable
               Court hearing on Phase 1 including morning (3.4) and
               afternoon sessions (2.1); prep ahead of hearing in morning
               of (0.5)




                                                    Page: 107
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 168&
                                                    of Segal
                                                       211     LLP
                                                                                               12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                 9:31:49 AM

 Date                                                                                Hours      Slip Amount
 Slip Number                                                                  T/E     Rate     Billing Status


 12/8/22       bkotliar / Comm. Client                                        T        1.1           891.00
 #1022615      Asset Analysis and Recovery                                          810.00           Billable
               Call with Steering Committee regarding settlement
               proposal.

 12/8/22       bkotliar / Comm. Client                                        T        0.5           405.00
 #1022616      Asset Analysis and Recovery                                          810.00           Billable
               Emails with Steering Committee regarding settlement
               proposal.

 12/8/22       bkotliar / Revise Docs.                                        T        0.5           405.00
 #1022617      Asset Analysis and Recovery                                          810.00           Billable
               Draft and revise settlement proposal.

 12/9/22       bkotliar / Comm. Others                                        T        0.2           162.00
 #1022625      Asset Analysis and Recovery                                          810.00           Billable
               Emails with K&E regarding status of procedures order
               revisions.

 12/9/22       bkotliar / Revise Docs.                                        T        0.8           648.00
 #1022627      Asset Analysis and Recovery                                          810.00           Billable
               Draft and revise settlement proposal and related email
               transmission.

 12/9/22       bkotliar / Comm. Client                                        T        1.0           810.00
 #1022628      Asset Analysis and Recovery                                          810.00           Billable
               Call with Steering Committee and revise settlement
               proposal.

 12/9/22       kortiz / Comm. Client                                           T       1.9       1,738.50
 #1022633      Asset Analysis and Recovery                                          915.00        Billable
               Call with Steering Committee to discuss potential
               settlement constructs (on for part of call) (1.2); review draft
               settlement communication (0.3); settlement concepts e-
               mails with BK (0.4)

 12/10/22      bkotliar / Comm. Others                                        T        0.5           405.00
 #1023011      Asset Analysis and Recovery                                          810.00           Billable
               Call with K&E regarding settlement construct.


                                                      Page: 108
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 169&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 12/12/22      bkotliar / Comm. Others                                   T        0.5           405.00
 #1023051      Asset Analysis and Recovery                                     810.00           Billable
               Call with K&E, W&C and Troutman regarding phase 2
               schedule and phase 1 order.


 12/12/22      bkotliar / Comm. Client                                   T        0.3           243.00
 #1023052      Asset Analysis and Recovery                                     810.00           Billable
               Emails with Steering Committee regarding update on
               settlement.

 12/12/22      bkotliar / Revise Docs.                                   T        0.3           243.00
 #1023054      Asset Analysis and Recovery                                     810.00           Billable
               Review and comment on limited withdrawal motion order
               and emails with K&E and W&C regarding same.

 12/12/22      jborriello / Comm. Client                                 T        0.1            81.00
 #1023345      Asset Analysis and Recovery                                     810.00           Billable
               Email communications with clients re Phase II meet-and-
               confer with counsel for debtors and UCC.

 12/13/22      astolp / Revise Docs.                                     T        0.4           104.00
 #1028258      Asset Analysis and Recovery                                     260.00           Billable
               Process new client intake information (retainer,
               engagement letter), email BK re: same and update case
               file

 12/14/22      bkotliar / Comm. Others                                   T        0.5           405.00
 #1023493      Asset Analysis and Recovery                                     810.00           Billable
               Call with Troutman regarding settlement discussions and
               scheduling on Phase II.


 12/14/22      bkotliar / Comm. Client                                   T        0.5           405.00
 #1023494      Asset Analysis and Recovery                                     810.00           Billable
               Emails with Steering Committee regarding limited
               withdrawal proposed order and related issues and review
               same.




                                                  Page: 109
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 170&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 12/15/22      astolp / Prep. Hearing                                      T        0.2            52.00
 #1028307      Asset Analysis and Recovery                                       260.00           Billable
               Register BK and KO for live lines (12/20 Celsius hearing)

 12/15/22      astolp / Inter Off Memo                                     T        0.1            26.00
 #1028308      Asset Analysis and Recovery                                       260.00           Billable
               Review email from BK re: 12/20 hearing registration

 12/16/22      bkotliar / Comm. Others                                     T        0.4           324.00
 #1023783      Asset Analysis and Recovery                                       810.00           Billable
               Call with K&E, WC and Troutman regarding settlement.

 12/16/22      bkotliar / Comm. Client                                     T        0.5           405.00
 #1023784      Asset Analysis and Recovery                                       810.00           Billable
               Emails with Steering Committee regarding update on
               settlement and mediation motion.

 12/16/22      bkotliar / Revise Docs.                                     T        1.0           810.00
 #1023785      Asset Analysis and Recovery                                       810.00           Billable
               Draft and revise mediation joinder.


 12/16/22      bkotliar / Comm. Others                                     T        0.2           162.00
 #1023786      Asset Analysis and Recovery                                       810.00           Billable
               Calls with Venable and Troutman regarding mediation
               joinder.


 12/18/22      jborriello / Inter Off Memo                                 T        0.2           162.00
 #1027074      Asset Analysis and Recovery                                       810.00           Billable
               Email communications with BK re joinder to Mediation
               Motion.

 12/18/22      jborriello / Revise Docs.                                   T        0.7           567.00
 #1027075      Asset Analysis and Recovery                                       810.00           Billable
               Review and revise joinder to Mediation Motion.




                                                     Page: 110
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 171&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 12/19/22      bkotliar / Comm. Client                                   T           0.6           486.00
 #1023968      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group and Steering Committee regarding
               proposed order on limited withdrawal motion and
               mediation issues.

 12/19/22      bkotliar / Revise Docs.                                     T         0.4           324.00
 #1023969      Asset Analysis and Recovery                                        810.00           Billable
               Review and finalize mediation joinder and coordinate filing
               of same.

 12/19/22      bkotliar / Revise Docs.                                       T       1.0           810.00
 #1023970      Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise bullets and talking points for 12/20 hearing
               on mediation and limited withdrawal order.

 12/19/22      jborriello / OC/TC strategy                                  T        0.2           162.00
 #1027080      Asset Analysis and Recovery                                        810.00           Billable
               Email and telephone communications with KO and BK re
               litigation strategy for Phase II.

 12/19/22      astolp / Inter Off Memo                                      T        0.1            26.00
 #1028341      Asset Analysis and Recovery                                        260.00           Billable
               Email BK re: filing of Joinder to Motion Appointing a
               Mediator

 12/19/22      astolp / Prep Filing/Svc                                 T            0.6           156.00
 #1028342      Asset Analysis and Recovery                                        260.00           Billable
               Prepare for filing of Joinder to Motion Appointing a
               Mediator - read document and analyze docket for previous
               relevant filings

 12/19/22      astolp / Filing/Service                                      T        0.2            52.00
 #1028349      Asset Analysis and Recovery                                        260.00           Billable
               File Joinder to Motion Appointing a Mediator




                                                    Page: 111
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 172&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 12/19/22      astolp / Filing/Service                                      T        0.4           104.00
 #1028350      Asset Analysis and Recovery                                        260.00           Billable
               Serve Joinder to Motion Appointing a Mediator upon
               chambers and email service list

 12/20/22      bkotliar / Comm. Client                                   T           0.6           486.00
 #1024220      Asset Analysis and Recovery                                        810.00           Billable
               Emails with client group and Steering Committee regarding
               proposed order on limited withdrawal motion and
               mediation issues.

 12/20/22      bkotliar / Revise Docs.                                     T         0.4           324.00
 #1024222      Asset Analysis and Recovery                                        810.00           Billable
               Review and finalize mediation joinder and coordinate filing
               of same.

 12/20/22      bkotliar / Revise Docs.                                       T       1.0           810.00
 #1024224      Asset Analysis and Recovery                                        810.00           Billable
               Draft and revise bullets and talking points for 12/20 hearing
               on mediation and limited withdrawal order.

 12/20/22      astolp / Filing/Service                                      T        1.0           260.00
 #1028352      Asset Analysis and Recovery                                        260.00           Billable
               Serve Joinder to Motion Appointing a Mediator upon FCM
               service list and chambers

 12/20/22      astolp / Inter Off Memo                                      T        0.2            52.00
 #1028385      Asset Analysis and Recovery                                        260.00           Billable
               Download Dkt No. 1767 and circulate to BK, update case
               file on same

 12/21/22      lebrahimi / Research                                         T        3.8       1,216.00
 #1024283      Asset Analysis and Recovery                                        320.00        Billable
               Research for BK re 363(e) adequate protection

 12/21/22      astolp / Revise Docs.                                        T        0.6           156.00
 #1028390      Asset Analysis and Recovery                                        260.00           Billable
               Prepare AOS of Joinder to Motion Appointing a Mediator



                                                    Page: 112
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 173&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 12/21/22      astolp / Filing/Service                                    T        0.2            52.00
 #1028391      Asset Analysis and Recovery                                      260.00           Billable
               File AOS of Joinder to Motion Appointing a Mediator

 12/27/22      bkotliar / Comm. Client                                    T        0.3           243.00
 #1024781      Asset Analysis and Recovery                                      810.00           Billable
               Email with client group regarding next update call.


 12/27/22      bkotliar / Comm. Others                                    T        0.2           162.00
 #1024782      Asset Analysis and Recovery                                      810.00           Billable
               Emails with K&E and W&C regarding Phase II data and
               settlement counter.


 12/27/22      bkotliar / Revise Docs.                                    T        0.2           162.00
 #1024783      Asset Analysis and Recovery                                      810.00           Billable
               Review and revise WIP report.

 12/27/22      astolp / Inter Off Memo                                    T        0.1            26.00
 #1028477      Asset Analysis and Recovery                                      260.00           Billable
               Email BK re: hearing registration

 12/27/22      astolp / Prep. Hearing                                     T        0.2            52.00
 #1028478      Asset Analysis and Recovery                                      260.00           Billable
               Register BK and KO for 1/10, 1/11, 1/12 Celsius hearings

 12/29/22      bkotliar / Comm. Others                                    T        0.2           162.00
 #1024960      Asset Analysis and Recovery                                      810.00           Billable
               Communicate with Troutman regarding settlement.

 12/29/22      bkotliar / Comm. Client                                    T        0.2           162.00
 #1024961      Asset Analysis and Recovery                                      810.00           Billable
               Email update to steering committee.




                                                     Page: 113
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 174&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                             9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 1/4/23        bkotliar / Comm. Client                                    T        0.6           552.00
 #1025618      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding Earn decision and
               review same.

 1/4/23        bkotliar / Comm. Client                                    T        0.5           460.00
 #1025619      Asset Analysis and Recovery                                      920.00           Billable
               Weekly status call with client group.


 1/4/23        bkotliar / Comm. Client                                    T        0.4           368.00
 #1025620      Asset Analysis and Recovery                                      920.00           Billable
               Communicate with clients regarding withdrawal motion
               distributions.

 1/5/23        bkotliar / Comm. Others                                    T        0.4           368.00
 #1025954      Asset Analysis and Recovery                                      920.00           Billable
               Call with Troutman regarding next steps on Phase II.

 1/5/23        bkotliar / Comm. Others                                    T        0.1            92.00
 #1025955      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding call to discuss custody
               withdrawals.

 1/6/23        astolp / Review Docs.                                      T        1.5           442.50
 #1031533      Asset Analysis and Recovery                                      295.00           Billable
               Begin review of Pure Custody Celsius spreadsheet and
               analyze to find clients’ account information

 1/9/23        bkotliar / Comm. Client                                    T        0.2           184.00
 #1027777      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Steering Committee regarding next group call
               and strategy.

 1/9/23        bkotliar / Comm. Client                                    T        0.2           184.00
 #1027778      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding next group call and
               strategy.



                                                       Page: 114
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 175&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 1/9/23        astolp / Review Docs.                                  T            2.4           708.00
 #1031290      Asset Analysis and Recovery                                      295.00           Billable
               Review Pure Custody Celsius spreadsheet and analyze to
               find clients’ account information

 1/9/23        astolp / Inter Off Memo                                    T        0.1            29.50
 #1031292      Asset Analysis and Recovery                                      295.00           Billable
               Email BK re: review of Pure Custody spreadsheet

 1/9/23        astolp / Revise Docs.                                   T           0.8           236.00
 #1031293      Asset Analysis and Recovery                                      295.00           Billable
               Edit Pure Custody spreadsheet per BK review request and
               re-circulate re: same

 1/10/23       bkotliar / Comm. Others                                    T        0.8           736.00
 #1028818      Asset Analysis and Recovery                                      920.00           Billable
               Call with Celsius, K&E, W&C, and Troutman regarding
               custody withdrawals.

 1/10/23       bkotliar / Comm. Client                                    T        0.5           460.00
 #1028819      Asset Analysis and Recovery                                      920.00           Billable
               Call with Steering Committee and follow up emails
               regarding Custody withdrawals and Phase II.

 1/12/23       bkotliar / Comm. Client                                    T        0.5           460.00
 #1029414      Asset Analysis and Recovery                                      920.00           Billable
               Client group update call.

 1/12/23       bkotliar / Comm. Client                                    T        0.4           368.00
 #1029415      Asset Analysis and Recovery                                      920.00           Billable
               Follow up with client group with summary following call.

 1/12/23       astolp / Review Docs.                                      T        0.2            59.00
 #1030644      Asset Analysis and Recovery                                      295.00           Billable
               Consult pure custody designation spreadsheet for
               dispersion to clients




                                                    Page: 115
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 176&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                             T/E       Rate     Billing Status


 1/12/23       astolp / Comm. Client                                     T         0.1             29.50
 #1030646      Asset Analysis and Recovery                                      295.00            Billable
               Communicate with client re: pure custody designation
               spreadsheet

 1/13/23       kortiz / Review Docs.                                     T          5.0       5,125.00
 #1036974      Asset Analysis and Recovery                                     1,025.00        Billable
               Notes: Review transcript from Dec hearing

 1/15/23       bkotliar / Comm. Others                              T              0.3            276.00
 #1029913      Asset Analysis and Recovery                                      920.00            Billable
               Emails with K&E regarding comments on correspondence
               to chambers regarding status of custody withdrawals.

 1/16/23       bkotliar / Comm. Others                                   T         0.6            552.00
 #1030041      Asset Analysis and Recovery                                      920.00            Billable
               Communicate with Troutman regarding Phase II
               coordination and arguments.

 1/17/23       bkotliar / Comm. Others                                   T         0.2            184.00
 #1030416      Asset Analysis and Recovery                                      920.00            Billable
               Emails with K&E regarding status of data for phase II.

 1/17/23       bkotliar / Comm. Others                                   T         0.3            276.00
 #1030417      Asset Analysis and Recovery                                      920.00            Billable
               Emails with Troutman regarding settlement proposal and
               potential plan structure.

 1/18/23       bkotliar / Revise Docs.                                   T         1.0            920.00
 #1031232      Asset Analysis and Recovery                                      920.00            Billable
               Draft and revise chapter 11 plan term sheet.

 1/18/23       bkotliar / Comm. Others                                   T         0.7            644.00
 #1031234      Asset Analysis and Recovery                                      920.00            Billable
               Call with D. Adler and D. Kovsky-Apap regarding Celsius
               chapter 11 plan.




                                                    Page: 116
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 177&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                              9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 1/18/23       astolp / Review Docs.                                       T        0.1            29.50
 #1032253      Asset Analysis and Recovery                                       295.00           Billable
               Analyze Pure Custody spreadsheet per client diligence
               request

 1/18/23       astolp / Comm. Client                                       T        0.1            29.50
 #1032254      Asset Analysis and Recovery                                       295.00           Billable
               Email client re: consultation of Pure Custody spreadsheet

 1/19/23       bkotliar / Comm. Client                                     T        0.3           276.00
 #1031760      Asset Analysis and Recovery                                       920.00           Billable
               Call with D. Little regarding plan term sheet.

 1/19/23       bkotliar / Comm. Others                                     T        0.6           552.00
 #1031761      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding custody distributions and
               Phase II data.

 1/19/23       bkotliar / Comm. Client                                     T        0.3           276.00
 #1031762      Asset Analysis and Recovery                                       920.00           Billable
               Emails with steering committee regarding shortfall issue.

 1/19/23       bkotliar / Revise Docs.                                     T        0.7           644.00
 #1031763      Asset Analysis and Recovery                                       920.00           Billable
               Review and diligence plan term sheet.

 1/19/23       bkotliar / OC/TC strategy                               T            0.4           368.00
 #1031764      Asset Analysis and Recovery                                       920.00           Billable
               Communicate with KO regarding shortfall issue and Judge
               Glenn order.


 1/19/23       astolp / Prep. Hearing                                      T        0.1            29.50
 #1032291      Asset Analysis and Recovery                                       295.00           Billable
               Register BK, KO for live lines for Jan 24 hearing




                                                     Page: 117
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 178&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                 9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                               T/E       Rate     Billing Status


 1/19/23       astolp / Inter Off Memo                                     T         0.1             29.50
 #1032293      Asset Analysis and Recovery                                        295.00            Billable
               Email BK re: registration for Jan 24 hearing

 1/22/23       bkotliar / Comm. Client                                     T         0.6            552.00
 #1031830      Asset Analysis and Recovery                                        920.00            Billable
               Emails with steering committee regarding settlement
               counter.

 1/22/23       bkotliar / Comm. Others                                     T         0.8            736.00
 #1031831      Asset Analysis and Recovery                                        920.00            Billable
               Call with K&E, W&C and Troutman regarding phase II
               schedule, limited withdrawals, and settlement.

 1/22/23       bkotliar / Inter Off Memo                                   T         0.4            368.00
 #1031832      Asset Analysis and Recovery                                        920.00            Billable
               Communicate with KO and JB regarding settlement and
               Phase II.

 1/22/23       bkotliar / Comm. Others                                     T         0.3            276.00
 #1031833      Asset Analysis and Recovery                                        920.00            Billable
               Call with K&E regarding settlement.


 1/22/23       kortiz / Review Docs.                                       T          1.4       1,435.00
 #1036994      Asset Analysis and Recovery                                       1,025.00        Billable
               Review draft settlement proposal (1.1); communication
               with BK re: same (0.3)

 1/23/23       bkotliar / Comm. Client                                     T         0.8            736.00
 #1032183      Asset Analysis and Recovery                                        920.00            Billable
               Emails with client group regarding update and scheduling
               next call; review agenda for next hearing and prepare for
               same.


 1/23/23       bkotliar / Comm. Client                                     T         1.5        1,380.00
 #1032186      Asset Analysis and Recovery                                        920.00         Billable
               Call with steering committee regarding settlement.


                                                     Page: 118
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 179&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                           T/E       Rate     Billing Status


 1/23/23       bkotliar / Comm. Others                                 T         0.3            276.00
 #1032188      Asset Analysis and Recovery                                    920.00            Billable
               Communicate with KO and K&E regarding shortfall
               resolution and related issues.

 1/23/23       bkotliar / Revise Docs.                                 T         0.7            644.00
 #1032191      Asset Analysis and Recovery                                    920.00            Billable
               Begin reviewing and revising settlement term sheet.


 1/23/23       bkotliar / Comm. Others                                 T         0.2            184.00
 #1032194      Asset Analysis and Recovery                                    920.00            Billable
               Communicate with Troutman regarding phase II schedule
               and plan issues.

 1/24/23       kortiz / Prep. Hearing                                   T      0.2              205.00
 #1032248      Asset Analysis and Recovery                                1,025.00              Billable
               Prep for hearing on status conference concerning custody
               release of pure custody

 1/24/23       kortiz / Attend Hearing                                 T          2.1       2,152.50
 #1032249      Asset Analysis and Recovery                                   1,025.00        Billable
               Attend hearing on among other things, custody status
               conference

 1/24/23       bkotliar / Attend Hearing                               T         2.5        2,300.00
 #1032450      Asset Analysis and Recovery                                    920.00         Billable
               Participate in hearing January 24.

 1/24/23       bkotliar / Comm. Client                                 T         0.6            552.00
 #1032451      Asset Analysis and Recovery                                    920.00            Billable
               Draft and circulate hearing summary to client group.

 1/24/23       bkotliar / Comm. Client                                 T         1.0            920.00
 #1032452      Asset Analysis and Recovery                                    920.00            Billable
               Call with client group regarding update on settlement
               discussions and Phase II.




                                                    Page: 119
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 180&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                           T/E       Rate     Billing Status


 1/24/23       bkotliar / Comm. Client                                 T         0.6            552.00
 #1032454      Asset Analysis and Recovery                                    920.00            Billable
               Emails with Steering Committee regarding update on
               discussion with K&E regarding settlement.

 1/24/23       bkotliar / Comm. Others                                 T         0.6            552.00
 #1032455      Asset Analysis and Recovery                                    920.00            Billable
               Call with K&E and KO (portion) regarding questions on
               settlement proposal.

 1/24/23       bkotliar / Revise Docs.                                 T         0.3            276.00
 #1032457      Asset Analysis and Recovery                                    920.00            Billable
               Review and revise settlement term sheet.

 1/24/23       bkotliar / Revise Docs.                                 T         0.2            184.00
 #1032458      Asset Analysis and Recovery                                    920.00            Billable
               Review and comment on K&E draft notice regarding
               Custody withdrawals.

 1/24/23       kortiz / Comm. Others                                   T          0.4           410.00
 #1032477      Asset Analysis and Recovery                                   1,025.00           Billable
               Call with K&E to get clarity on settlement proposal

 1/25/23       bkotliar / Comm. Others                                 T         0.2            184.00
 #1032849      Asset Analysis and Recovery                                    920.00            Billable
               Call with Troutman regarding Custody and Withhold
               settlement discussions.

 1/25/23       bkotliar / Comm. Client                                 T         0.6            552.00
 #1032851      Asset Analysis and Recovery                                    920.00            Billable
               Emails with Steering Committee regarding inquiries on
               settlement proposal.

 1/25/23       bkotliar / Comm. Client                                 T         0.6            552.00
 #1032854      Asset Analysis and Recovery                                    920.00            Billable
               Emails with Steering Committee regarding inquiries on
               settlement proposal.




                                                    Page: 120
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 181&
                                                  of Segal
                                                     211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                                9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                             T/E       Rate     Billing Status


 1/25/23       bkotliar / Comm. Client                                   T         0.7            644.00
 #1032857      Asset Analysis and Recovery                                      920.00            Billable
               Call with Steering Committee regarding update on
               settlement formulation discussions.

 1/26/23       bkotliar / Comm. Client                                  T          0.8            736.00
 #1033148      Asset Analysis and Recovery                                      920.00            Billable
               Calls and emails with steering committee members
               regarding settlement counter proposal markup and related
               issues.

 1/26/23       bkotliar / Revise Docs.                                   T         1.2        1,104.00
 #1033150      Asset Analysis and Recovery                                      920.00         Billable
               Review and finalize comments to custody settlement term
               sheet.


 1/26/23       bkotliar / Comm. Others                               T             0.4            368.00
 #1033152      Asset Analysis and Recovery                                      920.00            Billable
               Email K&E and W&C custody settlement counterproposal.

 1/30/23       kortiz / Review Docs.                                     T          0.2           205.00
 #1033650      Asset Analysis and Recovery                                     1,025.00           Billable
               Review draft custody withdrawal notice

 1/30/23       bkotliar / Comm. Others                                T            0.6            552.00
 #1033771      Asset Analysis and Recovery                                      920.00            Billable
               Communicate with Troutman regarding revised settlement
               proposal, Phase II and next steps.

 1/30/23       bkotliar / Comm. Others                                   T         0.5            460.00
 #1033774      Asset Analysis and Recovery                                      920.00            Billable
               Call with K&E regarding settlement negotiations.

 1/30/23       bkotliar / Revise Docs.                                   T         0.3            276.00
 #1033779      Asset Analysis and Recovery                                      920.00            Billable
               Review and comment on custody withdrawal notice and
               related documents.



                                                   Page: 121
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 182&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 1/31/23       bkotliar / Comm. Client                                    T        0.7           644.00
 #1034211      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding examiner report and
               briefly review same.

 1/31/23       bkotliar / Comm. Client                                    T        0.5           460.00
 #1034212      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding withdrawal notice and
               respond to questions regarding same.

 2/1/23        bkotliar / Comm. Client                                    T        0.3           276.00
 #1034756      Asset Analysis and Recovery                                      920.00           Billable
               Communicate with client group member regarding
               preferences and Phase II.

 2/1/23        bkotliar / Comm. Client                                    T        0.2           184.00
 #1034758      Asset Analysis and Recovery                                      920.00           Billable
               Email update to steering committee regarding settlement
               negotiations.

 2/1/23        bkotliar / Revise Docs.                                     T       1.5       1,380.00
 #1034759      Asset Analysis and Recovery                                      920.00        Billable
               Continue to review examiner report for potential preference
               and settlement issues impact.

 2/2/23        bkotliar / Comm. Client                                    T        0.3           276.00
 #1035151      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Steering Committee and K&E regarding
               update on settlement timing.

 2/2/23        bkotliar / Comm. Client                                    T        0.4           368.00
 #1035153      Asset Analysis and Recovery                                      920.00           Billable
               Calls with custody members regarding phase II.

 2/3/23        bkotliar / Comm. Others                                    T        0.2           184.00
 #1035348      Asset Analysis and Recovery                                      920.00           Billable
               Call with Troutman regarding settlement follow up and
               phase II.



                                                   Page: 122
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54           Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 183&
                                                   of Segal
                                                      211     LLP
                                                                                                12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                  9:31:49 AM

 Date                                                                                 Hours      Slip Amount
 Slip Number                                                                 T/E       Rate     Billing Status


 2/3/23        bkotliar / Inter Off Memo                                     T         0.2            184.00
 #1035349      Asset Analysis and Recovery                                          920.00            Billable
               Communicate with KO regarding court status conference
               on phase II.

 2/3/23        bkotliar / Comm. Client                                       T         0.3            276.00
 #1035350      Asset Analysis and Recovery                                          920.00            Billable
               Emails with Steering Committee regarding third party
               claims.


 2/3/23        astolp / Inter Off Memo                                       T         0.1             29.50
 #1038305      Asset Analysis and Recovery                                          295.00            Billable
               Email BK re: registration for 2/6/23 hearing

 2/3/23        astolp / Prep. Hearing                                        T         0.1             29.50
 #1038306      Asset Analysis and Recovery                                          295.00            Billable
               Register BK for 2/6/23 hearing

 2/6/23        kortiz / Comm. Others                                         T          0.2           205.00
 #1035335      Asset Analysis and Recovery                                         1,025.00           Billable
               E-mail BK re: Judge’s request for a status conference on
               the custody issues and strategy

 2/6/23        bkotliar / Comm. Client                                       T         0.6            552.00
 #1035760      Asset Analysis and Recovery                                          920.00            Billable
               Email update and hearing summary to client group.

 2/6/23        bkotliar / Attend Hearing                                     T         2.5        2,300.00
 #1035761      Asset Analysis and Recovery                                          920.00         Billable
               Participate in shareholder litigation hearing for impact on
               custody issues.

 2/6/23        bkotliar / Comm. Client                                       T         0.4            368.00
 #1035762      Asset Analysis and Recovery                                          920.00            Billable
               Communicate with client group regarding limited custody
               withdrawals and next steps.




                                                     Page: 123
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 184&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                              T/E       Rate     Billing Status


 2/6/23        astolp / Inter Off Memo                                    T         0.1             29.50
 #1040169      Asset Analysis and Recovery                                       295.00            Billable
               Email BK re: hearing registration

 2/6/23        astolp / Prep. Hearing                                     T         0.3             88.50
 #1040170      Asset Analysis and Recovery                                       295.00            Billable
               Register BK and KO for multiple Celsius hearings

 2/7/23        kortiz / Review Docs.                                      T          0.9           922.50
 #1036157      Asset Analysis and Recovery                                      1,025.00           Billable
               Review revised settlement proposal from Debtors (0.3);
               discussions with BK on same (0.5); e-mails with steering
               committee on same (0.1)

 2/7/23        bkotliar / Revise Docs.                                    T         0.6            552.00
 #1036204      Asset Analysis and Recovery                                       920.00            Billable
               Review and comment on draft settlement markup and
               counter from K&E.

 2/7/23        bkotliar / Inter Off Memo                                  T         0.5            460.00
 #1036208      Asset Analysis and Recovery                                       920.00            Billable
               Communicate with KO regarding Celsius settlement
               counter.

 2/7/23        bkotliar / Comm. Others                                    T         0.5            460.00
 #1036209      Asset Analysis and Recovery                                       920.00            Billable
               Call with K&E regarding Celsius settlement counter.

 2/7/23        bkotliar / Comm. Client                                    T         0.4            368.00
 #1036210      Asset Analysis and Recovery                                       920.00            Billable
               Email steering committee regarding Celsius counter and
               next steps.

 2/8/23        kortiz / Attend Meeting                                     T      1.1          1,127.50
 #1036701      Asset Analysis and Recovery                                   1,025.00           Billable
               Meeting with Steering Committee on settlement (on part of
               time) (0.7); review settlement offer (0.2); e-mails with BK
               on same (0.2);



                                                   Page: 124
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 185&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 2/8/23        kortiz / Review Docs.                                      T      0.6             615.00
 #1036702      Asset Analysis and Recovery                                  1,025.00             Billable
               Review exclusivity objections (0.4); communication with C.
               Koenig re: same (0.2)

 2/8/23        bkotliar / Comm. Client                                    T        1.4       1,288.00
 #1036888      Asset Analysis and Recovery                                      920.00        Billable
               Call with steering committee regarding settlement counter.


 2/8/23        bkotliar / Comm. Client                                    T        0.6           552.00
 #1036889      Asset Analysis and Recovery                                      920.00           Billable
               Emails with steering committee and KO regarding
               settlement counter and Phase 2.


 2/8/23        bkotliar / Comm. Others                                    T        0.2           184.00
 #1036890      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E and Troutman regarding phase 2.


 2/9/23        bkotliar / Comm. Client                                    T        0.4           368.00
 #1037071      Asset Analysis and Recovery                                      920.00           Billable
               Emails with clients regarding potential settlement.


 2/9/23        bkotliar / Comm. Client                                    T        0.6           552.00
 #1037072      Asset Analysis and Recovery                                      920.00           Billable
               Update call with client group.

 2/9/23        bkotliar / Comm. Client                                    T        0.5           460.00
 #1037073      Asset Analysis and Recovery                                      920.00           Billable
               Emails with steering committee regarding settlement
               discussions call.


 2/9/23        bkotliar / Revise Docs.                                    T        1.0           920.00
 #1037074      Asset Analysis and Recovery                                      920.00           Billable
               Draft and revise phase 2 litigation timeline and budget.


                                                    Page: 125
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 186&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                           T/E       Rate     Billing Status


 2/10/23       kortiz / Comm. Others                                   T          1.0       1,025.00
 #1037231      Asset Analysis and Recovery                                   1,025.00        Billable
               Call with Steering Committee to discuss settlement
               discussions and get authorization for next offer

 2/10/23       bkotliar / Comm. Client                                 T         1.4        1,288.00
 #1037370      Asset Analysis and Recovery                                    920.00         Billable
               Calls and emails with steering committee regarding
               settlement counter.


 2/10/23       bkotliar / Revise Docs.                                 T         0.6            552.00
 #1037374      Asset Analysis and Recovery                                    920.00            Billable
               Review and revise settlement term sheet per call with
               steering committee.

 2/10/23       bkotliar / Comm. Others                                 T         0.3            276.00
 #1037376      Asset Analysis and Recovery                                    920.00            Billable
               Calls with K&E and W&C regarding settlement proposal.

 2/13/23       kortiz / Comm. Others                                   T          0.5           512.50
 #1037473      Asset Analysis and Recovery                                   1,025.00           Billable
               Communication with BK re: settlement proposal (0.2);
               communication with steering committee re: same (0.3)

 2/13/23       bkotliar / Comm. Client                                 T         1.2        1,104.00
 #1037564      Asset Analysis and Recovery                                    920.00         Billable
               Draft email to ad hoc group regarding settlement.

 2/13/23       bkotliar / Comm. Client                                 T         0.6            552.00
 #1037566      Asset Analysis and Recovery                                    920.00            Billable
               Emails with Steering Committee regarding settlement
               counter offer and response.

 2/13/23       bkotliar / Comm. Others                                 T         0.3            276.00
 #1037568      Asset Analysis and Recovery                                    920.00            Billable
               Communicate with K&E regarding settlement counter and
               open issues.



                                                   Page: 126
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 187&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                           T/E       Rate     Billing Status


 2/13/23       bkotliar / Revise Docs.                                 T         1.0            920.00
 #1037570      Asset Analysis and Recovery                                    920.00            Billable
               Review and comment on revised settlement term sheet.

 2/13/23       bkotliar / Inter Off Memo                               T         0.2            184.00
 #1037571      Asset Analysis and Recovery                                    920.00            Billable
               Communicate with KO regarding finalizing settlement.

 2/13/23       bkotliar / Comm. Others                                 T         0.4            368.00
 #1037573      Asset Analysis and Recovery                                    920.00            Billable
               Call with Troutman regarding Phase 2 and upcoming
               status conference.

 2/14/23       bkotliar / Comm. Client                                 T         0.4            368.00
 #1037805      Asset Analysis and Recovery                                    920.00            Billable
               Emails with client group regarding settlement.

 2/14/23       bkotliar / Comm. Client                                 T         0.3            276.00
 #1037807      Asset Analysis and Recovery                                    920.00            Billable
               Emails with Steering Committee regarding sign off on
               settlement.

 2/14/23       bkotliar / Comm. Others                                 T         0.5            460.00
 #1037809      Asset Analysis and Recovery                                    920.00            Billable
               Emails with K&E regarding comments on settlement term
               sheet and sign off.


 2/14/23       astolp / Inter Off Memo                                 T         0.2             59.00
 #1038293      Asset Analysis and Recovery                                    295.00            Billable
               Review email from BK re: Celsius settlement agreement

 2/15/23       kortiz / Attend Hearing                                 T          2.4       2,460.00
 #1038021      Asset Analysis and Recovery                                   1,025.00        Billable
               Attend hearing to participate in status conference on
               Custody and announcement of settlement




                                                    Page: 127
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 188&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                              9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                             T/E       Rate     Billing Status


 2/15/23       kortiz / Comm. Others                                     T          1.0       1,025.00
 #1038024      Asset Analysis and Recovery                                     1,025.00        Billable
               Town hall call with full group to discuss settlement

 2/15/23       bkotliar / Attend Hearing                                 T         2.9        2,668.00
 #1038071      Asset Analysis and Recovery                                      920.00         Billable
               Participate in February 15 omnibus hearing and Custody
               status conference.


 2/15/23       bkotliar / Comm. Others                                   T         0.2            184.00
 #1038072      Asset Analysis and Recovery                                      920.00            Billable
               Emails with K&E regarding custody withdrawals and
               related issues.

 2/15/23       bkotliar / Comm. Client                                   T         1.0            920.00
 #1038073      Asset Analysis and Recovery                                      920.00            Billable
               Call with ad hoc group regarding settlement questions and
               next steps.

 2/15/23       bkotliar / Revise Docs.                                   T         0.6            552.00
 #1038074      Asset Analysis and Recovery                                      920.00            Billable
               Draft and revise ad hoc group FAQ regarding custody
               settlement.

 2/15/23       astolp / Inter Off Memo                                   T         0.2             59.00
 #1038136      Asset Analysis and Recovery                                      295.00            Billable
               Review emails from BK re: tracking of client settlement
               participants, receipt of client emails

 2/20/23       bkotliar / Comm. Others                                   T         0.2            184.00
 #1038533      Asset Analysis and Recovery                                      920.00            Billable
               Emails with K&E regarding settlement term sheet and
               open issues.




                                                     Page: 128
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54    Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 189&
                                                  of Segal
                                                     211     LLP
                                                                                        12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                            9:31:49 AM

 Date                                                                         Hours      Slip Amount
 Slip Number                                                           T/E     Rate     Billing Status


 2/20/23       bkotliar / Comm. Client                                 T        0.7           644.00
 #1038534      Asset Analysis and Recovery                                   920.00           Billable
               Calls and emails with Custody holders regarding
               clawbacks and settlement.


 2/22/23       bkotliar / Comm. Client                                 T        0.4           368.00
 #1039220      Asset Analysis and Recovery                                   920.00           Billable
               Emails with client group members regarding settlement
               timing and terms.


 2/23/23       bkotliar / Comm. Client                                 T        0.2           184.00
 #1039319      Asset Analysis and Recovery                                   920.00           Billable
               Emails with Steering Committee regarding update on
               timing of settlement motion and related issues.

 2/23/23       bkotliar / Comm. Others                                 T        0.5           460.00
 #1039320      Asset Analysis and Recovery                                   920.00           Billable
               Call with K&E regarding settlement motion timing and
               related issues.

 2/24/23       bkotliar / Comm. Client                                 T        0.1            92.00
 #1039497      Asset Analysis and Recovery                                   920.00           Billable
               Emails with clients regarding update on custody
               withdrawals.

 2/24/23       bkotliar / Comm. Others                                 T        0.1            92.00
 #1039499      Asset Analysis and Recovery                                   920.00           Billable
               Emails with K&E regarding update on pure custody
               withdrawals.

 2/25/23       bkotliar / Comm. Others                                  T       0.4           368.00
 #1039521      Asset Analysis and Recovery                                   920.00           Billable
               Calls with K&E regarding update on settlement term sheet
               and related pleadings.




                                                   Page: 129
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 190&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 2/25/23       bkotliar / Revise Docs.                               T              0.2           184.00
 #1039522      Asset Analysis and Recovery                                       920.00           Billable
               Review and comment on revised Custody settlement term
               sheet.

 2/25/23       bkotliar / Comm. Client                                     T        0.4           368.00
 #1039523      Asset Analysis and Recovery                                       920.00           Billable
               Emails with Steering Committee regarding revised
               settlement term sheet.


 2/25/23       bkotliar / Comm. Others                               T              0.2           184.00
 #1039526      Asset Analysis and Recovery                                       920.00           Billable
               Communicate with K&E and Steering Committee regarding
               settlement sign off and next steps.

 2/27/23       kortiz / Review Docs.                                         T      1.7       1,742.50
 #1039626      Asset Analysis and Recovery                                     1,025.00        Billable
               Review draft motion to approve settlement (0.8); revised
               stipulation (0.2); draft notice to holders (0.3); draft order
               (0.2); communication with BK re: comments to motion (0.2)

 2/27/23       bkotliar / Comm. Others                                     T        0.1            92.00
 #1039835      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding update on settlement motion.

 2/27/23       bkotliar / Comm. Client                                     T        0.4           368.00
 #1039836      Asset Analysis and Recovery                                       920.00           Billable
               Emails with client group regarding timing and process for
               distributions.

 2/27/23       bkotliar / Comm. Others                                     T        0.5           460.00
 #1039847      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding comments on revised final
               settlement term sheet and review same.




                                                   Page: 130
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 191&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                            T/E       Rate     Billing Status


 2/27/23       bkotliar / Revise Docs.                                  T         2.0        1,840.00
 #1039848      Asset Analysis and Recovery                                     920.00         Billable
               Review and provide K&E comments on 9019 motion for
               custody settlement approval.

 2/28/23       kortiz / Review Docs.                                    T          0.7           717.50
 #1040565      Asset Analysis and Recovery                                    1,025.00           Billable
               Review revised settlement agreement and related motion
               of approval

 2/28/23       bkotliar / Revise Docs.                                  T         1.0            920.00
 #1041213      Asset Analysis and Recovery                                     920.00            Billable
               Review and revise revised drafts of settlement motion,
               order and election notice and term sheet.

 2/28/23       bkotliar / Comm. Others                                  T         0.3            276.00
 #1041214      Asset Analysis and Recovery                                     920.00            Billable
               Emails with K&E and W&C regarding settlement motion
               comments and open issues.

 2/28/23       bkotliar / Comm. Client                                  T         0.2            184.00
 #1041215      Asset Analysis and Recovery                                     920.00            Billable
               Emails with Steering Committee regarding settlement
               motion.

 2/28/23       bkotliar / Comm. Client                                  T         0.5            460.00
 #1041216      Asset Analysis and Recovery                                     920.00            Billable
               Email client group regarding settlement motion, pure
               custody withdrawals and next steps.

 3/1/23        bkotliar / Comm. Client                                  T         0.5            460.00
 #1041415      Asset Analysis and Recovery                                     920.00            Billable
               Respond to client emails regarding plan term sheet and
               impact on custody settlement.

 3/2/23        bkotliar / Comm. Client                                  T         0.3            276.00
 #1041833      Asset Analysis and Recovery                                     920.00            Billable
               Emails with clients regarding pure custody withdrawal
               issues.


                                                   Page: 131
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 192&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                 9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                               T/E       Rate     Billing Status


 3/2/23        bkotliar / Comm. Others                                     T         0.2            184.00
 #1041837      Asset Analysis and Recovery                                        920.00            Billable
               Emails with K&E regarding pure custody withdrawal
               issues.


 3/2/23        bkotliar / Revise Docs.                                     T         1.0            920.00
 #1041838      Asset Analysis and Recovery                                        920.00            Billable
               Review and note plan term sheet for impact on Custody
               settlement.

 3/3/23        kortiz / Review Docs.                                       T          0.2           205.00
 #1041880      Asset Analysis and Recovery                                       1,025.00           Billable
               Review notice of opening of withdrawals for pure custody
               and sign off on same

 3/3/23        bkotliar / Comm. Others                                    T          0.1             92.00
 #1041986      Asset Analysis and Recovery                                        920.00            Billable
               Emails with K&E regarding draft custody withdrawal notice.

 3/3/23        bkotliar / Comm. Client                                     T         0.2            184.00
 #1041987      Asset Analysis and Recovery                                        920.00            Billable
               Email client group regarding custody withdrawal notice.


 3/3/23        bkotliar / Comm. Client                                     T         0.2            184.00
 #1041988      Asset Analysis and Recovery                                        920.00            Billable
               Emails with client group regarding withdrawal issues.

 3/4/23        bkotliar / Comm. Others                                     T         0.1             92.00
 #1042023      Asset Analysis and Recovery                                        920.00            Billable
               Email K&E regarding custody inquiry.

 3/6/23        bkotliar / Comm. Client                                     T         0.5            460.00
 #1042507      Asset Analysis and Recovery                                        920.00            Billable
               Emails with client group regarding preference release cap
               for custody and related plan term sheet issues; review
               exclusivity responses.



                                                   Page: 132
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 193&
                                                  of Segal
                                                     211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                             T/E       Rate     Billing Status


 3/8/23        bkotliar / Comm. Client                                   T         1.0            920.00
 #1043425      Asset Analysis and Recovery                                      920.00            Billable
               Client update call.

 3/8/23        bkotliar / Attend Hearing                                 T         2.0        1,840.00
 #1043427      Asset Analysis and Recovery                                      920.00         Billable
               Attend March 8 hearing on exclusivity and other omnibus
               matters.

 3/8/23        bkotliar / Comm. Client                                   T         0.5            460.00
 #1043428      Asset Analysis and Recovery                                      920.00            Billable
               Email client group summary of hearing.


 3/8/23        kortiz / Comm. Others                                     T          0.2           205.00
 #1043781      Asset Analysis and Recovery                                     1,025.00           Billable
               Communication with BK re: hearing, withdrawal group
               settlement, and exclusivity

 3/9/23        kortiz / Review Docs.                                     T          0.6           615.00
 #1043715      Asset Analysis and Recovery                                     1,025.00           Billable
               Review and comment on letter in support of settlement

 3/9/23        bkotliar / Revise Docs.                                   T         0.6            552.00
 #1043750      Asset Analysis and Recovery                                      920.00            Billable
               Review and finalize letter regarding Custody settlement
               support per JB comments

 3/9/23        bkotliar / Comm. Client                                   T         0.3            276.00
 #1043751      Asset Analysis and Recovery                                      920.00            Billable
               Emails with Steering Committee regarding Custody
               settlement support letter

 3/9/23        bkotliar / Comm. Client                                   T         0.2            184.00
 #1043752      Asset Analysis and Recovery                                      920.00            Billable
               Emails with Steering Committee regarding shareholder
               litigation decision and impact on settlement




                                                   Page: 133
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 194&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 3/9/23        bkotliar / Revise Docs.                                   T        1.0           920.00
 #1043753      Asset Analysis and Recovery                                     920.00           Billable
               Review and comment on Celsius shareholder litigation
               decision for impact on Custody settlement

 3/9/23        bkotliar / Comm. Others                                   T        0.5           460.00
 #1043754      Asset Analysis and Recovery                                     920.00           Billable
               Communicate with Custody holder and K&E regarding
               question regarding claim transfers and KYC for Custody
               withdrawals

 3/9/23        jborriello / Revise Docs.                                  T       1.4       1,239.00
 #1045181      Asset Analysis and Recovery                                     885.00        Billable
               Review and revise draft letter to Custody account users on
               behalf of Ad Hoc Custody Group in support of Custody
               Settlement (1.3); emails with BK re same (0.1)

 3/9/23        astolp / Inter Off Memo                                   T        0.1            29.50
 #1051163      Asset Analysis and Recovery                                     295.00           Billable
               Email BK re as-filed pleading

 3/13/23       bkotliar / Comm. Others                                   T        0.2           184.00
 #1044267      Asset Analysis and Recovery                                     920.00           Billable
               Emails with K&E regarding custody inquiry on withdrawal
               mechanics.

 3/13/23       bkotliar / Comm. Others                                   T        0.6           552.00
 #1044269      Asset Analysis and Recovery                                     920.00           Billable
               Calls and emails with Custody holders regarding
               withdrawals and settlement inquiries.

 3/13/23       bkotliar / Comm. Others                                   T        0.2           184.00
 #1044271      Asset Analysis and Recovery                                     920.00           Billable
               Emails with K&E and W&C regarding Custody support
               letter for settlement.

 3/14/23       bkotliar / Comm. Others                                   T        0.2           184.00
 #1044970      Asset Analysis and Recovery                                     920.00           Billable
               Emails with custody holders regarding settlement.


                                                   Page: 134
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 195&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 3/14/23       bkotliar / Comm. Others                                T             0.2           184.00
 #1044971      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E and W&C regarding follow up on Custody
               letter and settlement objections.


 3/14/23       bkotliar / Comm. Client                                     T        0.5           460.00
 #1044972      Asset Analysis and Recovery                                       920.00           Billable
               Email client group regarding objection to settlement and
               next steps and review same.


 3/14/23       astolp / Review Docs.                                       T        0.6           177.00
 #1046872      Asset Analysis and Recovery                                       295.00           Billable
               Review docket for filed objections to Celsius custody
               settlement

 3/14/23       astolp / Review Docs.                                       T        0.3            88.50
 #1046873      Asset Analysis and Recovery                                       295.00           Billable
               Prepare hard copy of docket for BK and indicate all filed
               objections

 3/15/23       bkotliar / Comm. Client                                     T        0.2           184.00
 #1045059      Asset Analysis and Recovery                                       920.00           Billable
               Email client group regarding Chambers request for
               settlement agreement.

 3/15/23       bkotliar / Comm. Others                                     T        0.1            92.00
 #1045060      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding Chambers request for
               settlement agreement.

 3/15/23       astolp / Review Docs.                                       T        0.2            59.00
 #1046583      Asset Analysis and Recovery                                       295.00           Billable
               Review Daniel Frishberg objection

 3/15/23       astolp / Inter Off Memo                                     T        0.1            29.50
 #1046585      Asset Analysis and Recovery                                       295.00           Billable
               Circulate copy of Daniel Frishberg objection to BK


                                                    Page: 135
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 196&
                                                  of Segal
                                                     211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                               9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 3/16/23       bkotliar / Comm. Others                                    T        0.2           184.00
 #1045535      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding revised Custody settlement
               support letter and settlement agreement.

 3/16/23       bkotliar / Revise Docs.                                    T        1.0           920.00
 #1045536      Asset Analysis and Recovery                                      920.00           Billable
               Review and comment on custody settlement agreement
               requested by Judge Glenn prepared by KE.

 3/17/23       bkotliar / Comm. Others                                    T        0.4           368.00
 #1045706      Asset Analysis and Recovery                                      920.00           Billable
               Communicate with KE and WC regarding Custody
               settlement agreement revisions.

 3/19/23       bkotliar / Comm. Others                                    T        0.5           460.00
 #1045710      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding sign off on settlement and
               comments on reply to objections.

 3/20/23       bkotliar / Comm. Others                                    T        0.3           276.00
 #1046354      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Custody holders regarding settlement
               procedures.

 3/20/23       bkotliar / Comm. Others                                    T        0.2           184.00
 #1046355      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding settlement sign off and update
               on letter.

 3/20/23       bkotliar / Comm. Client                                   T         0.5           460.00
 #1046356      Asset Analysis and Recovery                                      920.00           Billable
               Email ad hoc group regarding settlement agreement, letter
               and reply.




                                                  Page: 136
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54         Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 197&
                                                   of Segal
                                                      211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                                9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                               T/E       Rate     Billing Status


 3/20/23       astolp / Inter Off Memo                                     T         0.1             29.50
 #1046622      Asset Analysis and Recovery                                        295.00            Billable
               Email BK re: client holdings and size of client group for
               settlement letter

 3/21/23       kortiz / Attend Hearing                                     T          0.8           820.00
 #1046009      Asset Analysis and Recovery                                       1,025.00           Billable
               Attend hearing on approval of settlement agreement

 3/21/23       bkotliar / Comm. Client                                     T         0.2            184.00
 #1046421      Asset Analysis and Recovery                                        920.00            Billable
               Emails with client group regarding update following
               settlement approval hearing.


 3/21/23       bkotliar / Comm. Others                                     T         0.2            184.00
 #1046422      Asset Analysis and Recovery                                        920.00            Billable
               Emails with K&E and W&C following hearing regarding
               comments on settlement approval order.

 3/21/23       bkotliar / Revise Docs.                                     T         1.5        1,380.00
 #1046423      Asset Analysis and Recovery                                        920.00         Billable
               Draft and revise hearing script and talking points for
               settlement approval hearing.


 3/21/23       bkotliar / Attend Hearing                                   T         1.1        1,012.00
 #1046424      Asset Analysis and Recovery                                        920.00         Billable
               Attend Custody settlement approval hearing.

 3/21/23       astolp / Inter Off Memo                                     T         0.2             59.00
 #1046851      Asset Analysis and Recovery                                        295.00            Billable
               Email BK, KO re: 3/21 hearing status

 3/21/23       astolp / Comm. Court                                        T         0.2             59.00
 #1046852      Asset Analysis and Recovery                                        295.00            Billable
               Re-register BK and KO for 3/21 Celsius hearing




                                                     Page: 137
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 198&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 3/21/23       astolp / Comm. Court                                    T           0.2            59.00
 #1046853      Asset Analysis and Recovery                                      295.00           Billable
               Register BK and KO for upcoming Celsius hearings (3/30,
               4/18, 5/17)

 3/22/23       bkotliar / Comm. Others                                    T        0.2           184.00
 #1046720      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding update on election process for
               Custody settlement.

 3/22/23       bkotliar / Comm. Others                                   T         0.8           736.00
 #1046721      Asset Analysis and Recovery                                      920.00           Billable
               Calls and emails with Custody holders regarding questions
               about settlement implementation and timing.

 3/22/23       astolp / Inter Off Memo                                    T        0.1            29.50
 #1048091      Asset Analysis and Recovery                                      295.00           Billable
               Review email from BK re Celsius motion to approve

 3/22/23       astolp / Inter Off Memo                                    T        0.1            29.50
 #1048093      Asset Analysis and Recovery                                      295.00           Billable
               Circulate as-filed copy of Dkt No. 2291 to BK

 3/23/23       bkotliar / Comm. Client                                    T        0.5           460.00
 #1047435      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding hearing update and
               Custody settlement order and election timing.

 3/24/23       bkotliar / Comm. Others                                    T        0.5           460.00
 #1047766      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Custody holders regarding settlement inquiries
               and elections.

 3/24/23       bkotliar / Comm. Others                                    T        0.1            92.00
 #1047768      Asset Analysis and Recovery                                      920.00           Billable
               Emails with K&E regarding custody settlement notice and
               election form.




                                                    Page: 138
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 199&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                              T/E       Rate     Billing Status


 3/27/23       bkotliar / Comm. Others                                    T         0.6            552.00
 #1047959      Asset Analysis and Recovery                                       920.00            Billable
               Calls and emails with Custody holders regarding
               settlement inquiries.

 3/28/23       bkotliar / Comm. Others                                    T         0.3            276.00
 #1048276      Asset Analysis and Recovery                                       920.00            Billable
               Calls and emails with Custody holders regarding
               settlement questions.

 3/29/23       bkotliar / Comm. Others                                    T         1.3        1,196.00
 #1048768      Asset Analysis and Recovery                                       920.00         Billable
               Calls and emails with Custody holders regarding
               settlement elections.

 3/31/23       bkotliar / Comm. Others                                    T         0.2            184.00
 #1049136      Asset Analysis and Recovery                                       920.00            Billable
               Emails with Custody holders regarding settlement.

 4/3/23        kortiz / Comm. Others                                      T          0.3           307.50
 #1049172      Asset Analysis and Recovery                                      1,025.00           Billable
               Review Kirkland e-mail on LUNC/UST distribution issue
               (0.1); communication with BK re: view of same and
               recommendation for ad hoc group (0.2)

 4/3/23        bkotliar / Comm. Client                                    T         0.2            184.00
 #1049679      Asset Analysis and Recovery                                       920.00            Billable
               Email client group regarding Celsius proposal to convert
               UST and LUNC in Custody.


 4/3/23        bkotliar / Comm. Others                                    T         0.1             92.00
 #1049680      Asset Analysis and Recovery                                       920.00            Billable
               Email K&E regarding proposal to convert UST and LUNC
               in Custody.

 4/3/23        astolp / Inter Off Memo                                    T         0.1             29.50
 #1050387      Asset Analysis and Recovery                                       295.00            Billable
               Email BK re LUNC and UST coin lookup


                                                   Page: 139
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 200&
                                                  of Segal
                                                     211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                  Client Billing Report                              9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 4/3/23        astolp / Inter Off Memo                                   T        0.9           265.50
 #1050388      Asset Analysis and Recovery                                     295.00           Billable
               Review client engagement letters and tracking
               spreadsheet for mention of LUNC and UST

 4/4/23        bkotliar / Comm. Others                                    T       0.4           368.00
 #1049915      Asset Analysis and Recovery                                     920.00           Billable
               Calls and emails with custody holders regarding settlement
               questions.


 4/5/23        bkotliar / Comm. Client                                   T        1.0           920.00
 #1050241      Asset Analysis and Recovery                                     920.00           Billable
               Call with custody group regarding update on plan and
               settlement questions.

 4/5/23        bkotliar / Comm. Client                                   T        0.4           368.00
 #1050243      Asset Analysis and Recovery                                     920.00           Billable
               Email custody group summary of update call.

 4/5/23        bkotliar / Comm. Others                                   T        0.5           460.00
 #1050244      Asset Analysis and Recovery                                     920.00           Billable
               Emails with K&E regarding plan questions.

 4/6/23        bkotliar / Comm. Others                                   T        0.3           276.00
 #1050658      Asset Analysis and Recovery                                     920.00           Billable
               Emails with Custody holders regarding plan.

 4/6/23        bkotliar / Comm. Others                                   T        0.2           184.00
 #1050659      Asset Analysis and Recovery                                     920.00           Billable
               Emails with K&E regarding call to discuss open plan
               question.

 4/10/23       bkotliar / Comm. Others                                   T        0.5           460.00
 #1051948      Asset Analysis and Recovery                                     920.00           Billable
               Call with K&E regarding questions on Custody settlement
               and plan provisions.




                                                   Page: 140
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 201&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 4/10/23       bkotliar / Comm. Others                                   T        0.3           276.00
 #1051950      Asset Analysis and Recovery                                     920.00           Billable
               Calls and emails with Custody holders regarding
               settlement.

 4/11/23       bkotliar / Comm. Client                                   T        0.4           368.00
 #1052309      Asset Analysis and Recovery                                     920.00           Billable
               Emails with Custody group clients regarding settlement
               and next steps.

 4/11/23       bkotliar / Comm. Others                                   T        0.2           184.00
 #1052310      Asset Analysis and Recovery                                     920.00           Billable
               Communicate with Custody holders regarding settlement.

 4/12/23       bkotliar / Comm. Others                                   T        0.1            92.00
 #1052598      Asset Analysis and Recovery                                     920.00           Billable
               Emails with K&E regarding settlement elections.

 4/12/23       bkotliar / Comm. Others                                   T        0.5           460.00
 #1052599      Asset Analysis and Recovery                                     920.00           Billable
               Calls with Custody holders regarding inquiries on
               settlement.

 4/13/23       bkotliar / Comm. Others                                   T        0.3           276.00
 #1053135      Asset Analysis and Recovery                                     920.00           Billable
               Review notice of remaining pure custody withdrawals and
               emails with K&E regarding same.

 4/13/23       bkotliar / Comm. Client                                    T       0.2           184.00
 #1053136      Asset Analysis and Recovery                                     920.00           Billable
               Emails with client group regarding notice and extension of
               DS filing date.

 4/13/23       bkotliar / Comm. Others                                   T        0.6           552.00
 #1053137      Asset Analysis and Recovery                                     920.00           Billable
               Calls and emails with Custody holders regarding
               settlement.




                                                   Page: 141
        22-10964-mg     Doc 4188    Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of           Togut, SegalPg 202&
                                                    of Segal
                                                       211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                    Client Billing Report                             9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 4/17/23       bkotliar / Comm. Others                                    T        0.4           368.00
 #1053393      Asset Analysis and Recovery                                      920.00           Billable
               Calls and emails with Custody holders regarding
               settlement.

 4/18/23       bkotliar / Comm. Client                                    T        1.2       1,104.00
 #1053593      Asset Analysis and Recovery                                      920.00        Billable
               Calls and emails with Custody holders regarding
               settlement questions and next steps.

 4/18/23       bkotliar / Attend Hearing                                  T        2.1       1,932.00
 #1053601      Asset Analysis and Recovery                                      920.00        Billable
               Participate in April 18 hearing.


 4/18/23       bkotliar / Comm. Client                                    T        0.5           460.00
 #1053604      Asset Analysis and Recovery                                      920.00           Billable
               Email hearing summary, presentation, and Custody
               withdrawal notice to client group.

 4/23/23       bkotliar / Comm. Client                                    T        0.2           184.00
 #1054189      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Custody client regarding settlement.

 4/26/23       bkotliar / Comm. Client                                   T         0.4           368.00
 #1055457      Asset Analysis and Recovery                                      920.00           Billable
               Emails with Custody group clients regarding next steps on
               settlement and open plan questions.

 4/26/23       bkotliar / Comm. Others                                    T        0.2           184.00
 #1055458      Asset Analysis and Recovery                                      920.00           Billable
               Email K&E regarding Custody distribution process and
               outcome of settlement elections.

 5/1/23        bkotliar / Comm. Client                                    T        0.3           276.00
 #1056425      Asset Analysis and Recovery                                      920.00           Billable
               Emails with client group regarding update on case status
               and Custody distribution under settlement.



                                                   Page: 142
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 203&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 5/1/23        bkotliar / Comm. Others                                     T        0.1            92.00
 #1056427      Asset Analysis and Recovery                                       920.00           Billable
               Email K&E regarding Custody distribution update.

 5/2/23        bkotliar / Comm. Client                                     T        0.4           368.00
 #1056597      Asset Analysis and Recovery                                       920.00           Billable
               Emails with Custody holders regarding settlement
               distribution timing.

 5/2/23        bkotliar / Review Docs.                                     T        1.0           920.00
 #1056598      Asset Analysis and Recovery                                       920.00           Billable
               Review recent filings for impact on case timing and chapter
               11 plan.

 5/4/23        bkotliar / Comm. Client                                     T        0.2           184.00
 #1056951      Asset Analysis and Recovery                                       920.00           Billable
               Emails with clients regarding update on timing of Custody
               distribution.

 5/8/23        bkotliar / Comm. Client                                     T        0.4           368.00
 #1058223      Asset Analysis and Recovery                                       920.00           Billable
               Calls and emails with clients regarding election process
               and updating for settlement distributions.

 5/9/23        bkotliar / Comm. Others                                     T        0.2           184.00
 #1058731      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding questions about settlement
               elections.

 5/11/23       bkotliar / Comm. Client                                     T        0.3           276.00
 #1059791      Asset Analysis and Recovery                                       920.00           Billable
               Emails with clients and K&E regarding issues with
               settlement distributions and elections .

 5/12/23       bkotliar / Comm. Client                                     T        0.2           184.00
 #1059803      Asset Analysis and Recovery                                       920.00           Billable
               Emails with client group regarding update on auction and
               disclosure statement timing and settlement withdrawals.



                                                    Page: 143
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54      Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 204&
                                                   of Segal
                                                      211     LLP
                                                                                           12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                              9:31:49 AM

 Date                                                                            Hours      Slip Amount
 Slip Number                                                              T/E     Rate     Billing Status


 5/12/23       bkotliar / Comm. Others                                    T        0.2           184.00
 #1059804      Asset Analysis and Recovery                                      920.00           Billable
               Emails with clients and K&E regarding withdrawal issues.

 5/15/23       bkotliar / Comm. Client                                    T        0.7           644.00
 #1059857      Asset Analysis and Recovery                                      920.00           Billable
               Emails and calls with Custody holders regarding account
               balances and settlement questions.

 5/15/23       bkotliar / Comm. Others                                    T        0.3           276.00
 #1059858      Asset Analysis and Recovery                                      920.00           Billable
               Communicate with Kirkland regarding questions about
               settlement distributions.

 5/15/23       astolp / Comm. Client                                      T        0.1            29.50
 #1060298      Asset Analysis and Recovery                                      295.00           Billable
               Email Celsius client re withdrawal issues

 5/17/23       bkotliar / Attend Hearing                                  T        0.8           736.00
 #1060552      Asset Analysis and Recovery                                      920.00           Billable
               Participate in omnibus hearing.

 5/17/23       bkotliar / Comm. Client                                    T        0.4           368.00
 #1060553      Asset Analysis and Recovery                                      920.00           Billable
               Email Custody group status update on hearing for impact
               on Custody distributions.

 5/17/23       bkotliar / Comm. Others                                    T        0.7           644.00
 #1060554      Asset Analysis and Recovery                                      920.00           Billable
               Calls and emails with K&E regarding Custody coin
               conversion per firebricks transition.

 5/17/23       bkotliar / Revise Docs.                                    T        0.3           276.00
 #1060556      Asset Analysis and Recovery                                      920.00           Billable
               Review and comment on cover notice regarding coin
               conversion.




                                                    Page: 144
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 205&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 5/24/23       bkotliar / Comm. Client                                     T        0.2           184.00
 #1062906      Asset Analysis and Recovery                                       920.00           Billable
               Emails with client regarding withdrawal problems under
               settlement.

 5/24/23       bkotliar / Comm. Others                                     T        0.2           184.00
 #1062907      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding withdrawal problems under
               settlement.

 5/25/23       bkotliar / Comm. Client                                     T        0.5           460.00
 #1063684      Asset Analysis and Recovery                                       920.00           Billable
               Emails with client group regarding auction results and next
               steps.

 5/25/23       bkotliar / Revise Docs.                                     T        1.0           920.00
 #1063686      Asset Analysis and Recovery                                       920.00           Billable
               Review auction results and plan term sheets for potential
               impact on Custody claims.

 6/6/23        bkotliar / Comm. Others                                     T        0.5           460.00
 #1067066      Asset Analysis and Recovery                                       920.00           Billable
               Communicate with K&E and custody users regarding
               settlement withdrawal issues.

 6/13/23       bkotliar / Comm. Others                                  T           0.2           184.00
 #1068951      Asset Analysis and Recovery                                       920.00           Billable
               Emails with custody holder and K&E regarding issues with
               withdrawal under settlement.

 6/15/23       bkotliar / Revise Docs.                                     T        0.9           828.00
 #1069307      Asset Analysis and Recovery                                       920.00           Billable
               Review revised chapter 11 plan for impact on custody
               claims and related issues.

 6/15/23       bkotliar / Comm. Client                                     T        0.5           460.00
 #1069308      Asset Analysis and Recovery                                       920.00           Billable
               Email client group revised plan, update on timing and
               impact on custody issues.


                                                   Page: 145
        22-10964-mg     Doc 4188  Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 206&
                                                  of Segal
                                                     211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 6/15/23       bkotliar / Comm. Others                                     T        0.3           276.00
 #1069309      Asset Analysis and Recovery                                       920.00           Billable
               Calls and emails with Custody members regarding
               withdrawal issues and timing.

 6/20/23       bkotliar / Comm. Client                                  T           0.1            92.00
 #1071664      Asset Analysis and Recovery                                       920.00           Billable
               Emails with Custody holder regarding loan impact on pure
               Custody.


 6/20/23       bkotliar / Comm. Others                                     T        0.2           184.00
 #1071666      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding loan impact on pure Custody.

 6/20/23       bkotliar / Review Docs.                                     T        0.6           552.00
 #1071667      Asset Analysis and Recovery                                       920.00           Billable
               Review revised chapter 11 plan for loan impact on pure
               Custody.

 6/27/23       bkotliar / Comm. Client                                     T        0.7           644.00
 #1073166      Asset Analysis and Recovery                                       920.00           Billable
               Email custody group regarding disclosure statement filing
               and summary of same.

 6/28/23       bkotliar / Comm. Others                                   T          0.2           184.00
 #1073558      Asset Analysis and Recovery                                       920.00           Billable
               Emails with Custody holders regarding continued technical
               issue on pure custody.

 6/28/23       bkotliar / Comm. Others                                  T           0.1            92.00
 #1073559      Asset Analysis and Recovery                                       920.00           Billable
               Emails with Custody holders regarding recent Celsius app
               communications.

 6/28/23       bkotliar / Comm. Others                                T             0.2           184.00
 #1073560      Asset Analysis and Recovery                                       920.00           Billable
               Communicate with K&E regarding pure custody issues and
               app communications.


                                                   Page: 146
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 207&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 6/30/23       bkotliar / Comm. Profes.                                    T        0.1            92.00
 #1073985      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E and custody holder regarding resolution
               of pure withdrawal issue.

 7/5/23        bkotliar / Revise Docs.                                  T           1.0           920.00
 #1074707      Asset Analysis and Recovery                                       920.00           Billable
               Draft and revise plan and DS summary treatment of claims
               in advance of group client call

 7/6/23        bkotliar / Comm. Client                                     T        0.7           644.00
 #1074927      Asset Analysis and Recovery                                       920.00           Billable
               Call with client group regarding update and summary of
               plan

 7/6/23        bkotliar / Comm. Client                                     T        0.7           644.00
 #1074928      Asset Analysis and Recovery                                       920.00           Billable
               Draft and send summary email to client group following call

 7/6/23        bkotliar / Comm. Client                                     T        0.3           276.00
 #1074929      Asset Analysis and Recovery                                       920.00           Billable
               Emails with clients regarding questions on plan and claim
               treatment

 7/7/23        bkotliar / Comm. Client                                     T        0.7           644.00
 #1075177      Asset Analysis and Recovery                                       920.00           Billable
               Email summary to client group of DS motion and
               solicitation procedures and timeline

 7/7/23        bkotliar / Comm. Client                                     T        0.5           460.00
 #1075178      Asset Analysis and Recovery                                       920.00           Billable
               Emails with clients regarding plan provisions and
               settlement questions

 7/10/23       bkotliar / Comm. Client                                     T        0.3           276.00
 #1075943      Asset Analysis and Recovery                                       920.00           Billable
               Emails with custody group members regarding questions
               on plan and settlement.



                                                    Page: 147
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54        Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 208&
                                                   of Segal
                                                      211     LLP
                                                                                             12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                                9:31:49 AM

 Date                                                                              Hours      Slip Amount
 Slip Number                                                                T/E     Rate     Billing Status


 7/11/23       bkotliar / Comm. Client                                      T        0.5           460.00
 #1076727      Asset Analysis and Recovery                                        920.00           Billable
               Calls and emails with Custody members regarding plan
               questions and clawback settlements.

 7/13/23       bkotliar / Comm. Client                                      T        0.5           460.00
 #1077415      Asset Analysis and Recovery                                        920.00           Billable
               Calls and emails with Custody clients regarding securities
               fraud action against Mashinsky and impact on Custody
               and plan.

 7/17/23       bkotliar / Comm. Others                                      T        0.5           460.00
 #1077946      Asset Analysis and Recovery                                        920.00           Billable
               Calls and emails with Custody holders regarding
               settlement and plan.

 7/24/23       bkotliar / Comm. Client                                   T           1.5       1,380.00
 #1080189      Asset Analysis and Recovery                                        920.00        Billable
               Emails with client group regarding summary of shareholder
               and customer / UCC settlements for impact on plan and
               Custody claims.

 7/24/23       bkotliar / Comm. Others                                      T        0.2           184.00
 #1080190      Asset Analysis and Recovery                                        920.00           Billable
               Call with K&E regarding potential pre-effective date plan
               settlements.


 7/24/23       bkotliar / Comm. Others                                   T           0.3           276.00
 #1080191      Asset Analysis and Recovery                                        920.00           Billable
               Call with W&C regarding potential pre-effective date plan
               settlements and follow up with Custody member regarding
               same.


 7/24/23       bkotliar / Revise Docs.                                      T        0.2           184.00
 #1080192      Asset Analysis and Recovery                                        920.00           Billable
               Send AG comments on mediation order.




                                                    Page: 148
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54     Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 209&
                                                   of Segal
                                                      211     LLP
                                                                                          12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                             9:31:49 AM

 Date                                                                           Hours      Slip Amount
 Slip Number                                                             T/E     Rate     Billing Status


 7/31/23       bkotliar / Comm. Client                                   T        1.0           920.00
 #1081929      Asset Analysis and Recovery                                     920.00           Billable
               Email custody group regarding revised plan and disclosure
               statement and potential for impact on custody claims
               including withdrawal preference exposure revisions.

 8/4/23        bkotliar / Review Docs.                                   T        0.5           460.00
 #1083195      Asset Analysis and Recovery                                     920.00           Billable
               Review disclosure statement objections for potential
               impact on Custody.

 8/9/23        bkotliar / Review Docs.                                   T        0.6           552.00
 #1085012      Asset Analysis and Recovery                                     920.00           Billable
               Review revised plan and disclosure statement for impact
               on Custody claims.


 8/10/23       bkotliar / Review Docs.                                   T        0.2           184.00
 #1085396      Asset Analysis and Recovery                                     920.00           Billable
               Review notice of adjourned for disclosure statement
               hearing and impact on overall case exit and timeline.

 8/10/23       bkotliar / Comm. Others                                 T          0.2           184.00
 #1085397      Asset Analysis and Recovery                                     920.00           Billable
               Emails with Kirkland and custody group member regarding
               phishing scam.


 8/16/23       bkotliar / Review Docs.                                   T        0.8           736.00
 #1086559      Asset Analysis and Recovery                                     920.00           Billable
               Review revised plan, DS and DS order for impact on
               custody claims.

 8/17/23       bkotliar / Comm. Client                                   T        0.5           460.00
 #1086800      Asset Analysis and Recovery                                     920.00           Billable
               Email client group DS order and schedule town halls and
               summarize upcoming dates / deadlines.




                                                    Page: 149
        22-10964-mg     Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54       Main Document
Celsius Ad Hoc Group of          Togut, SegalPg 210&
                                                   of Segal
                                                      211     LLP
                                                                                            12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                   Client Billing Report                               9:31:49 AM

 Date                                                                             Hours      Slip Amount
 Slip Number                                                               T/E     Rate     Billing Status


 8/22/23       bkotliar / Comm. Client                                     T        0.6           552.00
 #1088024      Asset Analysis and Recovery                                       920.00           Billable
               Call with client group regarding update solicitation and
               deadlines.

 8/22/23       bkotliar / Revise Docs.                                     T        0.4           368.00
 #1088025      Asset Analysis and Recovery                                       920.00           Billable
               Draft and revise FAQ and follow up summary for client
               group.

 8/22/23       bkotliar / Review Docs.                                     T        0.5           460.00
 #1088026      Asset Analysis and Recovery                                       920.00           Billable
               Review solicitation procedures order and chapter 11 plan
               provisions to prepare for client call.

 8/24/23       bkotliar / Comm. Client                                     T        1.5       1,380.00
 #1088799      Asset Analysis and Recovery                                       920.00        Billable
               Prepare for and participate in client group update call /
               FAQ town hall session regarding solicitation, notices and
               ballots.


 8/24/23       bkotliar / Comm. Client                                     T        0.5           460.00
 #1088800      Asset Analysis and Recovery                                       920.00           Billable
               Calls and emails with Custody clients regarding ballots and
               preferences.


 8/24/23       bkotliar / Comm. Others                                    T         0.2           184.00
 #1088801      Asset Analysis and Recovery                                       920.00           Billable
               Emails with K&E regarding plan solicitation and preference
               questions.


 8/24/23       astolp / Review Docs.                                       T        0.2            59.00
 #1089790      Asset Analysis and Recovery                                       295.00           Billable
               Review email from BK re case updates




                                                     Page: 150
        22-10964-mg    Doc 4188   Filed 01/04/24 Entered 01/04/24 15:49:54          Main Document
Celsius Ad Hoc Group of         Togut, SegalPg 211&
                                                  of Segal
                                                     211     LLP
                                                                                              12/8/2023
Custodial Account Holders
9/1/2022...8/31/2023                 Client Billing Report                                   9:31:49 AM

 Date                                                                               Hours      Slip Amount
 Slip Number                                                             T/E         Rate     Billing Status


 8/25/23       bkotliar / Comm. Client                                    T       0.6               552.00
 #1089321      Asset Analysis and Recovery                                     920.00               Billable
               Emails and calls with Custody members regarding plan
               and voting.


 8/26/23       bkotliar / Comm. Profes.                                   T       0.4               368.00
 #1089357      Asset Analysis and Recovery                                     920.00               Billable
               Emails with K&E and W&C regarding clawback inquiries
               and withdrawal preference exposure.


                                                                      Total Time:             586,601.50

                                                                   Total Time Bill:           586,601.50
                                                              Total Time Non Bill:
                                                                  Total Costs Bill:
                                                             Total Costs Non Bill:
                                                               Total Non Billable:
                                                                    Total Billable:           586,601.50
                                                                     Grand Total:             586,601.50




                                                 Page: 151
